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  BEIJING                           1999 Avenue of the Stars, 7th Floor                    SAN FRANCISCO

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                                                                                         OUR FILE NUMBER
  August 29, 2011                                                                             905900-321

  VIA E-MAIL                                                                          WRITER’S DIRECT DIAL
                                                                                           (310) 246-6840
  Marc Toberoff
                                                                                   WRITER’S E-MAIL ADDRESS
  Toberoff & Associates, P.C.
                                                                                    mkline@omm.com
  2049 Century Park East, Suite 3630
  Los Angeles, California 90067

  Gerald A. Berk
  Steuer Escovar Berk Brown
  55 Public Square, Suite 1475
  Cleveland, Ohio 44113

                  Re:    DC Comics v. Pacific Pictures Corp. et al., CV-10-3633 (ODW) (RZx)

  Dear Counsel:

          We write in response to your August 11, 2011, letter addressing issues raised in our
  August 3 letter regarding Don Bulson’s deposition and production of documents. For purposes
  of clarity if DC is required to file a motion to resolve the issues discussed below, enclosed is a
  final version of Mr. Bulson’s deposition transcript, subject to his review and corrections, if any
  (referred to herein as, “Tr.”).

          1. Withdrawn Objections. On the enclosed deposition transcript, DC has bracketed the
  objections identified in your August 11 letter as being withdrawn by Mr. Berk on behalf of the
  Estate of Michael Siegel (the “Estate”): Tr. at 36:9-17, 48:20-50:10, 60:22-62:2, 92:15-93:11
  (Rough Tr. at 31:5-13, 43:12-45:3, 55:11-56:16, 85:19-86:15). Please confirm the Estate’s
  withdrawal of these objections. Additionally, if the Estate intends to withdraw any further
  objections to DC’s examination of Mr. Bulson, please identify those objections by page and line
  number on a question-by-question basis. We do not want to have any ambiguity as to which
  objections were withdrawn or not, as given the positions asserted in your letter motion practice is
  very likely, and we only want to have to move once.

         2. Objections re: Documents or Information Conveyed to Mr. Bulson by Michael Siegel.
  We disagree with the Estate’s continued objection to examination of Mr. Bulson that “concerns
  or implicates the substance of any communications between Mr. Bulson and Michael Siegel,”
  including “communications between Michael Siegel and Don Bulson regarding Mr. Siegel’s



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  communications with Laura Siegel Larson.” You have cited no authority to support this
  overbroad objection to all communications between Mr. Bulson and Mr. Siegel, nor could you.

          The attorney-client privilege, which is “strictly construed,” is restricted to
  communications relating to the seeking or provision of legal advice, not simply the conveyance
  of factual information. See, e.g., U.S. v. Martin, 278 F.3d 988, 999 (9th Cir. 2002). If
  Ms. Larson said something to Mr. Siegel, and Mr. Siegel subsequently conveyed the fact to
  Mr. Bulson, Ms. Larson’s recounted statements would not be privileged. E.g., Upjohn v. U.S.,
  449 U.S. 383, 395-96 (1981) (“The privilege … does not protect disclosure of the underlying
  facts.”); Diversified Indus., Inc. v. Meredith, 572 F.2d 596, 611 (8th Cir. 1977); State ex rel.
  Dudek v. Circuit Court, 34 Wis.2d 559, 580 (1967) (“the courts have noted that a party cannot
  conceal a fact merely by revealing it to his lawyer”); In re Seagate Tech., 497 F.3d 1360, 1375
  (Fed. Cir. 2007), cert. denied, 552 U.S. 1230 (2008) (work product doctrine does not protect
  from discovery factual information contained within an attorney’s papers; rather, only an
  attorney’s “mental impressions, conclusions, opinions, or legal theories” are protected); PAUL W.
  VAPNEK ET AL., CALIFORNIA PRACTICE GUIDE: PROFESSIONAL RESPONSIBILITY § 7:211.1 (2011).
  Furthermore, it is the Estate’s burden to establish all the elements of the privilege, and no
  showing has been made here. See U.S. v. Munoz, 233 F.3d 1117, 1128 (9th Cir. 2000).

          Similarly, and despite our explicit request to do so, the Estate has identified no authority
  to support its instructions to Mr. Bulson to not answer questions regarding non-privileged
  documents conveyed to Mr. Bulson by Mr. Siegel. E.g., Tr. 30:1-36:2, 57:9-10, 60:22-61:6,
  65:24-67:12 (Rough Tr. 24:22-30:23, 52:1-3, 55:11-20, 60:13-62:1). By contrast, DC has cited
  to overwhelming case law making clear that non-privileged documents do not become privileged
  because they are sent to an attorney or reside in his files. E.g., U.S. v. Osborn, 561 F.2d 1334,
  1338 (9th Cir. 1977); In re Rupert, 309 F.2d 97, 99 (6th Cir. 1962); Suezaki v. Super. Ct., 58 Cal.
  2d 166, 176 (1962) (mere transmission to counsel of non-privileged communication “cannot
  create the privilege if none, in fact, exists”); Moskovitz v. Mt. Sinai Med. Ctr., 69 Ohio St. 3d 638
  (1994); Davies v. Columbia Gas & Elec. Co., 68 N.E.2d 571, 579 (Ohio C.P. 1938), order aff’d,
  68 N.E.2d 231 (Ct. App. 1939) (non-privileged documents received by “attorney for the
  purposes of consultation … could not be regarded as privileged communications”).1



      1
        Accord U.S. v. Ruehle, 583 F.3d 600, 608-09 (9th Cir. 2009) (district court’s presumption of
  privilege over all communications during attorney-client relationship was error); U.S. v.
  Goldfarb, 328 F.2d 280, 281-82 (6th Cir.), cert. denied, 377 U.S. 976 (1964) (attorney-client
  relationship does not create an automatic “cloak of protection … draped around all occurrences
  and conversations which have any bearing, direct or indirect, upon the relationship of the
  attorney with his client”); N. Pacifica, LLC v. City of Pacifica, 274 F. Supp. 2d 1118, 1127 (N.D.
  Cal. 2003) (statements made in meeting not necessarily privileged simply because legal counsel
  present); Sneider v. Kimberly-Clark Corp., 91 F.R.D. 1, 4 (N.D. Ill. 1980) (“Attachments which
  do not, by their content, fall within the realm of the privilege cannot become privileged by
  merely attaching them to a communication with an attorney.”).



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          The Estate’s claim that it “never asserted … that non-privileged documents become
  privileged through their transmission to an attorney” is contradicted by Mr. Berk and
  Mr. Toberoff’s objections during the deposition, e.g., Tr. 30:1-36:2 (Rough Tr. 24:22-30:23), Tr.
  65:24-67:12 (Rough Tr. 60:13-62:1)—none of which you withdrew. For example:

          •   Mr. Berk said “[a]ny documents Mr. Bulson received concerning his representation of
              Michael Siegel is privileged, … any letter that he received from Michael Siegel is
              privileged. I don’t care where it came from or whatever, it’s privileged as to Michael
              Siegel and him.” Tr. 84:11-87:7.

          •   As to the May 13, 2003, letter from Mr. Siegel to Ms. Larson, Mr. Berk explicitly
              argued it would become privileged if Mr. Siegel sent it to Mr. Bulson. See Tr. 30:8-
              13 (“This would be privileged, unless he was to get this from Laura Siegel or
              someone else. But if he got this from Michael Siegel, it would be part of -- be a
              privileged document as to Mr. Bulson.”) (emphasis added).2 Defendants have
              admitted that the May 13 letter, by itself, is not a communication over which they are
              asserting a claim of privilege. There is simply no basis for the Estate’s objection—
              whether Mr. Bulson received the May 13 letter from Mr. Siegel is not privileged.

          •   Contrary to Mr. Berk and Mr. Toberoff’s objections, the fact whether Mr. Siegel
              communicated with Mr. Toberoff prior to Mr. Siegel’s May 13 letter does not become
              privileged because he conveyed that fact to Mr. Bulson. E.g., Upjohn, 449 U.S. at
              395-96; see also Diversified Indus., Inc., 572 F.2d at 611; State ex rel. Dudek, 34
              Wis.2d at 580. Mr. Berk and Mr. Toberoff’s objections were not limited to
              “questions regarding [Mr. Bulson’s] attorney-client communications with Michael
              Siegel,” but to any and all communications with Mr. Siegel. Tr. 66:2-15. The
              attorney-client privilege does not shield all communications between an attorney and
              a client, specifically not where non-privileged facts are conveyed. See Upjohn, 449
              U.S. at 395-96; Martin, 278 F.3d at 999.

         We need to meet and confer as soon as possible to address these issues. We intend to file
  a motion concerning these objections, unless they are withdrawn.

          3. Expert Report/Calendar & Billing Entries. You represented in your letter that the
  Estate has “asked Renner Otto for a copy of the expert report and its calendar and billing entries
  so that [the Estate] can review such documents and determine whether the Estate will assert
  privilege as to any information contained therein.” You did not, however, provide a date certain

      2
         See also Tr. 33:14-25 (“If the document was given by Michael Siegel to Mr. Bulson it
  becomes part of his file, it also becomes part of the privileged file and part of the litigation or
  representation by Mr. Bulson of Michael Siegel, and is therefore privileged. … It’s basic
  privilege. It’s part of the file.”); Tr. 62:8-11 (I’m going to object to that as well, because first of
  all, if [the May 13 letter] exists and it’s in his file, it becomes a privilege, and therefore not
  discoverable.”) (emphasis added to all).



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  by when you will complete your review and produce (redacted if need be) or log the requested
  documents. DC made its request for Renner Otto’s expert report and calendar and billing entries
  during Mr. Bulson’s deposition on July 19—over one month ago. Tr. 23:11-29:7, 25:5-29:7.
  There is no reason for the Estate’s failure to have produced the documents by now. Please
  confirm that the Estate will produce or log the requested documents by Tuesday, September 6.

          Your contention that the discovery sought by DC is not directly relevant to its claims in
  this case and is “entirely collateral” is without merit. The timeline of Mr. Bulson and
  Mr. Toberoff’s interactions is directly relevant to, among other things, establishing when
  Mr. Toberoff first contacted Mr. Bulson to inquire about purchasing Ms. Siegel’s purported
  Superman interest (the date of Toberoff’s first contacts with the heirs is a hotly disputed issue in
  the case); determining whether communications exchanged between Mr. Toberoff and
  Mr. Bulson occurred but have neither been produced not logged (similar to defendants’ failure to
  produce or log Mr. Siegel’s May 13 letter); and disproving defendants’ assertion of a common
  interest with Mr. Siegel.

           4. Michael Siegel File. Defendants do not dispute that Renner Otto is lawfully in
  possession of a digital copy of Mr. Siegel’s files and is entitled to retain a copy of Mr. Siegel’s
  files as well as review them. E.g., OH Adv. Op. 1992-8 (Ohio Bd. Com. Griev. Disp.); In re
  Int’l Corp., 2004 WL 5507905, at *1 (S.D. Ohio Oct. 1, 2004); OH. Prof. Cond. R. 1.15(a),
  1.16(d); Disc. Counsel v. Noel, 894 N.E.2d 31, 34 (Ohio 2008). Nor do defendants dispute that
  Renner Otto is obligated to respond to DC’s subpoena for production of documents—which
  requires it to produce responsive, non-privileged documents in these digital files and produce a
  privilege log. FED. R. CIV. P. 45(d), (e); e.g., Heilman v. Vojkufka, 2011 WL 677877, at * 18
  (E.D. Cal. Feb. 17, 2011); Martin, 278 F.3d at 1000; Clarke v. Am. Commerce Nat’l Bank, 974
  F.2d 127, 129 (9th Cir. 1992); see also William W. SCHWARZER ET AL., FEDERAL CIVIL
  PROCEDURE BEFORE TRIAL (“RUTTER”) §§ 11:2220-2318 (2011).

          Mr. Bulson’s representation of Mr. Siegel began shortly after the Siegel heirs served their
  Superman termination notice in April 1997, and represented Mr. Siegel solely with respect to his
  purported Superman interest. There is no indication that documents retained by Renner Otto in
  Mr. Siegel’s file would not be responsive to DC’s subpoena, and defendants’ speculation
  otherwise is not grounds for preventing Renner Otto from preparing a log of all documents in
  their possession.

          Defendants only true disagreement with DC’s August 3 proposal is the level of detail DC
  is requesting Renner Otto include in generating a log of Mr. Siegel’s file. DC is entitled to
  discover the information it seeks in the proposed log,3 especially here, where Mr. Toberoff’s

      3
        E.g., Miller v. Pancucci, 141 F.R.D. 292, 302 (C.D. Cal. 1992) (A log should identify the
  primary addressee; “[s]econdary addressee(s); persons copied and recipient (and the relationship
  of that person(s) to the client and/or author).”); Narayan v. EGL, Inc., 2006 WL 3050851, at *1
  (N.D. Cal. Oct. 24, 2006) (ordering amended privilege log to include separate listing for
  attachments); In re Heritage Bond Litig., 2004 WL 1970058, at *5 (C.D. Cal. July 23, 2004)



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  privilege assertions over the Michael Siegel file have been adjudged erroneous and overbroad,
  and given his admissions regarding claims of privilege over non-privileged documents clipped to
  purportedly privileged communications. Case No. 1:06 MC 99, Docket No. 15 at 2-3 (April 1,
  2008, Order of the U.S. District Court for the Northern District of Ohio) (“[T]he court finds that
  none of the 15 documents are subject to the attorney/client privilege … [N]one of the 15
  communications … are for the purpose of giving legal advice.”); June 20, 2011, Hearing Tr. at
  16:19-18:15 (“[T[he letter we believe was part of a larger communication from the client
  wanting to discuss these communications with her brother … It appeared paper clipped with the
  other documents.”). DC should be permitted to discover the scope of Mr. Siegel’s file, which
  can only be accomplished through a log listing each document separately. We want and are
  entitled to discover things like whether Ms. Larson’s non-privileged letter in response to
  Mr. Siegel’s May 13 letter is in Renner Otto’s file.

          The Court’s prior orders regarding the adequacy of the information contained in
  defendants’ privilege logs are no bar to DC’s proposal. DC’s offer to pay Renner Otto’s
  expenses in preparing the proposed log is not “a transparent and improper attempt to motivate
  Renner Otto to act contrary to its former client’s and not the Estate’s interest,” but is rather
  intended to alleviate Renner’s asserted burden in appropriately responding to DC’s subpoena.
  We are not asking Renner Otto to make any privilege calls or make different privilege
  determinations than Mr. Toberoff did in the Siegel case. Nor are we asking Renner Otto to harm
  its former client’s interest. All we are asking for is a fair, simple, and accurate accounting of
  what documents Renner Otto possesses in its files related to its representation of Mr. Siegel
  concerning his purported Superman rights. DC is willing to pay for preparation of the log to
  avoid any dispute regarding who is responsible for the associated costs and expenses.

          We request a final meet-and-confer on this issue.

          5. “Confidentiality” Designations. Upon further review of Mr. Bulson’s deposition
  transcript, we identified a third exhibit you refused to allow us to examine Mr. Bulson with on
  the grounds that it was marked “confidential” and therefore governed by the protective order in
  the Siegel case: (3) an October 3, 2004, letter from Mr. Toberoff to Joanne Siegel and Ms.
  Larson regarding “Engagement for Professional Services” (Ex. 51 LSL 00213-218), Tr. 158:1-
  160:7. We assume based on your August 11 letter that you intend to maintain that objection, but
  please advise us if we are mistaken in that assumption.

        Defendants do not dispute that no protective order exists in this case; in fact, they admit
  as much. Nor do they dispute that they produced documents in this case—including the two


  (same); Mold-Masters Ltd. v. Husky Injection Sys. Ltd., 2001 U.S. Dist. LEXIS 20152, at *8-9
  (N.D. Ill. Dec. 5, 2001) (“Since a document with an attachment constitutes two separate
  documents, a party objecting to the disclosure of a document with an attachment must prove that
  both the document and the attachment individually satisfy the requirements of the applicable
  privilege or doctrine.”); RUTTER § 11:1919 (“Listing each e-mail separately is crucial where
  different e-mails in the strand potentially raise different privilege grounds.”).



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  exhibits DC identified in its August 3 letter and the third exhibit identified herein—without
  reservation of any rights or claims of confidentiality. Defendants instead seek to re-frame the
  issue by arguing that this “entire dispute … could easily be avoided if DC would agree to a
  protective order in this case similar in substance to the one entered into by the parties in Siegel.”
  Whether DC later agrees to a protective order in this case—and we invite defendants to propose
  or produce a draft of one—does not change the fact that none currently exists that would operate
  to protect the documents defendants have thus far produced.

           DC disputes defendants’ claim that the protective order in the Siegel case applies in this
  case because the parties purportedly always anticipated entering into a protective order. Even if
  that were the case—and it is not—defendants’ arguments and objections are not well-taken.
  First, the protective order in the Siegel case defines the categories of documents that fall within
  its protections, and can therefore be marked “CONFIDENTIAL”:

          [D]ocuments may be marked “CONFIDENTIAL” if the marking or requesting
          party reasonably believes:

                   (a) the Writing contains confidential proprietary information; or

                   (b) disclosure of such commercially sensitive Writing could reasonably
                   harm competitive advantage, or foster a competitive disadvantage; or

                   (c) the disclosure of such confidential Writing could impair or disrupt
                   future or current business relationships.

  Docket No. 50 ¶ 4. This limited definition of documents subject to the protective order in the
  Siegel case requires the producing party to evaluate whether the underlying document can be
  marked “CONFIDENTIAL” under this three-part test and to so mark it as “CONFIDENTIAL” at
  the time of production. An underlying document that happens to have a “confidential” label
  affixed to it is not automatically protected because whoever applied that stamp previously, by
  definition, did not have this three-part test for marking documents before him or her.

          Second, and as defendants admit, the protective order in the Siegel case permits witnesses
  to be examined as to documents marked “confidential.” Id. ¶ 5. If, as defendants contend, the
  protective order in the Siegel case applied in this case, there is no basis for your objections to the
  use of the three exhibits.

          Third, there is no “hypocrisy” in DC making clear that it will seek full relief against you
  and defendants if you act on your threats to disclose confidential documents produced by DC in
  Siegel. Tr. 161:12-162:20 (Rough Tr. 152:2-153:1). Unlike defendants, DC has not produced
  any documents in this case—defendants have not requested any to date—and, therefore, all of
  DC’s confidential documents in defendants’ possession were produced pursuant to and subject to
  the Siegel protective order.




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          Finally, your claim that you did not refuse to allow us to examine Mr. Bulson regarding a
  May 12, 2005, letter from you to Patrick Perkins (Ex. 52) is disingenuous. Tr. 146:10-148:24
  (Rough Tr. 137:2-138:19). You objected to our use of the document on the grounds that it is
  subject to the protective order in Siegel since it is marked “confidential,” and deals with
  “settlement negotiations which should not be used or disclosed in litigation.” You also
  threatened to hold us and DC “accountable” for purportedly breaching the Siegel protective
  order. We did not “cho[o]se not to ask any further questions after [Mr. Toberoff] objected,” as
  you claim; we were forced to discontinue our examination of Mr. Bulson based on your
  misguided threats. Moreover, we reserved all rights to ask questions on this and other topics
  during the second day of Mr. Bulson’s deposition. Tr. at 181:16-182:3.

          We need to conduct a final meet-and-confer on these issues as well—and need a date
  certain to do so with both of you.

          6. Protective Order re: Deposition. On our call, we should discuss a protective order
  concerning Renner Otto’s business practices. We are happy to draft such a document and submit
  it to Mr. Ryland as well.

                                          *       *      *

          Please let us know if you are available to meet and confer on these issues tomorrow,
  Tuesday, August 30. Otherwise, please provide a date certain when you are available to conduct
  a final meet-and-confer on these issues.

                                                  Very truly yours,



                                                  Matthew T. Kline
                                                  of O’MELVENY & MYERS LLP

  Enclosure(s)
  cc:    Daniel M. Petrocelli, Esq.
         Jason Tokoro, Esq.
         Josh Ryland, Esq.
         Richard Kendall, Esq.




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                            In The Matter Of:

                            DC COI^IICS
                                v.
                 PACIFIC PICTUI2ES CDI^POI^A^ION




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                               ^ulyI9,2011




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                          DON SULSON - 7/19/2011

                                                                                        Page
            IN THE UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA


    DC COMICS,     ^              )

                   Plaintiff,     )
                                  }
    vs.                           )No.cυ-10-3633 oDw
                                  )
    PACIFIC PICTURES              )
    CORPOØTION, et a1.,           }

                   Defendants.    }



          THE VIDEOTAPE DEPOSITION OF DON BUEBON
                  TUESDAY, JEJLY 19, 2011




          The videotape deposition of DON BUSSON,

    called by the Plaintiff for examination pursuant

    to the Federal Rules of Civil Procedure, taken

    before me, the undersigned, Michelle M. Lewis, a

    Registered Professio π al Reporter and Notary

    Public within and for the State of O ^io, taken at

    the offices of Renner Otto Boisselle & Sklar,

    1621 Euclid Avenue, Suite 1900, Cleveland, Ohio,

    commencing at 9:18 a.m., the day and date above

    set forth,




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                                        EXHIBIT 58
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                         DON SULSON - 7/19/2011

                                                                                   Page
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24             Alex Cook, Video Technician
25


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     5

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              Exhibit 37               November 12, 2004 email from                          53

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                                                                                       Page
     1
                                     Mr. Bullon to Mr. Toberoff
     ^      Exhibit 38               November 17, 2004 email from                          53
     ^                               Mr. Toberoff to Mr. Bullon
     4
            Exhibit 39               November 12, 2004 email chain 53
     5
            Exhibit 40               November 24, 2004 email from                          53
     6
                                     Mr. Bullon. to Mr. Toberoff
            Exhibit 41               November 29, 2004 email from                          53
     s                               Mr. Toberoff to Mr. Bullon
     9
            Exhibit 42               January 17, 2005 email                                53
10          Exhibit 43               Discovery brief                                       89
11
            Exhibit 44               No description, rescinded                             95
1^          Exhibit 45               October 3, 2002 retainer                           102
1^                                   agreement
14
            Exhibit 4^               January 21, 2002 retainer                          102
15
                                     agreement
            Exhibit 47               April 28, 2005 letter from                         133
17
                                     Paul Levitz to Jean Adele
1a                                   Peavy and Mark Warren Peary
19
            Exhibit 48               October 19, 2001 letter from 139
^o                                   Kevin Marks to John Schulman
^1          Exhibit 49               October 2^, 2001 letter from 139
^^                                   John Schulman to Kevin Marks
^^          Exhibit 50               February 1, 2002 cover letter 139
24
                                     from Patrick Perkins to Kevin
25
                                     Marks attaching draft


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                                                                                       Page
     1
                                     agreement
     2
            Exhibit 51               Retainer agreement                                  158
     3
            Exhibit 52               May 12, 2005 document                               146
     4
            Exhibit 53               Privilege log                                       1^7
     5
            Exhibit 54               September 21, 2002 letter                           180
     6
                                     from Joanne Siegel and Laura
                                     Siegel Larron to Kevin Marks
     8

     9

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25




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                                                                                         Page k
      1
                                         VIDEO TECHNICIAN:                 This begins
      2
                   Volume No. 1, Videotape No. 1, in the
                   depósition of Don Bulson in the matter of DC
      4
                   Comics versus Pacific Pictures Corporation,
      5
                   et al., in the United States District Court,
      6
                   Central District of California, Western
                   Division.          The case number is CV-10-03633.
      s            Today's date is July 19th, 2011. The time on
      ^            the vïdeo monitor is 9:18.
10                           Would counsel please voice identify
ιι
                   yourselves and state who you represent?
ι2
                                         MR. KLINE:                 Matt Kline and
1^                 Jason Tokoro from O'Melveny & Myers on behalf
14
                   of Plaintiff DC Comics.
15
                                         MR. TOBEROFF:              Marc Toberoff.
16
                   I'm here on behalf of the defendants in this
1-ι                action, and also the Estate of Michael
i^                 Siegel.
19
                                         MR. BERK:                  Gerald Berk, B
20                 E R K. I represent the -- on behalf of the
                   Estate of Michael Siegel.
22                                       MR. RYLAND:                Josh Ryland,
                   Renner Otto Boisselle & Sklar in Cleveland,
24
                   Ohio, here representing third-party witness
25
                   Don Bulson.


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                                                                                        Page
     ι                                 VIDEO TECHNICIAN:                 Will the
     ^            court reporter please swear in the witness?
     ^                                  DON BULSON
     4
             of lawful age, called by the Plaintiff for
             examination pursuant by the Federal Rules of
     6
             Civil Procedure, having been first duly sworn, as
            hereinafter certified, was examined and testified
     ^       as follows:
     9
                              EXAMINATION OF DON BUEBON
io          BY MR. KLINE:
            Q     Mr. Bullon, good morning.
12
            A     Good morning.
ι^
                                       MR. BERK:                  Excuse me.
l4
                  Before we start, on behalf of the Estate of
z5                Michael Siegel, I would like to voice my
1b
                  objection to any matters that concern the
                  Estate of Michael Siegel that Mr. Belson will
ι^                testify to, and we want to raise privilege,
19
                  our privilege of any matters concerning his
20
                  representation of Michael Siegel.
2i                                     MR. KLINE:                 Understood.
22
                  Why don' t you j ust ---^ why don' t we take the
23
                  questions as they're asked and deal wïth them
24
                  one by one.
                                       MR. RYLAND:                I'm going to


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                                                                                      Page
     1
                  propose this before. Do you want to
     2            establish a protocol for the objections or do
     ^            you want to take them as they come, because
     4
                  there could be the potential for a_ lot of
     5
                  speaking on your record, and I'm trying to --
                                      MR. ALINE:                  Let's take
                  them as they come, and if we need to, we can
     ^            take a break and set up a protocol. But my
     9
                  hope is to get through as much testimony
10
                  today as we can.
11
            Q     Mr. Bullon; we've never met before, have we?
λ2
            A     Not to my knowledge.
13
            Q     Okay.     And you understand, and I'm going to
14
                  ask Jason to pass this around, that DC Comics
15
                  subpoenaed you to testify in this case?
1b
            A     Yes.
17
            Q     Marked as exhibit, Plaintiff's Exhibit 27,
1a                I'd ask you to take a look at it, we'll give
19
                  copies to counsel, is a copy of that
20                subpoena.


^2                   (Plaintiff's Exhibit 27 was marked.)
^^
24
                  Are you familiar with that document, sir?
25
            A     I believe I am. The original one that was


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                                                                                        Page
      1
                   served, allegedly served on me I never
     2
                   received, but I think there was a follow-up
     ^             that was sent.
     4
              Q    Okay.     Great.      And so this both calls for a
     5
                   deposition and a production of documents,
      6
                   correct?
             A     Uh-huh.
     s        Q    And working with Mr. Ryland, who's here
     9
                   representing you today, you produced a few
10
                   documents to DC, correct?
11.
             A     Well, this is the document production
az                 subpoena.
1^            Q    Yes.
14
                                        MR. KLINE:             -    A^ d Jason, do
ι5                 you have the --
16
             A     This I did receive.
             Q     Okay.     You did receive this?
18
             A     Yes.
19
             Q     A^ d we're obviously here for your deposition
20
                   today, so you received the deposition notice
^1                 as well?
^^           A     Whether or not ---
23
             Q     At some point, at some point we worked that
24
                   out.
25
                             But working with Mr. Ryland, do you

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                                                                                      Page ^0
      1
                   understand you made a production of a few
      ^            documents in this case?
      3
             A     We identified documents to be produced, yes,
      4
                   or potentially produced.
      5
             Q     And Exhibit 28 is just a copy of your
      6
                   deposition subpoena that I think we all
                   agree --
      ^      A     I think I got it.
      9
             Q     -- got you here today?
10           A     Yep.
11

Σ2
                       (Plaintiff's Exhibit 28 was marked.}


14
                                       MR. KLINE:                  As I
15
                   understand it, we still don't have your
16
                   firm's formal objections to those document
^.,                requests.
1s
                                       MR. RYLAND:                 That's
                   correct.      I mean, if we're going to -- we can
20
                   put it on the record or off the record, but I
^^                 got your responsive email to our letter.
22
                                       MR. KLINE:                  Okay.
                                       MR. RYLAND:                 And I think
24
                   that we obviously have more parties concerned
25
                   than just us with that production, so I was


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                                                                                    mage 11
     1
                  hoping we could talk through how to best --
     2
                                       MR. ALINE:                 Maybe over the
     ^            lunch hour we can do that. Amid unfortunately
     4
                  given that we^don't have all the documents
     5            that I think we need, we may need to reserve
     6
                  some time to come back and see you again, but
                  T'm sure the parties have their different
     B
                  positions on that.
     9
                                       MR. RYLAND:                Yeah.          I mean,
1a                we would object to that, but I understand
11
                  certainly why you would say that and put it
12
                  on the record.
            Q     Okay.     Mr. Bulson, have you seen a copy of
14
                  the complaint in this case?
            A     I don't recall.
15
                                       MR. ALINE:                 Jason, may I
17
                  have a copy of it, please? And we'll mark
is                this Exhibit 29, or actually, you know, it's
19
                  premarked as Exhibit 1 from the Peary
za                deposition.
21                Handing you a .copy, Mr . Bulson .
            4
22
                                       MR. RYLAND:                Do you have
^^                another copy?
24
            A     This is missing -- oh, no. Yeah, you're
25
                  missing pages here.

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                                                                                    Page 12
     1
                                      MR. ALINE:                  Do you have a
     2
                  copy that -- that one starts on Page 2,
     ^            Jason.      Do you have one that has all of the
     4
                  pages on it?
     5
                                      MR. RYLAND:                 Counselor,
     ^            this one's fine.
                                      MR. KLINE:                  Oh, okay.
     8      A     I can't recall if I've read this or not.
     9
            Q     Okay.
ιo          A     I was aware there was a lawsuit.
11
            Q     Okay.      So I take it you didn't read that
1^ ^              complaint in preparing for your deposition
13
                  today?
14
            A     Oh, no. I can say that.
15
            Q     Can you describe for me what you did to
16
                  prepare for today's deposition?
            A     Just ---
18
                                      MR. RYLAND:                 I'll caution
19
                  the witness that any communications that you
20
                  and I had related to the deposition would be
21
                  attorney-client privilege, but íf you can
22
                  answer without violatí ^ g the privilege.                               .
^^          A     Just the mechanics of today's deposition.
24
            Q     Did you have any meetings or discussions with
25
                  Mr. Toberoff?


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                                                                                     Page 13
     1
            A     I did not.
     ^      Q     Did you have any meetings or discussions with
     ^            Mr. Berk?
     4
            A     I did not.
     5
            Q     Did you review your deposition that you-gave
     6
                  in the Siegel action i^ 2008?
            A     I did not.
     ^      Q     Dïd you review any of the exhibits that were
     9
                  used that -- the underlying documents?
10          A     No.
ι1          Q     Did you review any of your case fïles?
            A     No.
13
            Q     Did you review any calendars that you have?
14
                  Do yon have calendars or call log sheets that
15
                  show when you spoke to people?                                                    9
16
            A     No.
17
            Q     Time entries that show when you would have
18
                  spoken to somebody?
19
            A     NO.

            4     Do you understand that your law firm has
^1                filed a claim against the Estate of Michael
^^                Siegel, correct?
23
            A     Correct.
24
            Q     And that's a matter of public record?
z5          A     That's correct.


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                                                                                    Page i4
     ι      Q     And as I understand it, and we were gïve^ a
     z            copy of this document by Ms. Siegel, I
     ^            believe, on September 17th, 2010, the state
     4
                  court judge ín that case granted defendant's
     5
                  motion for partial summary judgment. Are you
     6
                  aware of that ruling?.
            A     That's correct.          I don't recall the date, but
     ^            there was a.^ .
     9
            Q     And it says that plaintiffs --^I'm just
10
                  reading from the docket sheet, and we'll put
11
                  it into the record. And we would, if a
1^                separate order exists other than this docket
                  entry, we'd request that all parties in the
14
                  case produce a copy of that order, because
15
                  we've not seen one or been able to get one
15
                  from the public record. But the docket entry
17
                  says, plaintiff's recovery for its attorneys'
1a                fees must be based on quantum meruit. Do you
19
                  remember that ruling?
20
            A     Yep, uh-huh.
^1          Q     Has your law firm made any submissïo^
^^                documenting what its fees are or what it.
^^                would be entitled to on a quantum meruit
24
                  basis?
25 ^
            A     Yes.     Yes.


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            Has that been -- do you know if that's
            been -- we've not seen a copy of it ,                        so we'd
            obviously want to see that produced in this
            case as it might bear on when you dïd certain
            work, the amount of work that you did.
                                  MR. RYLAND:                Duly noted.
      A     Is there a question?
                                  MR. RYLAND:                Duly noted.
      Q     Did you help prepare that document?
      A     Yes.
      Q     Does that document recount the number of
            hours that you spent working on the Siegel
            matter?
      A     I think it does.
      Q     Does that document include dates o^ which you
            would have had conversations with
            Mr. Toberoff concerning negotiations?
      A     I think it does.
                                  MR. KLINE:                 For that
            reason, we'd very much like to get a copy of
            that document.           The timeline here is
            critical.          And if we could get a copy of it
            on the lunch break, Z could try to ask some
           .questions about it.             But if we can't, we may
            have to come back.


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      A     Should be a public record.
       Q    You think it's one of the public filings in
            the case?
      A     Uh-huh.
      Q     Okay.     Let's mark as Exhibit 29, this was
            just the docket entry that I was reading
            from.     The first one on the first page there.


                (Plaintiff's^Exhibit 29 was marked.)


      Q     Are you familiar with this docket entry, sir?
      A     No.
      Q     Okay.
      A     I mean, the substance ^'m familiar with, but
            I haven't seén the docket entry.
      Q     That specifically.            Okay.
                      And as I understand it, ^o further
            action has been taken in the case, but the
            parties are contemplating taking some sort of
            appeal from that ruling?
      A     Correct.
      Q     A^ d the Estate of Michael Siegel has not paid
            this firm any money, correct?
      A     Correct.      No, ^ take that back, that's not
            correct.


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                                                                                       Page 17
              Q     How much money has been paid, do you know?
     ^        A     I don't recall.
     ^        Q     More than a few thousand dollars?
     4
              A     Yes.
              Q     More than $50,000?
       6
              A     No.
              Q     Okay.     What is the amount of money that the
     8
                    law firm is claiming is still .owed under this
     9
                    quantum meruit theory?
10            A     I believe it's around $136,000, somewhere in
1i                  that ballpark.
i^            Q     Okay.     Okay.
13
                              T also understand that the law firm
14
                    sent Mr. Siegel's hard copy files to the
]. 5
                    lawyers representing Mr. Siegel's estate in
                    the probate action in this case, correct?
              A     We turned -- we turned custody of the files
ι^                  over to the estate.
19
              Q     Okay.     And I also understand that the firm
zo                  maintains a^ electronic database of its files
^i                  that it keeps for itself that it did not turn
^^                  over to the estate; is that correct?
^^            A     I don't know•if that's correct or not. I did
                    not understand the question completely.
25
              Q     I'll represent that in my conversations with


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            your partner and in communications with
            Mr. Toberoff it's been revealed to us that
            your law firm not only had a paper copy of
            the files that it turned over, I believe, to
            Mr. Berk's firm --
                                 MR. ALINE:                 Are yóu with
            the Banchek firm, sir, are you --
                                 MR. BERK:                  No.       I
            represent Mr. Banchek as a^dmi^istrator.
                                 MR.   ^LINE:               Understood.
      Q     So my understanding is that you had physical
            hard copies of what we'll call the Michael
            Siegel file.         You gave the Michael Siegel
            file, the physical hard copies, to the
            Banchek firm, correct?
      A     Correct.
                                 MR. TOBEROFF:              Objection.                I
            don't believe I've had any conversations or
            correspondence with you regarding these
            files.
                                 MR. KLINE:                 I believe you
            wrote me a letter on Friday talking about the
            screen shot of this electronic database, and
            we can pull that out and put it in evidence.
                                 MR. TOBEROFF:              No.       I wrote


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            that to Josh, Mr. Ryland.
                                 MR. ALINE:                 Which was
            forwarded to me and you were copied on.
                                 MR. TOBEROFF:              But you have
            ^ o correspondence from me.
                                 MR.   ^LINE:               Okay.
      Q     So Mr. Toberoff sént me a letter on Friday in
            response to a letter from your partner. Did
            you see this correspondence, Mr. Bulso^?
      A     No.
      Q     We'll get a copy of that on one of the
            breaks.


            sir?
      A     Yes.
      Q     And some of the patent work you do involves
            computers?
      A     Yes.
      Q     And you have a^ electrical engineering
            degree?
      A     No, I do not.
      Q     Mechanical engineering degree?
      A     That's correct.
      Q     Okay.     And you're familiar that law firms
            have databases like a concordance database ïn


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            which they keep files electronically at
            times, .pdfs, . tiff images, . jpegs?
      A     We do have an electronic files, yes.
       Q^   My understanding is that the firm has
            maintained an electronic copy of the Michael
            Siegel files; is that correct?
      A     We have found an archived copy of the files
            that were transferred.
      Q     Okay.     And my understanding is that archive
            copy contains a^ index of the materials
            contained therein; is that correçt?
      A     No.     My recollection of that archive file is
            there is, the file names are -- if you did a
            directory, you would see a numbér of file
            names.
      4     Can you give me an example of what a file
            name would be like? Don't give me the
            substance, but, you know, would it be letter
            from blank to blank on a certain day, is that
            how it's kept in the file e^trïes?
      A     No,     This would have been, in this case, I
            think it was logged in by our file number.
      4     So if there was something like a March 1st
            letter, would there be any indication --
      A     No.


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                       DON BULSON - 7/19/2011



       Q    -- on the log of when the letter -^
      A     No.
       Q    What information, if any, could you glean
            about the date or substance of the
            communications from that index?
      A     You could get to some extent a timing,
            because of the file name included our file
            number and also a reference to the content.
            And if you correlate our file name to the
            content, it's assuming that our file names
            were numbered numerically, there could be
            some timing.
      Q     Okay.     Okay.      And by the content, what do you
            mean by that?
      A     Lïke it might have listed communications
            with -- I think a simple one would be ---
            well, I don't remember the names of the
            files --
      Q     But when you --
      A     -- the content. But by way of example, it
            might say communications with Michael Siegel.
      Q     Okay.     Understood.
      A     Which would obviously we would have files of
            that sort.
      Q     Many, many.

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                               DON BUEBON - 7/19/2011

                                                                                       Page 22
       1
                              If he sent you, say, a copy that-
       ^            his -- of a letter that his sister sent to                                         σ
       ^            him, might it say letter from sister to
       4                                                                                               σ
                    Michael Siegel or letter from Laura to                                             σ
       5
                    Michael Siegel in those content descriptions?
       ^
              A     No.     I don't believe so.
              Q     Why is that?
       ^      A     I just don't believe^so. I haven't loóked at
       9
                    it lately, but I don't recall --
1a            Q     Are you certain that --
ιι            A     -- seeing something that specific.
ι^            Q     Okay.     Would it say something like -- I mean,
                    if he sent you some underlying case
14
                    materials, how would that be logged? If he.
15
                    sent you underlying correspondence that he
16
                    had himself.
ι,            A     It wouldn't be logged in the file name of the
a. ^                archive file.         We're just talking about
19
                    archive files where we transferred custody of
20
                    a paper file, which might be this thick or
21                  this thíck^ --
^^            Q     Okaÿ.
z^
                                                                                                       σ
              A     -- to the estate. And it just was a scan of
                    the file.
25
              4     A scan of the whole file?


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                                                                                    Page 23
     1
            A     Uh-huh.      There was no breakdown by the letter
     ^            to who, letter to who, or anything like that.
     ^      Q     But to be clear, the scan contains everything
     4
                  that you turned over to Mr. Banchek's firm?
     5
            A     That's my understanding.
     6
            Q     Okay.     In .pdf format?
            A     I belïeve it is ï^ .pdf format.
 ^          Q     Okay.     Do you know if ít was OCR'd such that
     9
                  it's searchable?
1a          A     I doubt it.
11
            Q     Do you keep a daily calendar, sir?
12          A     Wait to be more specific?
            Q     If you have a scheduled appoïntment, do you
14
                  log that in a computer calendar or paper
15
                  calendar or a conference call?
1^
            A     I have a computer calendar now.
1,
            Q     Going back to the 2003 to 2005 time period,
1^                did you have a computer calendar?
            A     ^ don't recall.
^o          Q     Did you have a paper calendar?
^ι          A     No.
^^          Q     If you made certain calls during the day,
23
                  spoke to another lawyer or spoke to a
24
                  business person on a matter, would your time
25
                  entries for the day reflect that?


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                       DON BUEBON - 7/19/2011



      A     Yes, in many instances.
      Q     Okay.
      A     Not always, but --
      Q     Of course.
                      And would you note that o^ the
            calendar or just in your daily time entries?
      A     My electronic time book.
      Q     Okay.     And is that electronic time book
            maintained by the law firm here?
      A     I maintain it.
      Q     Is that a searchable database of information?
      A     It would be searchable.
      Q     So if we asked you, for example,- to search
            for the word "Toberoff" in there, you could
            probably find that?
      A     No, you wouldn't find it.
      Q     Why is that?
      A     Because my electronic calendar doesn't go
            back that far.
      Q     Okay.     Time entries that you kept i ^ the
            2003 to 2005 time period --
      A     No.
                                 MR. TOBEROFF:              Could you
            speak a little louder? I'm having trouble
            hearing you.


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                       DON BUEBON - 7/19/2011



      A     It would not be in there.
      Q     How did you keep your time from 2003 to 2005?
      A     Those files, those time files I don't have
            anymore.
      Q     How did you prepare the submission you made
            ïn the lawsuit against --
      A     From our billing records.
      Q     So the billing records reflect that?
      A      Nods head. )
      Q     And the actuál bills would say spoke to so
            and so on such and such date?
      A     That would often be the case.
      Q     Okay.
                                MR. RYLAND:                 Counsel, is
            there a --- ^ assume there's a protective
            order entered in this case already?
                                MR. KLINE:                  There is not.
                                MR. RYLAND;                 There is not.
            Okay.     To the e^te^t that they're getting
            into our -- you know, how we conduct our
            business, we would like to máintain this
            attorneys' eyes only.             And, you know, if
            there's no protocol for doing it, then we're
            going to either have to move to protect
            what's ïn this transcript or suspend the


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                               DON BUEBON - 7/19/2011

                                                                                       Page 26
                    deposition until we can resolve some way to
     ^              do that.
     3
                                         MR. KLINE:-                 I have no --
     4
                                         MR. RYLAND:                 I appreciate
     5
                    why you're asking questions, the questions.
       6
                    The problem that I have is we obviously
     7
                    wouldn't want our business practices to be
     s              public record, so.              ^
       9
                                         MR. KLINE:                 And what we've
a. o                done, just as an example, we filed a
                    discovery motion yesterday, and we have been
                    filing motion to seal orders that
ι^                  Mr. Toberoff has either objected to or not
14
                    objected to.
l5
                                         MR. RYLAND:                Okay.
l6
                                         MR. KLINE:                 And we would
i^                  have no objection to keeping any portion of
ia                  this deposition transcript under seal that
19
                    you would want to.
20
                                         MR. RYLAND:                Yeah.         I'm
^i                  going to make a blanket statement right now,
^^                  just we can review if there's --- but I would
^^                  like to designate the entire deposition
^4                  attorneys' eyes only.               And to the extent that
25                  needs to be peeled off, let me know.


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                            DON BUEBON - 7/19/2011

                                                                                      Page 27
     1
                                        MR. KLINE:                 Yeah.          We can
     2
                  talk about that. I do think just to be clear
     ^            we're going to want to see these time entries
     4
                  to help piece together the timeline for us.
     5
                                       MR. RYLAND:                 I understand
     6
                  the request.          It's duly noted. I'm also
                  subject to what the wishes of the estate are.
     a            We can't waive anything that would be
     9
                  considered privilege within time records with
ιo
                  respect to either the work product doctrine
                  or attorney-client privilege, because it's
λ2
                  not ours to -^
                                       MR. KLINE:                  No, I
14
                  understand.         But I think the representation
15
                  was made that it was already filed in the
16
                  public record as part of this quantum meruit
17
                  scenario.          I could be wrong.
                                        THE WITNESS:               Am I correct
19
                  on that? I don't remember.
^o                                     MR. BERK:                   My
zλ                recollection was that ^
                                        THE WITNESS:               I'm talking
2^                about the expert's opinion.
24
                                       MR. BERK:                   Yeah,
25
                  you're --


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                             DON BUEBON - 7/19/2011

                                                                                      gage 28

                                       MR. RYLAND:                Hold on.               Cagy
     ^            we go off the record for a second?
     ^                                 VIDEO TECHNICIAN:                 We're off
     4
                  the record.        The time is 9:39.
     5
                         (Discussion held off the record.)
     s                                 VIDEO TECHNICIAN:                 We're back
                  on the record. The time ís 9:40.
     a                                 MR. KLINE:                 So just to be
     9
                  clear, we respect your request to protect the
10                privacy of this depósition.
11
                                       MR. RYLAND:                I appreciate
                  that.
ι^                                     MR. KLINE:                 Understand
14
                  that when it comes to the billing records,
15
                  there may be other subject matters that we
16
                  wouldn't agreed to completely blanket
17
                  request.       You know about our pending
18
                  discovery questions and issues.                        We'll take
19
                  try to work them out the best we can.
20                                     MR. RYLAND:                No, I
21                understand that.           And just to -- we went off
22                the record.        The off-the-record discussion
                  was that the request is being made to see the
24
                  billing records that were submitted in
25
                  conjunction with Renner Otto's lawsuït


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                             DON HULBON - 7/19/2Q11

                                                                                     Page 29
     1
                  against the Estate of Michael Siegel. The
     2
                  firm is represented by separate counsel. I
     ^            would have to check with separate counsel
     4
                  before I could make any determination that
     5
                  way, and that's ït.
     ^
                                       MR. KLINE:                 Amid that's
                  fine.
     8

     ß
                      (Plaintiff's Exhibit 30 was marked.)
10
11          BY MR. KLINE:
1^
            4     Mr. Bullon, T'm handïng you Exhibit 30 which
13
                  is a May 13th, 2003 letter from your former
14
                  client Michael Siegel to Laura Siegel his
λ5
                  sister, and ask you to read the letter if you
16
                  could.
17
                                      MR, KLINE:                  Cagy we go off
                  the record while we finish that? Very sorry.
19
                                      VIDEO TECHNICIAN:              We're off
^a                the record at 9:42.
^1                   (Recess from 9:42 a.m. to 9:43 a.m.)
^^                                    VIDEO TECHNICIAN:              We're back
^^                on the record. The time is 9:43.
24
                                      MR, TOBEROFF:               What exhibit
25
                  number iS th1S?


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                                 MR. KLINE:                 This is
            Exhibit 30.        Just want to give
            to finish it.
                                 MR, RYLAND:
            Counselor.
           MR. ALINE:
            Have you seen this letter before, sir?
                                MR. BERK:                   Objection.
            This would be privileged,^unless he was to
            get this from Laura Siegel or somebody else.
            But if he got this from Michael Siegel, it
            would be part of -- be a privileged document
            as to Mr. Bulson,
                                MR, KLINE:                  Sharing a
            nonprivileged document with your attorney
            does not make that document privileged. I'm
            fully entitled to ask him --
                                MR. BERK:
            prïvileged between Michael and him, but it's
            not privileged from Laura to Michael.
                                MR. KLINE:                  I'm fully
            entitled to ask him if he's seen this
            document before.          Are you instructing him not
            to answer that question?
                                MR. BERK:


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                             DON HULBON - 7/19/2011

                                                                                     Page 3^
     1
                  instructing him not to answer that question.
     ^                                 MR. RYLAND:                Counsel, I
     ^            have no choice. We can not either assert or
     4
                  waive the attorney-client privilege, so.                                   .
     5                                 MR. KLINE:                 We're just
     a            going to be back here for a second day. If,
                  I mean, the commu ^ ication -- I mean, the Ohio
     ^            courts have ,held the following:                   Mere
     9
                  relation of attorney and client does not
10
                  raise a presumption of confidentiality of all
ι1                communications made between them. I've not
ι2                asked for anything Michael said about the
                  document, I've not asked for anything Don
14
                  Bulso ^ said to Michael about the document.
15
                  I'm asking him if he's ever seen the
16
                  document, whether he's            perceived the document
17
                  before.      And you're instructing him not to
                  answer that question?
19
                                      MR. BERG:                   I'm saying he
^a                can answer the question if Michael did not
^1                give him the document.
^^                                    MR. RYLAND:                 I -- you know
                  our position, Counsel. I can't waive --
24
            A     I^don't know how I can answer the question.
25
            Q     Independent of Michael giving you this


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                                 MR. KLINE:                 Okay.         And
            Mr. Berk, we just met.
                                 MR. BERK:                  Uh-huh.
                                 MR. KLINE:                 I
            unfortunately think we're going to be here a
            second day.        I'm not aware of any case
            authority that says if you give a
            nonprivileged document to your attorney --
            you can issue such an instruction or can you
            cïte such an authority that says that in
            Ohio?     I just ^- I'm not aware of a case that
            says that.




                                MR. TOBEROFF:               Excuse me.
            You've often saïd in your depositions that
            you don't want to engage in colloquy. This
            colloquy is pointless.                He's entïtled to
            instruct as he sees fit. You can ask your
            questions as you see fit.' Let's move on with
            the deposition.
                                MR. KLINE:                  I'm not going


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                             DON SULSON - 7/19/2011

                                                                                     Page 33
     1
                  to move on, because we're going to have to
 2                come back here a second tïme ---
 ^                                     MR. TOBEROFF:              This is not a
 4
                  hearing.
 5
                                       MR. KLINE:                 We're .going to
     6
                  have to come back here a second time,
                                      MR. TOBEROFF:               You threaten
 ^                that in évery deposition.
     9
                                      MR. KLINE:                  We're going to
10                have to come back. I just want to know, are
11
                  you aware of any -- I just never heard of an
12                authority that says you can't ask a witness
1^
                  if they've seen a document before.
14
                                      MR. BERK:                   If the
15
                  document was given by Michael Siegel to
16
                  Mr. Sulson it becomes part of his file, it
1,
                  also becomes part of the privileged file and
1s
                  part of. the litigation or representation by
19
                  Mr. Bullon of Michael Siegel, .and therefore
20
                  is privileged.
21                                    MR. KLINE:                  Are you aware
22                of any case authority that supports that
2^                proposition?
24
                                      MR. BERK:                   It's basic
25
                  privilege.         It's a part of the file.


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                             DON BUEBON - 7/19/2011

                                                                                    Page 34
     1
                                       MR. KLINE:                 And are you
     ^            ïnvoking Ohio law here, federal law here?
     ^                                 MR. BERK:                   I'm invoking
     4
                  any law that applies to this deposition.
     5
                                       MR. KLINE:                 And what is
     6
                  your submission as to what law applies?
                                       MR. BERK:                   I don't think
     ^            I have to give you my submission to what law
     9
                  applies.       It is privilege. It is privilege
ιo                in Ohio, it is privilege under federal, it ^s
11
                  still privileged.           And I believe it is                                  σ
1^                privileged under both because it becomes part
                  of the work product of his representation of
14
                  Michael Siegel.
ι5                                     MR. KLINE:                 So just so I
λ6
                  understand your position clearly, you're not
                  going to let him answer the following
1^                question, just so we have a clean Q and A.
19
                                       MR. TOBEROFF:              You already
20                had a clean Q and A. Let's move on,
^1                Counselor.
22                                     MR. KLINE:                 It's my
^^                deposition.
24
            4     Mr. Bulson, have you ever seen this document
25
                  before?


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                             DON BUEBON - 7/19/2011

                                                                                     Page 35
     1
                                       MR. RYLAND:                I think that
     2
                  he's asserted the privilege. I'm not going
     ^            to allow my client to answer .something that
     4            the estate has objected to and instructed him
     5
                  not to answer simply because I can't. It's
     6
                  not Renner Otto's or Mr. Bulson's privilege
     7
                  to waive. So to the extent that you're going
     ^            to ask him the same question that he's been
     9
                  instructed to waive, I'll object that it's
ιo
                  been asked and answered.
ιι
                                       MR. KLINE:                 And it's your
ιz
                  instruction for him not to answer that
ι^                question --
14
                                      MR. RYLAND:                 When you say
15
                  your --
16
                                      MR. KLINE:                  -- Mr. Berk?
                                      MR. RYLAND:                 Thank you.
ιa                                    MR. BERK:                   I've already
19
                  answered that question.
20
                                      MR. KLINE:                  And the answer
                  is yes?
^z                                    MR. BERK:                   I've
^^                instructed him not to answer that question as
24
                  it relates to Michael Siegel and the
z5                privilege that we have raised.


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                              DON BUEBON - 7/19/2011

                                                                                     Page.36
      ι                                 MR. ALINE:                 Okay.,        Thank
     z
                   You-
     ^             Mr. Bulson, did you ever discuss this letter
             Q
     4
                   with Mr. Toberoff?
     5
                                        THE WITNESS:               I don't
      6
                   think - - you've instructed me not to answer
                   the earlier question.. If I answer that
     a             question --
     9
                                        MR. BERK:                  I would agree
10
                   that if you spoke to Mr. Toberoff in
ιi                 relationship to your representation of
1^                 Michael Siegel, it is also a privileged
ι^                 conversation.         It may not be to Mr. Toberoff.
14
                   I mean, I can't have any privilege --                                            σ

1.5
                   exercise any privilege of his conversation,
16
                   but as ít pertains to Mr. Bulson, I -- it
17
                   would be privileged.
                                       MR. KLINE:                  You understand
19
                   that an Ohio court ruled that 15 emails in
20
                   which these two gentlemen negotiated for a
21
                   possible purchase of Mr. Siegel's interests
22
                   were not privileged communications and had to
^^                 be prodúced to DC, correct?
24
                                       MR. BERK:                   No, I do not
25
                   know that.


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                               DON BUEBON - 7/19/2011

                                                                                       Page 37
       ι                                 MR. KLINE:                 Okay.         We'll
       2
                    show you a copy of that order, and we'll show
       3
                    you a copy of an order in which Mr. -- the
       4
                    court found that Mr. Toberoff both
       5
                    misdescribed those documents and erroneously
       b
                    asserted the privilege.               So I'll represent to
                    you, if ÿou want to take a break to talk to
     8
                    him about it, that their negotiations
       9
                    concerning the Michael Siegel interests, and
ιo                  I know Mr. Ryland's aware of this, were not
                    privileged conversations.                So I think I'm
ι2
                    fully entitled to ask about his discussions
a. ^                with Mr. Toberoff on this issue.
14
                                        MR. TOBEROFF:               I object to
15
                    you mischaracterization of the Ohio order.
16
                                        MR. KLINE:                  Can I get the
                    Ohio order?
ι^                                      MR. TOBEROFF:               Warner
19
                    Brothers and DC moved for the entire -- all
20
                    Michael Siegel communications.                    The vast bulk
^ι                  of that for which "a privilege was asserted,
^^                  the vast bulk was upheld by the Ohio court
23
                    with the sole exception of a sliver of emails
24
                    which concerned the negotiation between
25
                    myself and Mr. Bulson regarding the potential


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                                           1080                            feda831 f-8í5a-4á4a-86d4^8e27c7e6947
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                                                                                     Page 38
     1
                  purchase of Michael Siegel's interest.                             And
     2            the court dïd not hold that the privilege log
     ^            had wrongly described something.
     4
                                      MR. KLINE:                  I'll read from
                  the order.
     6
                                      MR. TOBEROFF:               That's your
                  editorializing.
                                      MR. KLINE:                  While it is
     9
                  true --
10                                    MR. BERK:                   Before you
11
                  read from the order, could you bring the --
                  read the case, what case citatïon is this
13
                  from?     I mean, what lawsuit? Is it this
14
                  particular lawsuit here?
15
                                      MR. KLINE:                  This ís from
16
                  In re: Subpoena duces tecum ïssued by the
17
                  U.S. District Court for the Northern District
1a                of Ohio in the matter of Joanne Siegel versus
19
                  Warner Brothers Entertainment.
^o                                    MR. BERK:                   Okay.          This
^1                isn't this case.
^^                                    MR. KLINE:                  Judge Solomon
z^                Oliver held the following: While it's true
                  that counsel for Bulso^, this is Mr.
25
                  Toberoff, did not accurately characterize


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                                                                                        Page 39
       1
                    some of the documents and was incorrect
       2
                    regarding his claims of privilege, the court
       ^            does not find that the circumstances herein
       4
                    are such as to cast the entire process into
       5
                    question.          That's what Mr. Toberoff's talking
       6
                    about when he sáys --
                                          MR. BERG:                  Wait.         Wait.
       a            Wait.
       9
                                          MR. ALINE:                 -- every
1a                  single document in the case need not be
ιι
                    produced.          But he also says in the same
1z                  order, this ís his order of August 14th,
1^
                    2 0 0 8 --- I need the other order, Jasop, the
14
                    earlier order as well.
15
                                         MR. TOBEROFF:               Is this an
16
                    exhibit?
ι -ι                                     MR. KLINE:                  Yeah.         We're
1a                  goïng to mark two exhibits here.
19

20
                  (Plaintiff' s Exhibits 31 and 32 were marked.}
21


                                         MR. KLINE:                  No. 32 is the
2^                  first order.          I'll put it i^ fromt of
24
                    Mr. Sulson.
25
              4     Mr. Sulson, do you remember these orders


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                                            1082                            feda831 f-8í5a-4d4a-86^4^8a27c7e6947
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                         DON SULSON - 7/19/2011

                                                                                 Page 40
 ι            concerning document requests made on you and
              your firm?
 ^      A     Vaguely.
 4                                MR. RYLAND:                 Thanks.
 5                                                            So the first
                                  MR. KLINE:
 6            order which is the April 1st, 2008 order --
              and you've not seems these, Mr. Berk?
 a                                 MR. BERK:                  I've never
 9                               We were not a part of any of this
              seen them.
τo            action at that particular time.
τ1                                 MR. KLINE:                 Well, here's
z^            what I"d like to do. I'd like to take a
13            brief break so that you can review these
14            orders, and hopefully they can inform some of
15                                                                                  And
              the privilege objections you're making.
16
              otherwise we're just going to waste our time
              here today.
i^                                 MR. BERK:                  Well, I don't
19            want you to waste your time, but this is a
20            totally different case than this case.
21
                                   MR. KLINE:                 Why dón't you
^^            take ---
^^                                 MR. BERK:                  Wait a minute.
24            We were not a part of it, and I'm not sure it
25            has any relevance whatsoever, because we have


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                                     1083                            f^ da83if-8í5a-4d4a.86d4-38 ^27c7^^9d7
   Case 2:10-cv-03633-ODW-RZ   Document 500-11    Filed 10/10/12   Page 50 of 204
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                       DON BUEBON -- 7 / 19 / 2 011



            different -- a different situation here.
                                 MR. KLINE:                 That may be
            your ultimate position. I want to take á
            five minute break so you can read the orders
            and we can figure out what the protocol is
            going to be.
                                 MR. BERK:                  Take as many
            breaks as you want.
                                 MR. TOBEROFF:              I don't -- you
            know, they said they have to leave here at
            5:00 o'clock, and we got a late start, and
            it's a burden to fly out here from Los
            Angeles, so I don't --^- these breaks during
            the deposition to read things you could have
            provided beforehand --
                                 MR. KLINS:                 Mr. Toberoff,
            your co-counsel here is making one objectïon
            after another.          So we're going to take a
            break, revïew the orders. If you want to
            keep on making the objections, that's fine.
            Let's go off the record.
                                 MR. TOBEROFF:              So it
            shouldn't come as a surprise to you,
            Mr. Kline, that when you're taking the
            deposition of^an attorney regarding their


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                                   1084                            Fa^i ^^ 4λ FJlF^w^ιlde_^R λA_4Rw77..7^ ROA 7
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                                                                                 Page 42

              attorney-client relationship, that objections
 ^            as to privilege are going to be made.
 3                                MR. KLINE:                  Let"s go off
 4            the record.
 5                                MR. TOBEROFF:               In fact, this
 6            whole lawsuit is an invasion of the
 7
              attorney-client relationship, so you
 ^            shouldn't be shocked or surprised when
 9
              privilege objections are being made or
ιo            instructions are duly given.
                                  MR. BERK:                   On top of
12            that, Mr. Toberoff, ^ don't believe, was a
1^            party to this lawsuit at that time.
14                                MR. KLINE:                  We're going
Σ5            off the record. You guys can read these and
16            then we'll come back on, and we'll see what
17            objections you'll make going forward. Thank
^^            you.
                                  VIDEO TECHNICIAN:              We're off
              the record.        The time is 9':54.
                (Recess from 9:54 a.m. to 10:05 a.m. )
                                  VIDEO TECHNICIAN:              We're back
^^            on the record. The time is 10:05.
24
        BY MR. KLINE:
25            So Mr. Bulson, bringing -- I just want to
        4

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                                     1085                            feda83 ^ f-8f5a-4d ιEa-8Ød4-38e27c7e69b7
          Case 2:10-cv-03633-ODW-RZ   Document 500-11    Filed 10/10/12   Page 52 of 204
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                              DON BUEBON - 7/19/2011

                                                                                      Page 43
      1
                   make sure the record's clear. I put ín front
      2
                   of you Exhibits 31 and 32, which are the two
      ^            orders issued by the judge in Cleveland
      4
                   concerning document production in the Siegel
      5
                   case.     Do you see both of those?
      6
             A     I do .
             Q     And Mr. Toberoff was representing you in
     ^             connectïon with that motion practice,
      9
                   correct, along with Mr. Ryland here?
10
             A     I^ don't recall at the moment, that may be the
                   case.     I don't recall.
ι2
             Q     You do recall that he had kind of collected
z^                 documents for you, prepared a privileged log
1.4
                   for you, produced documents in that case?
15
             A     I believe that's true.
16
             Q     And he asserted in that case that he
                   represented Michael Siegel's interests,
ιa                 correct?
19
             A     I believe that is true.
^o           Q     Thank you.
2ι
                             Bringing your attention back to ---
22                                      MR. ALINE:                 What did we
^^                 mark this, Jason?
24
             Q     I'm going to turn back to Exhibit 30 here in
25
                   front of you, Mr. Bullon. This is the letter


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                                          1086                            fedaB3lf-Bf5a-4d4a-8ßd4-38e27c7e6947
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                       DON BUEBON - 7/19/2011



            from Michael Siegel to Laura Siegel his
            sister, and I want to ask you the following
            question:          In connection wïth the
            negotiations that you had with Mr. Toberoff
            concerning Michael Siegel's putative Superman
            interests, did you and hé ever discuss this
            letter?
                                  MR. TOBEROFF:              Objection.
                                 MR. BERK:                   I object as
            well, because if he discussed any -- this
            letter with Mr. Toberoff, he did so
            concerning his representation of Michael
            Siegel, and is therefore as to Michael Siegel
            it is prïvileged.
                                 MR. TOBEROFF:               I object
            because the question lacks foundation.
            Okay.     Let's take a look at Exhibits 34 to 41
            of your last depositïon, actually, to 42.
            And I'll represent to you and to Mr. Berk
            that these were letters and emails that you
            exchanged with Mr. Toberoff concérning a
            potential investor's desire to purchase
            Mr. Siegel's interest in Superman. Do you
            remember the letters and .emails from
            Mr. Toberoff in the 2003 time period to

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                                    1087                            feda831f-8í5a-4d4a -86d4-38e27cTe^947
         Case 2:10-cv-03633-ODW-RZ   Document 500-11    Filed 10/10/12   Page 54 of 204
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                             DON BUEBON - 7/19/2011

                                                                                    Page 45
     1
                 .2005 concerning .those negotiations?
     2
                                       MR. BERK:                  I object
     3
                  again, because any reference to his
     4
                  representation of Michael Siegel, and any
     5
                  conversations that he might have had with
     6
                  Mr. Toberoff concerning that, is privileged
                  as to Michael Siegel.
     ^                                 MR. KLINE:                 These were
     9
                  exhibits used at his last deposition.
10
                                       MR. BERK:                  I mean, that's
11
                  fine, but we're in a different lawsuit
12
                  altogether.        I was not a party to or was I
1^                there or had anything to do with exercising
14
                  the privilege rights of the estate of Michael
15
                  Siegel.
15
                                       MR. KLINE:                 Amid you
                  understand that Mr. Toberoff, your co-counsel
1a                here today, who says he represented, at the
19
                  very beginning of this deposition, said he
20
                  was here representing Michael Siegel,
                  appeared at^that deposition and made numerous
^2                objections on behalf of the Siegel, Michael
23
                  Siegel estate.
24
                                       MR. BERK:                  I have no idea
25                when that was taken. I don't know if Michael


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                                         1088                            f^da831f-Bf5a-4d4a-86d4.38e27c7e6947
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                               DON BUEBON - 7/19/2011

                                                                                       Page 46

                    Siegel was alive or dead at that time. But
       ^            as far as the estate of Michael Siegel and my
       3
                    representation of the Estate of Michael
       4
                    Siegel and exercising the privilege that
       5   ^
                    we're entitled to, I maintain that these are
       6
                    privileged documents as to this deposition in
                    this lawsuit and my representation and being
       a            here.
       ß
                                         MR.   KLINE:               So you dïdn't
io                  read this deposition before?
ii                                       MR. BERK:                  I absolutely
i^                  did not. I had nothing to do with that case.
^. ^                                    MR. KLINE:                  This
1. 4
                    deposition was taken in 2008 when he was
15
                    dead, and your co--counsel here today made
16
                    numerous objections on behalf of the estate
                    of Michael Siegel.
                                        MR. BERK:                   I mean, that
19
                    may be true. I have no knowledge of that.
^o                                      MR. KLINS:                  And yet you're
                    instructing him --
zz                                      MR. BERK:                   As far as I'm
^^                  concerned, my representation of the Estate of
24
                    Michael Siegel and the question. that you
25
                    asked concerning this letter and concerning


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                                           1089                            feda831f-Bf5a-åd4a-8644-38e27c7e6947
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                        DON BUEBON - 7/19/2011

                                                                                 Page 47
 1
              his representation of the Estate of Michael
 z            Siegel is privileged.
 ^                                MR. KLINE:                  Okay.
 4
                                  MR. BERK:                   It may not
 5
              have been privileged in that case, but it is
 6
              privileged here.
                                  MR. KLINE:                  Let's look at
 8
              the letters --
 9
        4     Mr. Bulson --
10                                 MR. KLINE:                 Is ït your
11            position, sir, that any of his communications
              with Mr. Toberoff concerning these
1^            negotiations are privileged?
14
                                   MR. BERK:                  My position is
15
              that any conversations, any letters, or any
16
              documents concerning his representatíon of
              Michael Siegel and his conversations that he
18
              had with anyone else concerning his
19
              representation of Michael Siegel is
20            privileged.        I don't know what his
^1            conversations were with Mr. Toberoff and to^
              what extent they were made. But if they were
z^            made with the representatíon of Michael
24
              Siegel, they are privileged. If he had other
25
              conversations with Mr. Toberoff not


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                                     1090                            feda837f^.8f5a-åd4a-8^ d4.38e27c7e6947
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                        DON BUEBON - 7/19/2011

                                          .                                     Page 48

              concerning his representation of Michael
 ^            Siegel, then that is his to determine whether
 ^            they were privíleged or not.
 4                                                            A^ d you read
                                  MR. ALINE:
 5            the order in there where he says he's having
 6            negotiations with Mr. Toberoff concerning a
              potential purchase of Michael Siegel's
 ^            rights?
 9                                MR, BERK:                   i read an
10            order in another case, not concerning me or
11            the Estate of Michael Siegel, and it's not in
ι2            detail.      I have no idea what the documents
              were or how the decision was made. But we're
14            in a completely different case here. And I
15            maintain that any communications that
16            Mr. Bulson had with anyone is privileged.
17                                MR. KLINE:                  Okay.
                                  MR. BERK:                   As long as it
19            ^as in the representation of Michael Siegel.
20      Q     Mr. Bulson, between June 2003 and
^1            January 2005 did you negotiaté with
^^            Mr. Toberoff concerning the potential
^^            purchase of Michael Siegel's putative
24            Superman interests by a potential investor?
25                                 THE WITNESS:               Am I okay to


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                                MR. BERK:                   You can answer
            that you had those conversations, but you can
            not answer as to the -- what the negotiatïon
            process wa.s .
            I had conversations, but I can't attest to
            the timeframe.          I donrt recall the timeframe.
            Okay.     And you made offers, for example, on
            June 18th, 2003, that Michael would be
            willing to entertain an offer that will pay
            him $200,000 a year for the rest of his life
            with a guaranteed minimum of 10 years. Do
            you remember --
                                MR. BERK:                   I would object


                                MR. KLINE:                  Ca ^ I at least
            finish the question for the record?
                                MR. BERK :                  I thought you




            okay?
            Do you remember making offers of that sort to
            Mr. Toberoff on behalf of Mr. Siegel?




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                             DON HULBON - 7/19/2011

                                                                                      Page 50
     ι            made in the contest of representation of
     ^            Michael Siegel.
     ^
                                          MR. KLINE:              And are you
                                      i
     4
                  instructing him not to answer that question?
     5
                                          MR. BERK:               Correct.
     6
                                          MR. RYLAND:             Are you
                  instructing him not to answer?
     ^                                    MR. BERK:               Correct.
     9
                                          MR. RYLAND:             Yeah.          Thank
ιo                you.
ιι                                        MR. KLINE:              I'm going to
ι2
                  take a five minute break, because these are
ι^                literally questions that went -- that were
                  gone over for 20, 30 pages of his last
ι5
                  deposition.        And if you're not going to let
ι6
                  me answer .these basic questions about those
                  negotiations and related correspondence like
ι^                Exhibit 30, we may have to go to a judge to
19
                  get some guidance oñ this.
za                                        MR. BERK:               Okay.          But my
                  position is, if you have testimony in another
22
                  matter, then I think you have the right to
23
                  attempt to introduce it into this matter, and
24
                  then we would have the right to object to it
25
                  as far as being privileged and not being part


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             of that previous matter.
                                 MR. KLINE:                  Well, what I
             really want to do is start asking him about
             Exhibit 30, which is thïs Michael Siegel
             letter.      And every questïon that I've tried
             to ask I believe you've instructed him not to
            . answer .
                                 MR. BERK:                   Correct.
                                 MR. KLINE:                  And so I'm
             worried about us wasting our seven hours, us
             wasting our day here. I understand your
             position.
                                 MR. BERK:                   Okay.
                                 MR. KLINE:                 We obvióusly
             disagree with it and respectfully disagree
             with it.
                                 MR. BERK :                  Uh-huh.
                                 MR. KLINE:                  I just wonder
             if our time might be better served getting a
             judge to rule on this issue añd then coming
             back here.         So what 3 want to do is I want to
             take about five minutes to try to go figure
             out the answer to that question, because I
             was not prepared for you to make objections
             that Mr. Toberoff did not make in the Siegel


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                                                                                       Page 52

                  case to the same sorts of questions. So
     z            let's go off the record.
     ^
     4
                                      MR. BERK:
                  Siegel case he was not representing -- or
                                                                  But in the
                                                                                                        ι
     5
                  were you representing Michael Siegel? I
     6
                  don't know that.
 7
                                      MR. TOBEROFF:               I'd have to go
     ^            back and look at the deposition.
     9
                                      MR. BERK:                   ^ mean, ^
ιo                haven't seen the full case, so I don't even
ι1                know if Michael Siegel was a plaintiff.
ιz                                    MR. KLINE:                  He was not a
1^                party to that action.
14
                                      MR. BERK:                   So he had
15
                  nothing to do with this, so therefore his                                             a
16
                  privilege objections wóuld not, as a --
17
                  wouldn't have been entered as a party.
18
                                      MR. KLINE:                  No,
19
                  Mr. Toberoff purported to represent his
20
                  interests, and instructed Mr. Sulson                                                  σ
2ï
                  repeatedly not to ans ^er questions on the
^^                grounds that he represented Michael Siegel,
z^                and yet he let him answer questions about the
24
                  very document you just told^him not to answer
25
                  questions about.          Okay.       Let's go off --


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                                       EXHIBIT 58
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                                                                                      Page 53
     ι
                                        MR. BERK:                  Mr. Toberoff
     2            ánd I have a. difference of opinion --
     ^                                  MR. KLINE:                 You do.                           ^
     4
                                        MR. BERK:                  -^ as to
     5
                  whether this is a privilege or not.
     6
                                        MR. KLINE:                 So let's go
                  off the record for five minutes.
     a                                  VIDEO TECHNICIAN:                 We're off
     9
                  the record.          The time is 10:16.
10
                    (Recess from 10:16 a.m. to 10:32 a.m. )
1λ
                                        VIDEO TECHNICIAN:                 We're back-
12
                  on the record. The time is 10:32.


14
                (Plaintiff's Exhibits 34 to 42 were marked.)
15

16
            BY MR. KLINE:

            4     Okay.     So I had Mr.^Tokoro mark on the break
1a                Exhibits 34 through 42 from your last
19
                  deposition as reflected by the B-34 through
20
                  42 Defendant's Exhibit at the bottom of these
zλ                exhibits.          At the top of the exhibits, and I
^^                don't know how Jason got the numbers to work
^^                out perfectly, they're marked Plaintiff's
24
                  Exhibits -34 through 42. I just want to show
25
                  you these exhibits, Mr. Bullon, amid we'll


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                                                                                    Page 54
     1
                  give copies to counsel. I think they're in
     ^            front of you there. And Mr. Bulson, could
     ^            you please flip through those documents and
     4
                  confirm that you were deposed on them back in
     5
                  coos?
     6
                                      MR. RYLAND:                 Objection.
                  Vague.
     ^      A     I don't recall, but I take it on your
     9
                  representation if it is part of the
10                deposition and transcript, then I presumably
1i
                  was deposed with respect to these documents.
            Q     And in flipping through them, do you
                  recognize .several of them as letters to you
14
                  from Mr. Toberoff conveying offers and him
15
                  responding i^ kind to you?
16
                                      MR. BERK:                   I'm going to
17
                  throw the ball ostensibly to Mr. Bulson. If
1^                he feels that these items are a privilege in
                  his representation of Michael Siegel, he may
20
                  make that determination on his own.
^1                                    MR. RYLAND:                 We can't --
2^                                    MR. BERK:                   I will not
                  instruct him not to answer, and I'll let him
24
                  make his determination whether he feels that
25
                  it's privileged.


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                                                                                     Page 55
                                                                                                    a
 1
                                       MR. RYLAND:                We're not
 ^                going to continue the deposition under that
 ^                basis.
 4
                                       MR. BERK:                  okay.
                                                                                                    σ
 5
                                       MR. KLINE:                 It's your
     6
                  position that you represent the estate of
                  Michael Siegel, the holder of the privilege,
 ^                correct?
     9                                 MR. BERS :                 Correct.
10                                     MR. KLINE:                 A^ d yet you're
11
                  saying that --
                                       MR. BERK:                  And we would
                  want the full extent of our privilege in the
14
                  deposition of Mr. Bulson.
15
                                       MR. KLINE:                 Are you
16
                  disputing --
1,                                     MR. BERK:                  I'm not a
1^                hundred percent sure how this letter came to
19
                  be, how he got it, and what discussions he
20
                  might have had, but as far as his
^ι                representation of Michael Siegel, we feél
^^                that1we want the full extent of the privilege
^^                that we're entitled to, and Mr. Bulson can
24
                  make a determination as to whether it
25
                  violates privilege or not. I'm not going to


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                                                                                       Page 5^
       1
                    ïnstruct him not to answer.
   ^                                      MR. TOBEROFF:              Which
       ^            question?          I think -^-
       4
                                          MR. BERK:                  And that was
                                                                                                     n
   5
                    the last question concerning validity or
       6
                    about this having this letter.
                                          MR. KLINE:                 No, I asked
   ^                him about Exhïbits 34 to 42, which he was
       9
                    asked about at his last deposition, and I
10
                    asked -- the last question was ---
11
                                          MR. BERK:                  I don't have
                    a^ objection to him answering questions
1^                  concerning a prior deposition and exhibits
14
                    that were in that deposition.
î. 5
                                          MR. KLINE:                 Before the
16
                    break you said he couldn't answer any
17
                    questions concerning those documents., Have
18
                    you changed your position?
19
                                          MR. BERK:                  I don't know
20                  which documents you're referring to.
^1                                        MR.^KLINE:                 The ones
z2
                    marked 34 to 42 right here in front of you.
^^                                        MR. BERK:                  He can answer
24
                    questions concerning whether he sent these
25
                    documents, but any conversations he had wïth


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                                                                                       gage 57

                    Michael Siegel concerning these documents are
     ^              privileged, and we feel he should not discuss
       ^            any conversations that he had with Michael
     4
                    Siegel concerning them.
     5
                                         MR. KLINE:                 And that
       6
                    doesn't -- that's no matter what question I
     7
                    ask about these conversations?
     a                                   MR. BERK:                  If it's
       9
                    conversations between Mr. Bulson and Michael
a. o                Siegel, it's a privilege.
11                                       MR. KLINE:                 Okay.          But I
1^                  wasn't asking about his conversations with
i^                  Mr. Siegel.
14
                                         MR. BERK:                  I understand
15
                    that.
16
                                         MR. KLINE:                 Before the
                    break you said I couldn't ask him any
18
                    questions about his conversation was
19
                    Mr. Toberoff.         Are you changing that
20
                    position?
2i                                       MR. BERK:                  My position is
zz                  that Mr. Bulson can make that determination.
23
                                         MR. RYLAND:                No:       Let me
24
                    clarify as counsel for Mr. Bulson. We will
25
                    not under any circumstances make a judgment


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                                                                                        Page ^8
     1
                  call with respect to the attorney-client
     2            privilege that is held by the estate of
     ^            Michael Siegel.          We no longer represent
     4
                  Michael Siegel, nor do we represent the
     5
                  Estate of Michael Siegel, and we're going to
     6
                  defer to the estate which holds the privilege
     τ            either to waive or assert it. If we're told
     s            that the privilege ís waived, Mr. Bulson can
     9
                  testify, we'll do so. If we're told the
10
                  privilege is asserted and the estate
11
                  instructs us not to answer, then we will not
                  answer.      Beyond that we will not ---                                                 d
                  unequivocally will not make any
14
                  determinations with respect to privilege on
15
                  our own judgment, because we do not hold the
λ6
                  privilege, nor can we assert or.waive it.
17
                                      MR. TOBEROFF:               Let me try to
1a                put some clarity into this. What ^ think
19
                  Mr. Berk is saying is that he would allow
20                Mr. Bulson to answer questions about whether
21                he sent this letter or whether he received a
2^                letter from me, but to the extent any
2^                questioning regarding these letters
24
                  implicates knowledge or conversations that he
25
                  had with Michael Siegel, Mr. Berk on behalf


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                                                                                    Page 59


                                                                                                   σ
     1
                  of the estate would instruct him moot to
     ^ .          answer; is that correct?
     ^                                 MR. BERK:                  That is
     4
                  correct.
     5
                                      ^MR. KLINE:                 And Mike,
     6
                  before the break I asked --
            4     Let me get back to my questions, because
     ^            maybe this will crystallize this. Looking at
     9
                  Exhibit 30, which is the May 13, 2003 letter,
Σo                did you ever discuss that letter with
11
                  Mr. Toberoff?
12
                                       THE WITNESS:               Answer?            Am I
l3
                  allowed to answer that question?
14
                                       MR. BERK:                  You can answer
15
                  the question whether you discussed the letter
16
                  with Mr. Toberoff, but not as --
17
                                       MR. RYLAND:                Is that a yes?
ιs                                     MR. BERK:                  You can answer
19
                  that question.
20
                                       THE WITNESS:               So --
^1                                     MR. RYLAND:                You can
^^                answer.
^^                                     THE WITNESS:               This would be
24
                  a waiver of privilege of the first qúestion.
25
                                       MR. RYLAND:                Which was the


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                                                                                       Page 60
       1            first question that you're referring to?
     ^                                   THE WITNESS:               Did I ever
     3
                    discuss this -- have I ever seen this letter.
     9
                    Or was this letter, you know -^-
     5
                                        MR. BERK:                   Is this the
       6
                    letter we're referring to?
     τ                                  MR. KLINE:                  May lath,
     a              200.
       9
                                        MR. TOBEROFF :              He thought you
10                  were referring to these letters. You're
11
                    jumping.
12
                                        MR.    KLINE:               I said
1^                  Exhibit 30,        right here,^May 13th,
14
                    2003 letter .
15
                                        MR.   BERK:                 Okay.          This is
1. ^
                    Exhibit 30 .
1^                                      MR.    TOBEROFF:            I think he
                    believed you were speaking about --
19
                                        MR. KLINE:                  That's fine.
20                  Let's T it up. Let's get a clear Q and A on
^1                  this.

              Q     Mr. Bulson, pointing you to Exhibit 30, did
^^                  you ever discuss this letter with
24
                    Mr . Toberof f ?
25
                                        MR. BERK:                   I still stand


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                                                                                     Page 6^.
     1
                  by my objection to this particular letter as
     ^            far as letters sent to Mr. Toberoff. He cán
     ^            answer as to whether he sent them.
     4
                                       MR. KLINE:                 So are you
     5
                  instructing him not to answer my question?
     6
                                       MR. BERK:                  Correct.
                                       MR. KLINE:                 Díd you get
     a            that?
     9
                                       COURT REPORTER: (Nods head.)
10                Putting aside any conversations you had with
            4
11                Michael Siegel and focusing on the time
                  period covered ín Exhibits 34 to 42, when you
13
                  and Mr. Toberoff were negotiating the
14
                  potential purchase of Mr. Siegel's Superman
15
                  interests, did you aid Mr. Toberoff ever
16
                  discuss, Mr. Bulson, Exhibit 30, which is
17
                  this May 13th, 2003 letter from Michael
18
                  Siegel to his sister Laura Siegel?
19
                                       MR. TOBEROFF:              Lacks
^o                foundation.        Asked and answered.                 The same
                  question he just answered.
^^                                     MR. KL^NE:                 May he answer
^^                that question?
24
                                       MR. TOBEROFF:              It's the same
25
                  question you instructed him not to answer.


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                                                                                        Page 62
        1
                                         MR. BERK :                  Yeah .         Right.
        z
                     No.
        ^      Q     Mr. Bulson, do you know whether this document
        4
                     exists in your law firm's files?
        s      A     What document?
        6
               Q     The May 13th, 2003 letter, Plaintiff's
                     Exhibit 30?
        ^                                MR. BERK :                  I'm going to
        9
                     object to that as well , because first of all,
 10                  if it exists and it ' s in his file ,                   it becomes
                     a privilege ,      and therefore not discoverable.
 ι2
                                         MR. KLINE :                 So just so I
 a. ^                understand your position ,              I can ' t ask him
 14
                     whether he discussed this letter with
 15
                     Mr. Toberoff ,      correct?
 16
                                         MR. BERK:                   If he
 l7
                     discussed this letter with Mr .                 Toberoff
 ιa
                     concerning his representation of Michael
19
                     Siegel or the Estate of Michael Siegel, it is
^o                   privïleged.
                                         MR. KLINE:                  Okay,
^^
               4     Turning your attention to the second
^^                   paragraph of this letter, Mr, Bulson.
24
                                         MR. RYLAND:                 You mean
25
                     Exhibit 30, Counsel?

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                                                                                     Page b3

                                       MR. KLINE:                 Exhibit 30.
     2
                  Thank you, Josh.
     ^      Q     During your communications with Mr. Toberoff
     4            in 2003, 2004, 2005, did he mention to you
     5
                  the mysterious billionaire averted to in the
     6
                  second paragraph of this letter?
                                       MR. BERK:                  Who's he?
     ^                                 MR. KLINE:                 Mr. Toberoff.
     9
                                       MR. BERK:                  Oh, did
ιo                                                                                                  σ
                  Mr. Toberoff represent to him?
ιι
                                       MR. KLINE:                 In your
ι2
                  discussions and negotiations with
1^                Mr. Toberoff in 2003 and 2005, dïd he make
14
                  reference to ---
15
            A     Can you fill in the he's?
16
            4     Did Mr. Toberoff make a reference to a,
                  quote, mysterious billionaire who wanted to
ι^                invest in the Superman copyrïght?
19
                                       MR. TOBEROFF:              Lacks
20
                  foundation.
                                       MR. RYLAND:                Are we okay
^^                with him answering that?
                                       MR. BERK:                  Yeah.          I think
24
                  he can answer as to the -- that question.
25
                  In that timeframe Mr. Toberoff did mention, I


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                                                                              Page ^4

            don't believe he used words like "mysterious
            billionaire."         So I guess the answer would be
            no.
      Q     Did he make reference to a billionaire
            investor?
      A     He may have.
      Q     You don't recall one way or the other?
      A     Not right now, no.
      Q    .Did he tell you that he owned his own -- did
            Mr. Toberoff during this 2003 and 2005 time
            period tell you that he owned his own
            production company?
                                MR. RYLAND:                 Are you okay
            with the estate?
                                MR. BERK:                   Yeah.
      A     I don't recall.
      Q     During the 2003 to 2405 time period did
            Mr. Toberoff tell you that he was going to
            team with Ari Emanuel to máke a Superman
            movie?
      A     I don't recáll.
      Q     Do you know. whether Micháel Siegel had
            communications with Mr. Toberoff --
                                MR. BERK:                   I'm going to
            object to that,


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      Q     -- on or before May 13th, 2003?
                                MR. TOBERO^^:              You're
            objecting and instructing?
                                MR. BERK;                  Yes.

      Q    Was Mr. Toberoff acting, to your knowledge,
            2003 to 2000 -- or in May 2003 or before as
           Michael Siegel's attorney to your knowledge?
                                THE WITNESS;                Can I answer?
                                MR. BERK;                   Yeah.         That
            has nothing to do with your representation.
      A     Repeat the question specifically.
                                MR. BERK:                   To your
            knowledge.
      Q     On or around May 13, 20Q3, do you know
            whether Mr. Toberoff was representing Michael
            Siegel as his attorney?
      A     I -- that's an unclear question. I know the
            answer to that.
      Q     What is it?
      A     I mean, to my knowledge he was not
            representing Michael Siegel.
      Q     Okay.     Based on that answer I'm going to ask
            my question again. You previously instructed
            him not to answer. Do you know whether prior
            to May 13th, 2003, Michael Siegel had


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            communications with Marc Toberoff?
                                MR. BERK:                   I would -- if
            he found opt about any facts concerning this
            while his -- with the communications between
            Michael Siegel and Don Bulson, that those
            communications between the two, two of them,
            are privileged as --
                                MR. TOBEROFF;               Let mé
            rephrase that.          He can only answer the
            question insofar that it doesn't implicate
            conversations with Michael Siegel. If he has
            some ïndepe^dent knowledge outside his
            conversations with Michael Siegel as to what
            transpired between Michael Siegel and me, if
            anything, then he could answer.
                                MR. BERK:                   Yes.
                                MR. TOBEROFF:               Otherwise --
                                MR. ALINE:                  So you're
            instructing him not to answer?
                                MR. BERK:                   To that -- on
            those parameters.
                                MR. KLINE:                  It's your
            position that if Michael Siegel ^-
                                MR. BERK:                   Told him.
                                MR. KLINE:                  -- conveyed


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                                                                                       Page 67
       1            the basic fact I talked to Marc Toberoff
       2
                    yesterday, that's a privilege and I can't ask
       ^            questions about that?
       4
                                        MR. BERK:                   Correct.
       5
                                        MR. KLINE:                  And you're                        n
       6
                    instructing him not to answer any questions
                    on that ground?
      ^                                 MR. BERK:                   I'm
       9
                    instructing him not to answer any
 ^o                 communications he had between himself and
 ^1                 Michael Siegel, concerning his representation
                    of Michael Siegel are privileged.
                                        MR. KLINE:                  Even if it's
 14
                    just conveying basic facts like I spoke to so
 15
                    and so today? .
 1b
                                        MR. BERG:                   Well, I can't
                    make that determination on whether that was
 a.a                part of his representation. ^Mr. Bulso^.knows
 19
                    better than I do. But as far as it pertains
 20
                    to his representation of Michael Siegel, it
 ^ι                 is privileged.
 ^^                                     MR. KLINE:                  Okay.          So I
 z^                 just want to have a clear record on this.
 24
              Q     In this letter in the third sentence it says
 25
                    in the -- I'm sorry, referring your attention


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                                                                                       ^age 6$
       ι            to Exhibit 30, May 13th, 2003 letter, I
       2
                    really wish to discuss Marc Toberoff, and
       ^
                    then two sentences later, I told you when he
       4
                    first contacted me he wanted to buy my share
       5
                    of the copyright.           Marc had a mysterious
       6
                    billionaire who wanted to invest in the
     7
                    Superman copyright plus $15 mïllion up front,
     s              plus participation.            Do you know when Marc
       9
                    Toberoff first contacted Michael Siegel?
10                                       MR. TOBEROFF:              You just asked
ιι
                    that question.
ι2
                                         MR. BERK:                  If he found
a. ^                this out from Mike Siegel, I would say that's
14
                    privileged.        If he knows outside of that from
15
                    other -- other than his conversations with
16
                    Michael Siegel, he can answer. But if he
                    only knows it because of his conversations .
                    with Mike Siegel, it's part of his
19
                    conversations with Mike Siegel and his
20
                    representation of Mike Siegel, and we assert
21
                    the privilege and instruct him not to answer.
z2                  With that instruction can you provide an
              Q
23
                    answer?
                                        MR. RYLAND:                 Hold on a
25
                    second.      Are you instructing him not to


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            answer to the extent if he learned of the
            answer to that question from Michael Siegel?
                                MR. BERK:                   Correct.
                                MR. RYLAND:                 Mr. Bulson, if
            you can answer that question within the
            confines of that question.
      A     There's a foundation issue. So to the extent
            I have any information regarding that
            question, it would not have arrived from
            other means than Michael Siegel.
            Did Mr. Toberoff in your discussions with him
            ever tell you that he had conversations, he
            being Marc Toberoff, had conversations with
            Michael Siegel?
                                MR. TQBEROFF:               You^can answer


                                MR. BERK:                   Yeah.
      A     I don't recall.
      Q     Did Michael Siegel share with you or provide
            to you his communications, these written
            communications such as Exhibit 30 that he had
            with his sister Laura Siegel?
                                MR. BERK:                   ^ don't
            understand the question.               Repeat it, please.
      Q     Did Michael Siegel provide to you or share


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                                                                                      P^g^ ^a
       1
                    with you written communications that he had
       ^            with his sister such as Exhibit 30?
       ^                                 MR. BERK:                  Again, that's                    σ
       4
                    part of his representation of Michael Siegel,
       5
                    and if Michael Siegel gave it to him ín
       6
                    conjunction with his representation of
                    Michael Siegel, it is privileged, and I
       ^            instruct him not to divulge anything
       9
                    concerning that.
10
              4     In your law firm's files do you have copies
11
                    of correspondence between Michael Siegel and
                    his sister Laura Siegel?
1^                                       MR. BERK:                  I think you
14
                    can answer that.
15
              A     The question again?
16
              Q     In your law firm's files do you have copies
17
                    of correspo^de^ce between Micháel Siegel and
1s                  hïs sister Laura Siegel?
1ß
                                         MR. BERK:                  I'm going to
^o                  raise my objection on that.
^ a.                                     MR. RYLAND:                Are you
^^                  objecting or --
^^                                       MR. BERK:                  I'm going to
24
                    object to it.
25
                                         MR. KLINE:                 Understood.

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                                                                                     Page 71
     1
                  Can you say I instruct him not to answer?
     ^                                 MR. BERK :                 I instruct him
                  not to answer.
     4
                                       MR. KLINE:                 So that's your
     5
                  position, you instruct him not to answer?
     b
                                      MR. BERK:                   Right.
            Q     References made at this top of this letter,
     8
                  Exhibit 30 to Laura's letter of November 2nd
     9
                  of last year, presumably November 2nd of
10                2002, does your law firm have a copy of that
1ι                November 2nd, 2002 letter?
ι^                                    MR. BERK:                   And I object
                  as to being part of the work product of
14
                  Michael Siegel representation and instruct
15
                  him not to answer.
1s          Q     Cagy you take a look at the complaint again?
17
                  It ` s Exhibit 1 in front of you.
18
            A     Uh-huh.
19
            Q     And look at Exhibit A. It's way towards the
20
                  end.     It's Exhibit A, ^5 at the very bottom,
^1                so two pages later.
a^                                    MR. BERK:                   What are you
^^                referring to?         I`m sorry.
24
                                      MR.   KLINE:                Exhibit A to
25
                  the complaint,        Page 65 at the very bottom


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            there.
            And I'd ask you to read the last paragraph of
            that page, starting July 5th, 2003.
                                 MR. RYLAND:                By the way, I
            think we're missing a page in this one too.
                                 MR. ALINE:                 But do you
            have a Page ^5?
                                 MR. RYLAND:                Yeah, we've
            got it. I'm just letting you know in this
            exhïbit ---
                                 MR. ALINE:                 Terrific.
            Terrific.
      Q     Your copy has a Page ^5, Mr. Bulson?
      A     I have a Page ^5, yes, that's starts July 5,
            2002.
      Q     Correct.
                                 MR. TOBEROFF:              The copy I
            have of this complaint, Exhibit A, is
            incomplete.        I'm not sure whether he has a
            complete copy.          I would also like to note for
            the récord that Exhibit A is an anonymous
            letter enclosing privileged documents stolen
            from my law firm by, we believe, a junior
            attorney who took a job and left aftér three
            months and stole our legal files and


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            delivered them over to Warner Brothers'
            general counsel in the winter, and ^-- excuse
            me, in December, and that they held onto them
            for months without reporting the theft or
            receipts of privilege material on top of
            that ---
                                 MR. KLINE: ^               Mr. Toberoff,
            speaking objections are not allowed.
                                 MR. TDBERDFF:              Don't
            object -- don't interrupt me.
                                 MR. KLINE:                 I know, but
            speaking -- we'll go off the record.
            Speaking objections are not permitted.
                                 MR. TDBERDFF:              Don't
            interrupt me.         I'm going to finish. We're
            not going off the record. We're staying on
            this record.
                                 MR. KLINE:                 Then we're
            going to charge your time, because this is an
            improper speaking objection.
                                MR. TDBERDFF:               You can do
            allege what you see fit. You're asking
            questions about an exhibit that's an
            anonymous document.
                                MR. KLINE:                  I'm not asking


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                                                                                      Pag^ 74
     1
                  any questions.           I asked him to-read a
     z

     ^
                  paragraph.
                                        MR. TOBEROFF:              You're not
                                                                                                     s
                  telling him what the document was. You're
     5
                  giving me an incomplete document, and I'm
     6
                  stating for the record so the witness knows
                  what this document actually ïs.
     ^                                  MR. KLINE:                 That's called
     9
                  a speaking objection.
10                                      MR. TOBEROFF:              Okay.
^                 Mr. Bullon --
            4
1z                                      MR. TOBEROFF:              I'm not
1^                finished.          I'm going to go back.
14
                                        MR. KLINE:                 Then we're
15
                  just going to charge you for the time.
16
                                        MR. TOBEROFF:              I'm going to
17
                  repeat -- no, you're not. I'm^going to
1^                repeat what I said. And every time you
19
                  interrupt mé,.I'm going to go back aid repeat
20
                  1t.
21
                                       MR. KLINS:                  We'll charge
^^                you for that time.
z^                                     MR. TOBEROFF:               Well, not
                  successfully, because you interrupted me. So
25
                  this is a^ anonymous letter enclosing


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                                                                                      Page 75
      1
                   privileged legal files stolen from our law
      2            firm, delivered to Warner Brothers' general
      ^            counsel in-the midst of the Siegel
      4
                   litigation.        ^t says consider this an early
      5
                   holiday gift on the front page, which is
      6
                   omitted from my copy of this exhibit. We
                   believe Warner Brothers received these
     ^             documents in the winter and held onto them
      9
                   for months until they finally disclosed that
10                 they had these privileged documents of ours.
11
                   And we believe this letter was written by a
12
                   young attorney, who not only stole the
13
                   documents, broke the law, but broke every
14
                   oath of an attorney i^ revealing privileged,
15
                   to the extent things here aren't made up, but
1.6
                   many things are, he's revealing privileged
                   information of Laura Siegel, poténtïally
1e                 Michael Siegel, and Joanne Siegel.
19
             Q     So my question is,          and by the way, a judge
^o                 ruled that Warner Brothers acted completely
^1                 appropriately, and we can use this document
22
                   in this case.
z^                                     MR. TOBEROFF:               And we'll be
z4                 appealing those rulings, and we'll be
25
                   investigating i^ counterclaims of Warner


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                                                                                     Page 76
     1
                  Brothers holding onto stolen material for
     ^            months at a time.
     ^            Okay.     So referring to the first sentence of
             Q
     4



                                                                                                    ι
                  this paragraph, July 5th, 2003, Laura Siegel
     5
                  reseals her ignorance of Toberoff's dubious
     6
                  actions in her return left back to Michael.
                  My question for you, sir, is are you aware of
     ^            a July 5th, 2003 letter from Laura to
     9
                  Michael?
10                                     MR. BERK:                  My --- I object
11
                  if you got this information from Michael
12                Siegel.
13
                                       MR. ALINE:                 And --
14
                                       MR. RYLAND:                Are you -- are
15
                  you instructing him not to answer?
16
                                       MR. BERK:                  If he got the
                  information from Michael Siegel, ït's
1s                privileged and I would instruct him not to
19
                  answer.      If he got it from Laura Siegel, then
24
                  that would be ---
^1
            4     D^id you get a copy of that letter from Laura
22
                  Siegel?
^^                                     MR. TOBEROFF:              Lacks
24
                  foundation.        Could I have a copy of -- a
25
                  complete copy of this, because I'd like to


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                                                                                    Vage 77

                  know what you're reading off of when you're
     ^            asking the questions.
     3
                                      MR. KLINE:                  Your
     4
                  co-counsel has one right there, I believe.
     5
                                      MR. BERK:                   I only have ---
     6
                  I don't have Page ^^.
     7
                                      MR. KLINE:                  I'm reading
     8
                  from Page^^5.
     9
                                      MR. BERK:                   Is that the
λ0
                  end, is that the complete? It looks like it
λλ
                  goes on.
1^                                    MR. RYLAND:                 I   think we're
13
                  just missing the evens.
14
                                      MR. KLINE:                  So, can you
15
                  read my question back, please?
16
                                      (Record read . )
λ7
            A     I do not recall receiving from Laúra Siegel
is                letter dated July 5, 2003.
19
            4     Did you receive any letters from Laura
^o                Siegel?
^λ                                    MR. BERK:                   I object if he
^^                received the letters from Michael Siegel,
^^                and --
                                      MR, TOBEROFF:               If you're
25
                  asking questions about letters from Laura


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                                                                                      Page 78
      i
                   Siegel regarding their joint termination                                          σ
                                                                                                     σ
      2
                   interest, there is a joint interest that
      3
                   applies to that as upheld by the Ohio court.
      4
                   With the exception of negotiations between
      5
                   myself and Mr. Bulson regarding the potential
      6
                   purchase of Michael Siegel's fermi --- share
                   of the termination interest, the Ohio court
      B
                   said conversations between me or my client
                   and Mr. Bulson are protected by joint
10                 interest privilege.
             Q     Did you receive any letters from Laura
ι2
                   Siegel?
l3
                                         MR. TOBEROFF:              You could
λ9
                   answer generally.
a.5                                      MR. BERK:                  You can answer
16
                   generally.
             A     I ^ don' t recall .
ιa           Q     Did you receive copies of any letters from
1ß
                   Laura Siegel?
20
                                         MR. TOBEROFF:              Asked and
21
                   answered.          You can answer.
22
             A     I don't recall.
^^           Q     In your law firm's files are there any
24
                   letters from Laura Siegel to Michael Siegel?
25
                                         MR. BERK:                  I would object


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                                                                                     Page 79
     1
                  if it's concerning part of the representation
     2
                  of Michael Siegel.           Any letters that he would
     ^            have concerning that representation would be
     4
                  privileged.
     5                                MR. RYLAND:                 Are you
     6
                  instructing --
     ^                                MR. KLINE:                  Are you
     ^            instructing him not to answer?
     9
                                      MR.   BERK:                 If it's
τa                privileged.
11
                                      THE WITNESS:                No, no, no.
1^                                    MR. RYLAND:                 You can't say
                  if it's privileged.
14
                                      MR. BERK :                  I mean, I
15
                  don't know where he got the letters.
16
                                      MR. KLINE:                  Does your
17
                  law ^---
18
                                      MR. BERK:                   If he got the
19
                  letter from Laura Siegel, that's one thing.
2a
                  But if he got the letter from Michael Siegel,
2ι                then it's privileged.                    .
zz                                    MR. KLINE:                  So are you
                  instructing him not to answer or not?
24
                                      MR. BERG:                   To the extent
25
                  that he received the letters from Michael


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                                                                                     Page $0
     1
                  Siegel and it becomes part of the -- his
     2
                  representation of Michael Siegel, I instruct
     ^            him not to answer.
     4
                                      ^MR. RYLAND:                Mr. Bullon, if
     5
                  you can answer that question, if you can
     6
                  satisfy --                                                                        σ
                                       THE WITNESS:               Read that                         σ
     s            question back.
     9
                                       MR. RYLAND:                -- the
10                preconditions put on by the Estate of
11
                  Mr. Sïegel.
ι^          A     What was the question again?
ι^          Q     Does your law firm have any copies of letters
14
                  from Laura Siegel to Michael Siegel?
15
                                       THE WITNESS:               And you have
16
                  no objection ïf the letters came from Laura
17
                  Siegel?
1^
                                      MR. BERG:                   Laura Siegel.
19
                  TO y ob.
2p
            A     If I received a letter from Laura Sïegel to
^1                me, a copy would be in our --- in the files
^^                that were turned over to the estate.
^^          Q     And ïf Michael Siegel received a letter from
24
                  his sister pertaining to these Superman
25
                  negotiations, would copies of those letters


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                                                                                     Page 8^
     1
                  be in your^law firm's files as well?
     ^                                 MR. BERK:                  I don't
     ^            understand the question. If he received them
     4
                  from Michael Siegel, we object and indicate
     5
                  that -- and I've said this all along, that
     6
                  it's privileged.
                                      MR. KLINE:                  So you're
     ^            instructing him not to answer that question?
                                      MR. BERK:                   If he received
10
                  it from Michael Siegel.
                                      MR. RYLAND:                 Are you
12
                  instructing him not to answer the question
                  whether he received the letters from Michael?
14
                                      MR. BERK:                   Yes.
15
            4     Okay.     Let me ask it again, and I -- it might
16
                  go smoother, and I'm going to have to start
17
                  charging you guys time for the long
                  objections.        If you're going to say I
19
                  instruct you not to answer, you should just
20                make that instruction.                Because you're making
21
                  objections and I think it's leaving everybody
2^                up in the air about is an instruction being
                  made or not. So here's my question ----
24
                                      MR. RYLAND:                 So to that
25
                  point, Counsel, we just need a definitive


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                                                                                      Page 82
                                                                                                     ^
      1
                   instruction from -- as Mr. Bulson's counsel,
      ^            I need a definitive instruction either way.
      ^                                 MR.   ALINE:               So do I for my
      4
                   record, because I think that we obviously
      5            disagree with the objections and,the
      6
                   instructions.
             4     If Michael Siegel received letters from Lagyra
     8
                   Siegel concerning his Superman rights in
      9
                   these negotiations with Mr. Toberoff, would
10                 such letters be kept in your law firm's
ιι                 fïles?
1^                                      MR. TOBEROFF:              Vague and
13
                   ambiguous as to these negotiations with
14
                   Mr. Toberoff.
15
                                        MR. BERK:                  L don't have
16
                   any objection to him answering the question
                   that if he did somehow receive these
1$
                   documents whether they would be in that file,
7.9
                   which is privileged.
20
                                        MR. TOBEROFF:              Okay.         So you
21
                   can answer that question.
z^           A     ^f I received letters from Michael Siegel,
^^                 they would be ïn our files.
24
             Q     Did Michael Siegel share letters with you
25
                   that he received from his sister Laura?


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                                 MR. BERK :                 That's
            privileged, and I object to that and instruct
            you not to answer.
                                 MR. KLINE:                 So any
            communication you're saying, anything that he
            communicates to him, even a nonprivileged
            letter, you"re instructing him not to answer?
                                MR. TOBEROFF:               Excuse me.
            Excuse me .        I want to object here. You just
            launched into a speech about how you're going
            to clock us with our time -- don't interrupt
            me --- because he isn't making his
            instructions clearly.             Yet when he makes his
            instruction clearly, you engage in a long
            colloquy testing his i^str^ction, asking him
            questions about it, and then repeating the
            same question again to Mr. Bullon.
                                MR. KLINE:                  I was actually
            going to see if. we could --
                                MR. TQBEROFF:               So our time is
            valuable also.
                                MR. KLINE:                  In the
            beginning of the discussion --
                                MR. TOBEROFF:               After you aslo
            the question and he makes the instruction,

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                                                                                     PagE 84
     ι            move on, Counselor. Don't ask the same thing                                      σ
     ^            again and don't engage me ï^ colloquy.
     3
                                       MR. KLINE:                 Marc, it's my
     4
                  deposition.        I was going to see if we could
     5
                  expedite things by having an agreement that
     6
                  it's your position that any communication
                  between -- we disagree with this position, I
     ^            mean, let's just stipulate.
     9
                                       MR. BERK:                  I'll state it
ιo                very clearly.
^                                      MR. KLINE:                 Any
ιa                conversation from Michael to Don --
ι^                                    MR. BERK:                   -- is
ι4                privileged, and I instruct him not to answer
ι5                as to any communications he had in the
16
                  representation of Michael Siegel, I instruct
ι,
                  him not to answer concerning any of those
ι^
                  communications.
                            Any documents he received in the
20
                  representation --
^ι ^                                  MR. KLINE:                  Being Don
                  Bulson is the "he" in that sentence?
^^                                    NlR.   BERK:                Any documents
24
                  Mr. Bulson received concerning his
25
                  representation of Michael Siegel is


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                                                                                      Page 85
      ι
                   privileged, and I instruct him not to answer
      z            concerning those.
      3
                                        MR. KLINE:                 And just to
      4
                   give two examples, if -- and we've covered
      5
                   one, which is if Laura Siegel sends a letter
      6
                   to Michael, Michael hands it to Mr. Bulson,
                   you're saying I can't ask questions about his
      a            firm's possession of that document?
      9
                                        MR. BERK:                  I'm saying
 1a                that any letter that he recéived from Michael
                   Siegel is privileged. I don't care where it
 ι2
                   came from or whátever, it's privileged as to
 ι3                Michael Siegel and him.
λ4
                                        MR. KLINE:                 Okay.
1.5
                                       MR. BERK:                   And whether
16
                   you can get this -- the questions answered
1.7
                   some other way, that's fine. But as far as
ι8
                   him receiving it concerning his
19
                   representation of Michael Siegel, it is
^a                 privileged.
z1                                     MR. KLINE:                  Okay.         Aid --
^^                                     MR. BERK:                   I don't care
^^                 if it's out there somewhere else, that's
24
                   fine.
25
                                       MR. KLINE:                  Understood.


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                                                                                     Page 86
     ι            So dust -- so any letter that Mr. Bulson is
     ^            handed by Michael Siegel, no matter the
     ^            content, you're taking the position I can't.
     4
                  ask questions about it?
     5
                                                                                                    σ
                                       MR. BERK:                  I'm saying
     6
                  it's privileged as to his representation of
     7
                  Michael Siegel.
     a                                 MR. KLINE:                 Understood.
     9
                  And so to go beyond documents, if Michael
10                Siegel received a telephone call from Marc
11
                  Toberoff, and Marc Toberoff made an offer,
ι^                and I'm not saying you agree that that
1^                happened, but if he made an offer for his
14
                  Superman rights, you're not going to let --
15
                                      MR. BERK:                   I'm saying if
16
                  he communicates it to Mr. Bulson, that is


                                                                                                   ι
17
                  privileged.
                                      MR. KLINE:                  Just the mere
19
                  fact of, hey, I got a call.                  Here 's what he
20
                  offered.
^1                                    MR. BERK:                   Right.           First
^^                of all you get into hearsay-type things. But
^^                as far as his representation of Michael
^4                Siegel, any conversations that he had with
^5                Michael Siegel co^cer^ing his representation


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            is privileged as to Michael Siegel.
                                 MR, KLINE:                 That's your
            position, and you'll instruct him to
            answer -- not answer questions on this topics
            all day long?
                                 MR. BERK:                  Correct.
            Correct.
                                 MR. KLINE:                 And it's
            our -- we respectfully disagree, and we're
            going to take that issue up with the judge.
                                 MR, BERK:                  Okay.
                                 MR. KLINE:                 I just don't
            want to spend five hours asking all of these
            questions and having you have to make the
            ïnstruction again and again and again. I
            just wanted -- I was actually tryïng to save
            us a bunch of time, Mr. Toberoff, and maybe
            get us on an earlier plane.
                      So I think I understand your position.
            And you understand my position, I want to ask
            him a whole host of questions and whole host
            of topics, but you've kind of cut off these
            avenues of discussion.
                                 MR. BERK:                  And I wish to
            apologize, but I was not consulted concerning

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                                                                                Page $$

            the setting of this deposition at all. I
            found out about it very recently. And as far
            as my representation of the Estate of Michael
            Siegel, we strictly want to make our
            objections known as to the privilege.
                                 MR. KLINE:                 Understood.
            And I appreciate you doing that.
                                 VIDEO TECHNICIAN:                 Sir, you
            have four minutes left on this tape.
                                MR. KLINE:                  Why don't we




            the record,        This ends Tape No. 1 in the
            deposition of Don Bulson. The time is 11:09.
              (Recess from 11:09 a.m. to 11:19 a.m. )
                                VIDEO TECHNICIAN:              We're back
            on the record at 11:19.
      BY MR. KLINE:
      Q     Okay.     I'm going to refer you to Pages 163 to
            1^5 of your prior deposition.
                                MR. RYLAND:                 Mind if I pull
            them and hand them to him, Counsel?
                                MR. KLINE:                  Not at all.
      Q     And I'd asked you to start on Page 162 at
            Line 20 where Mr. Weinberger avers to


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                              DON BUEBON - 7/19/2011

                                                                                      Page 89
      1
                   Exhibit 37, and read down to Page l^4 where
      ^                                                                                               σ
                   Exhibit 38 is marked. Mr. Bulson, if you
      ^            don't mind, can you take a loók at Exhibit 37
      4
                   which is also in front of you, which is a
      5
                   November 12th, 2004 email from you to Marc
      6
                   Toberoff that begins, Marc, I have now had
     7
                   the opportunity to meet with Mike Siegel and
     8
                   discuss your, quote, investor's, end quote,
      9
                   latest proposal.           Do you see that email?
a.o          A     Yes.


                       (Plaintiff's Exhibit 43 was marked.}
13

14
             4     And I'm going to give you what is marked
15
                   Exhibit No. 43, and ask you to --^ and this is
16
                   a brief, a discovery brief that was filed in
17
                   this case, and I'd ask you to look at
1^                 Page 18, Lines 7 through $. And I'll
19
                   represent to you, Mr. Bulson, that defendants
20
                   have taken a position in this case that the
                   quote, unquote, investor referred to in
^2                 Exhibit 37 of your ^--- of your prior
                   deposition, and discussed at Pages 162
24
                   through 164 of your prior deposition, this
25
                   investor was a fellow named Ari Emanuel who


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                             DON SULSON - 7/19/2011

                                                                                      Page 90
      ι
                   is a talent agent in Los Angeles. And I just
      ^            wanted to confirm a couple things. One,
      ^            Mr. Toberoff never told you that the quote,
      4
                   unquote, investor was Ari Emanuel., correct?
      5
                                       MR. BERK:                   I believe that
      s            was already asked and answered before as
                   either he didn't remember or he didn't know
     s             or he doesn't remember hím saying that.
      9
                                       MR. KLINE:                  Well, let me
 ιo                give an answer to the question, because
 ιι                you've just given three versions of that.
 ι2
             4     Do you remember Mr. Toberoff telling you that
ι3
                   the, quote, unquote, investor was Ari
ι4
                   Emanuel?
15
                                       MR. TOBEROFF:               Before you
ι6
                   answer, I'd just like to object. You
                   mischaracterized, Mr. Emanuel is not simply
ι$
                   talent agent, he was the founder of Endeavor,
19
                   which is now William Morris Endeavor, the
^a                 second largest agency in all -- in show
^ι                 business?
^^                                     MR. KLINE:                  And is the
^^                 subject of the character Ari on Entourage,
24
                   and his brother was the former chief of staff
25
                   of the president of the United States. He's

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                                        EXHIBIT 58
                                          1133
                                                                          feda831f-8f5a•4d4a-86d4•38e27c7e6947
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                             DON BUEBON - 7/19/2011

                                                                                  Page 91
     1
                   one of the most. powerful men in all of
     ^             Hollywood.
     ^                                 MR. TOBEROFF:            That's why you
     4
                   can't taken his deposition, right?
     5
             4     Mr. Bulson, did Mr. Toberoff ever tell you
     6
                   that the investor was Ari Emanuel?
     7
                                       THE WITNESS:             Is it okay to
                   answer?
                                                                                                 σ
     9
                                       MR. TOBEROFF:            You already
                   answered, but you can answer agaïn.
11
             A     He never told me that.
ι2           Q     Did Mr. Toberoff tell you that as of --
                                       MR. BERK:                Are yon
14
                   through with this document?
15
                                       MR. KLINE:               For the
16
                   moment.
17
                                       MR. BERK:                Okay.
τ^                 Did Mr. Toberoff tell you that as of
             4
19
                   February 12th, 2002, he had a joint venture
20
                   with Mr. Ari Emanuel?
                                       THE WITNESS:             Okay to
^^                 answer?
^^                                     MR. BERK:                Yeah.
24
             A     He never told me that.
25
             4     Did Mr.    Toberoff tell you that as a part of


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                                        EXHIBIT 58
                                          1134
                                                                      feda831f-8f5a.4d4a-8^d4- 38e27c7e6947
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                         DON SULSON - 7/19/2011

                '                                                            Page 92
 i
               this joint venture with Mr. Emanuel, had the,
 z
               quote, unquote, investor referenced i^
 ^
               Exhibit 37 purchased Michael Siegel's
 4
               interests, Mr. Toberoff himself would have
 5
               had an. ownership interest in Michael Siegel's
 ^
               interests?


 s             it?
 9
                                   MR. BERK:                 (Nods head.}
         A     He never told me that.
         Q     Is that information --
                                   MR. KLINE:               Lacks
               foundation and I believe misstates the
               record.

         4     Is that information you would have wanted to
               know in your negotiations with Mr. Toberoff?
                                   MR. BERK:                I object.
               Instruct him not to answer, because it would
               concern his representation of Michael Siegel.
         Q     Is that information that you would normally
              expect someone to disclose to you if they
              were referring to a third-party unnamed
              investor that they themselves would have had
              an ownership interest in the tra^sactíon that
              they were proposing?


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                           DON BUEBON - 7/19/2011

                                                                                Page 93
      ι
                                     MR. TOBEROFF:           Objection.
      2
                 Lacks foundation.          Assumes facts not in
      ^          evidence.
      4
                                     MR. BERK:               Speculative.
      s
                 I object as well. Since if he would -- if it
      6
                would concern the representation of the
                estate.
      a                             MR. TOBEROFF:            Are you
      9
                instructing hïm --
 10
                                    MR. BERK:                Instruct not
 11
                to answer.        Howes that?
           4    It says here on Page l^4 that you pushed
                Mr. Toberoff to tell you who the investor
 14
                was.     Do you see your testimony there, sir?
 ι5
                It's Page 164, Lines 5 through ^?
16
                                    MR. RYLAND:              Counsel, I'll
17
                show him mine.
ιa
                                    MR. KLINE:               Please,
19
                Mr. Ryland.
^o        A     I see that.
2ι
                And. yet he never told you that, A,
^2
                Mr. Emanuel was the investor or, B, that
23
                Mr. Toberoff himself had a business deal with
24
                Mr. Emanuel, correct?
^5
                                    MR. BERK:                I think we


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                              DON BUEBON - 7/19/2011

                                                                                    Page 94
      1
                    already covered that.
      ^                                  MR, TOBEROFF:            Asked and
      ^             answered.         Is there a jury in this room?
      4
              A    Are there two questions there? Can you
      5
                    repeat the question?
      6
                                         MR. ALINE:               Would you mind
                    reading it back, please?
     ^                                   MR. RYLAND:              I think the
      9
                   question is just compound.
10
              A    Why don't you split it up into two parts,
11
                   then I can -- first part -- well, you ask the
1^                 question.
1^                 You pushed for an answer who is the investor,
              4
14
                   correct?
15
                                         MR. TOBEROFF:            Assumes facts.
1^
                   Lacks foundation.
             A     That is what was in the testimony here, yes.
ιa            Q    And he didn't tell you that it was Ari
1.θ
                   Emanuel, correct?
20
             A     That is correct.
^ι            Q    And he didn't disclose to ÿou, he being
                   Mr. Toberoff, that he had a business deal
23
                   with Mr, Emanuel dating back to 2002,
24
                   correct?
25
                                         MR. TOBEROFF:            Assumes facts.


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                      DON HULBON - 7/19/2011



            Lacks foundation.           Compound.
      A     That's correct.
      Q     Let's take a lóok at Exhibit No.                   44.


            {Plaintiff's Exhibit No. 44 was marked.)


            Just take a chance to go through this
            document if you would, Mr. Bullon.
                                MR. TOBEROFF:            This document
            is, I believe is subject to a protective
            order and was produced in the Siegel case
            marked confidential, so it would be -- cannot
            be used by DC publicly in this case. That
            protective order would still pertain.
                                MR. ALINE:               So you're just
            requesting that if we use the document in the
            case we ----
                                MR. TOBEROFF:            If.you file
            any portion of the transcript pertaining to
            this or any information in it, it has to be
            filed under seal.
                                MR. KLINE:               Duly noted.
      A     Should I not be lookïng at this?
      Q     No, you absolutely can look at it.
                                MR. TOBEROFF:            Actually, you


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                              DON BUEBON -- 7 / 19 / 2 011

                                                                                    Page 96
      ι            -just actually breached the protective order
      2
                    by giving hïm a copy of it.
      ^                                  MR. ALINE:               By showing a
                    witness in this case?
      5
                                         MR. TOBEROFF:            Yeah, he's a
      6
                    third party.
                                         MR. KLINE:               And you
      ^             producéd this i^ this case.
      9
                                         MR. TOBEROFF:            Subject to a                     σ
10
                    protective order, which means ít can't be
11
                    disclosed to third parties. That's why it
i^                  has a big confidential stamp on the top.
                                         MR. KLINE:               That's your
1.4
                   position.          I can't even show him this
λ5
                    document?
                                         MR. TOBEROFF:            What do you
                   mean show hím? You're disclosing the
i^                  docúment and the contents to him.
1ß
                                         MR. KLINE:               You're taking
20                  the position, even though there's no
^i                 protective order in this case, and you
                   produced this document in this case ---
                                         MR. TOBEROFF:            Yes, because
24
                    your client DC who ís the plaintiff in this
25
                    case signed a protective order in the other


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                                                                                  Page 97

                   case which pertains to this document.
     2                                 MR. KLINE:               You reproduced
     ^             this document i^ this. case without any
     4
                   protective order.
     5
                                       MR. TOBEROFF:            It's subject
     6
                   to the protective order from the prior case.
                                       MR. KLINE:               Where does it
     ^             say that in your production?
     9
                                       MR. TOBEROFF:            The protective
                   order doesn't just pertain to that particular
11
                   case.     Anyway, you can't show him this
1^                 document.         It's subject to protective order.
13
                                       MR. KLINE:               So I'll
14
                   assume -- I'm going to ask him one question
15
                   about the document.            Don't look at its
λ6
                   co^te^ts?
17
                                       MR. TOBEROFF:            Actually, I'd
1a                 like you to give the document back to him.
λ9
                   Did Mr. Toberoff ever share with you his
20
                   business agreements with Mr . Ema ^ uel?
^1                                     MR. TOBEROFF:            You can answer
zz                 that.
             A     No.
24
                                       MR. KLINE:               And is it your
25
                   representation, Mr. Toberoff, that in


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                              DON BUEBON - 7/l9/2011

                                                                                   Page 98
      1
                    producing this doçument in this case by
      2
                    averting the Bates numbers and lines numbers
      ^             yon specifically said and we want it treated
      4
                    confidential and subject to the protective
                    order?
      6
                                        MR. TOBEROFF:            We're not
                    canceling a protective order that pertains to
      a             DC in the prior case.
      ß
                                        MR. KLINS:               You're not
10                  answering my question.
11
                                        MR. TOBEROFF:            I'm not going
1^                  to answer it your way, I'm going to answer it
13
                   my way since 1t's not my deposition.
14
                                        MR. KLINS:               Okay, we may
15
                   have to come back.
16
                                        MR. TOBEROFF:            I'm asserting
1-ι
                    to confidentiality agreement which pertains
1^                  to your client.
1.9
                                        MR.' KLINS:              So you're
20
                    refusing to -^-
^1                                      MR. TOBEROFF:            T'm not only
^^                  refusing you.         I believe you just breached
23
                   that agreement.
24
                                        MR. KLINE:               I don' t think
25
                   we did at all, number one; and number two,
                                                                                                  A

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                                                                                   Page 99
     1
                   what I'm asking you is, can we ask him
     2
                   questions about this document so we don't
     3
                   have to come back here and do this a second
     4
                   time?
     5
                                        MR. TOBEROFF :           About the
     6
                   document, no.          You can't show him the
                   document.         The document is subject to a
                   protective order.
     9
                                        MR. KLINE:               I don't
10                 believe it was produced pursuant to a
11
                   protective order in this case. We'll table
12
                   that for a later debate, I'm just telling you
                   right now,        I wish we could expedite this, ask
14
                   our questions, and not have to come back and
15
                   ask on this. But I understand your. position.
16
                                        MR. TOBEROFF:            Trying to file
                   a duplicative action does not vitiate the
a^                 protective order that binds your client from
19
                   the prior case. That's our position. And
^o                 it's not a position, it's clear.
2l
                                        MR. KLINE:               I understand
^^                 your objection.          We'll keep moving along.
2^           4     Did Mr. Toberoff in the negotiations with you
z4
                   concerning the, quote, unquote, investor's
25
                   interest in purchasing Michael Siegel's Peter


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                               DON BUEBON - 7/19/2011

                                                                                 Page 100
       1
                     the Superman interest disclose to-you that he
       ^             and Mr. Emanuel had signed an October 2002,
       ^             an as of dated October 2002 contract with the
       4
                     Siegels that entitled them --
       5
                                         MR. TOBEROFF:            Objection.               If
       6
                     you're disclosing another confidential
                     document of substance --
       a                                 MR. KLINE:               There's
       9
                     nothing marked confidential in this document.
10                                       MR. TOBEROFF:            What are you
11
                     readíng from?
                                         MR. KLENE:               I'm reading
13
                     from the IP Worldwide agreement that has ^o                                 σ
14
                     confidential markings on it with Laura Siegel
15
                     and Joanne Siegel and you. It has not a
16
                     single confidential marking o^ it.
ι -ι                                     MR. TOBEROFF:            Can I see
                     that?
1ß
                                         MR. ALINE:               Jason give
^o                  Mr. Toberoff a copy, please. And at his last
2ι
                    deposition Mr. Gulson was shown ágreements
                    between you, Mr. Emanuel, the Siegels and
^^                  you, and you made no such objections.
^4                                       MR. TOBEROFF:            Show me.
25
                                         MR. KLINE:               I refer you to

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                                                                          page 101

             Exhibit -- Exhibit 30 of Mr. Bulson's prior
             deposition is an IP Worldwide agreement
             between Joanne Siegel, Laura Siegel, Ari -^
             Ariel Emanuel and yourself dated 1-22-2003.
                                 MR. TOBEROFF:            This agreement
             that's marked confidential is not a part of
             one of these exhïbits, correct, for which he
             testified?




                                 MR. TOBEROFF:            I need to find
             out whether these were --- whether these were
            marked as confidential in the other case.
                                 MR. KLINE:               They're not so


                                 MR. TOBEROFF:            Well, I don't
             know whether you redacted them-or not.
                                 MR. KLINE:               And one of
             these IP Worldwide agreements was used in his
             last deposition over no objection by^you.
                                 MR. TOBEROFF:            Could I see


                                 MR. KLINE:               You can't see
            my copy, but we'll give you a copy of Bullon


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                              DON BUEBON - 7/19/2011

                                                                                  Page 102
      τ
                    Exhibit 30 from the last deposition. And
      ^             we'll go off the record while we clarify
      ^             these issues.
      4
                                        VIDEO TECHNICIAN:              We're off
      5
                    the record.        The time is 11:35.
      6
                                        MR. TOBEROFF:            Actually,
                   before we go off the record --
      ^                                 MR. RYLAND:              He's off.
      9
                                        MR. TOBEROFF:            You need to
τo
                    ask -- in the future you need to ask me if we
^
                    can go off the record.
ι2
                     (Recess from 11:35 a.m. to 11:48 a.m. )
τ^                                      VIDEO TECHNICIAN:              We're back
1.4
                   on the record, the time is 11:48.
1.5
              BY MR. KLINE:
16
              Q    Giving you Exhibits 45 and 4^, Mr. Bulson,
                   which were previously marked as Exhibits 30
                   and 31 in your last deposition.
τ9

20
                  (Plaintiff's Exhibits 45 and 46 were marked.}
2i
^^            Q    Just take a second to peruse them if you
23
                   don't mind.
24
             A     I have skimmed it .
25
              Q    Mr. Bulson, just to reconfirm, Mr. Toberoff


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                                         EXHIBIT 58
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            didn't provide you these documents in
            connection with the negotiations you and he
            were having in 2003, 2004, 2005 regarding
            the, quote, unquote, investor, correct?
                                THE WITNESS:             Okay to


                                MR. TOBEROFF:            Yes.
      A     That's correct.
      Q     Nor did he disclose that as of January -- or
            in a document dated January 21st, 2002, and
            now I'm referring to what we've marked as new
            Exhibit 46, that's old Exhibit 30 ïn
            Paragraph No. ^^, that Ari Emanuel will
            attempt to purchase all of Michael Siegel's
            rights, title, and interest in Superman,
            Superboy, and Specter to be financed by AA,
            correct?
      A     What was the question?
            He didn't disclose that Ari Emanuel will
            attempt to purchase all of Michael
            Siegel' s ----
      A     That's correct.
                                MR. TOBEROFF:            What is the
            Exhibit 31 in this --
                                MR. KLINE:               It's 45 in


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                                 EXHIBIT 58
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                                   1146
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                                                                                  Page 104
       ι
                     this case.
       ^                                 MR. BYLAND:              And 3.0 is 4^.
       ^                                 MR. ALINE:               Correct.
       4
                                         MR. BYLAND:              Thanks.
       5
               Q    Turning to Exhibit 31, from the old
       ε            deposition which is 45 in this new
                    deposition, Paragraph ^, which is o^ a page
       ^
                    marked IPW 00002, did Mr. Toberoff disclose
       9
                    to .you that he and Mr. Emanuel's company
 ιo                  IPW --
                                         MR. TOBEROFF:            It's IP
 ι2
                    Worldwide is the name of the company.
 ι3
                                         MR. ALINE:               IP Worldwide,
^ λ4
                    pardon me.
               Q    ^- was e^tïtled to a fee of ZO percent of any
 16
                    and all gross compensation in connection with
 17
                    their services under the agreement?
 1^           A     That was not disclosed to me.
 19
              Q     Turning to Paragraph 8, did Mr. Toberoff
 ^o
                    disclose to you that the Siegels, who are
                    referred to as owner in this agreement,
                    capital 0, warranted and represented that
 23
                    they .would not transfer, assign, license, or
 24
                    in any manner encumber the rights, the
 25
                    Superman rights and Specter rights, during


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                                          EXHIBIT 58                    feda831 f-8f5a-4d4a -86d4θ8e27c7eô94T
                                            1147
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                              DON HULBON -- 7/19/2011

                                                                                   Page 105
      ι
                    the term or extended term other than through
      ^             or as a result of IPW it says here, but it's
      ^             IP Worldwide according to Mr. Toberoff,                                         σ
      4
                    exclusive representation hereunder?
      5
              A     Assuming that the owner was Joanne or Laura
      s             Siegel, then that was not disclosed to me.
              Q     And I think if you look at the first page of
     a              the first -- of the document, it says, this
      9
                    letter shall confirm the agreement and
ιo                  understanding between you, owner, and us,
11
                    DPW, do you see that?
1^            A     I see that.
1^                                      VIDEO TECHNICIAN:              Excuse me,
14
                    sir.    You're coming through a little faint.
7.5
                    Is your mic on?
16
                                        MR. KLINE:               I'm sorry.
                    It's over here.
18
                              Now, I asked a question like this
19
                    before.     You instructed him not to answer,
za                  I'll ^- let me know.
21
              Q     Is this information you would have liked to
                    have known from Mr. Toberoff given you were
2^                 pushing him to tell you who the investor was?
24
                                        MR. BERK:                That's an
25
                    interesting speculative question.                    You know,


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                                         EXHIBIT 58
                                                                       ^ feda83ff-8í5a-4d4a-86d4 θ8e27c7e6347
                                           1148
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                             DON BUEBON - 7/19/2011

                                                                               Page L O ^
     λ             I reálly don't have any objection to the
     2
                   answer other than in a speculative way.
     ^       A     I would like to have known that information.
     4
             Q     Given that you were pushing Mr. Toberoff to
     5
                   tell you who the investor was, would it have
     6
                  been important to you to know that he had his
                   own pecuniary interest in these Superman
     8
                   rights?
     9
                                       MR. TOBEROFF:            Lacks
10                 foundation.       Misstates the -- misstates the
λι                 documents.
ι2
                                       MR. BERK:                You could --
λ3
                   if ït was important to you, you could answer
λ4
                   that.
15
             A     It may have been important.
16
             Q    Why?.
17           A     I haven't thought about it, because -- I'd
i8
                  always like to know the parties. If I'm
19
                  entering into negotiatïons, I always like to
^a                 know who I'm negotiating with.
z1           Q    And you asked him and he didn't tell you,
^^                correct?
z^                                     MR. TOBEROFF:            Misstates his
24
                  testimony.
25
             A    He did not tell me who the so-called investor


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                                        EXHIBIT 58
                                          1149
                                                                      feda831f-8í5a-4d4a-86d4^8e27c7e6947
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            is.
            And he referred to him in emails as if it was
            a third person, correct?
                                 MR. BERK:                What emails
            are you referring to?
                                 MR. KLINE:               Exhibits 34
            through 42.
      Q     Let's take a look at an example. Let's look
            at Exhibit 36. This is an August nth,
            2003 letter from the law offices of Marc
            Toberoff to you, Mr. Bullon, correct?
      A     That appears to be the case, yes.
      Q    A^ d if you look one, t^ o, three, four, five
           paragraphs down, can you read that paragraph,
           please?
      A     It was not therefore not -- it was therefore
           mot surprising that the investor rejected
            yóur counteroffer as unrealistic.                   The
            counteroffer was high, was so high that it
           may have scared away a strong, potential
            investor.         Exactly what I mentioned when I
           asked you whether you were sure that I should
           communicate such a high counteroffer.
           A^ d Mr. Toberóff ïn writing that paragraph
           didn't disclose to you that his business


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                                  EXHIBIT 58
                                    1150                        feda831f-8f5a-4d4a-86d4-38e27c7e^947
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                               DON SULSON - 7/19/2011

                                                                                  Page 108
       1
                     partner, Mr. Ari Emanuel, was that investor,
       ^             correct?
       3
               A     That's stating the obvious.
       4
                                         MR. TOBEROFF:            Asked and
       5
                     answered.
       6
               4     And why would it be ïmportant for you to know
                     when reading a paragraph like this that he
       ^             himself, Mr. Toberoff, is a business partner
       9
                     with the, quote, unquote, investor?
10                                       MR. TOBEROFF:            Are you asking
ιι                   for his mental impressions as an attorney?
ι^                   That's work product, but it's not for me to
1^                   assert.
14
                                         MR. BERK:                Would you
15
                     repeat the question? I'm sorry. Read back.
16
                                        (Record read. )
ι -ι
                                         MR. BERK:                You can
                    answer.
               A     I would like to know everything about the
                    parties involved in the transaction as a
                    general rule.
22             Q     Is it common i^ your experience -- strike
23
                    that.
24
                               Did Mr. Toberoff disclose to you that
25
                    another of his companies, Pacific Pictures,


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                                          EXHIBIT 58
                                            1151
                                                                        feda831 f-8f5a^dd4a»8Bd4-38e27c7e6947
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                              DON BUEBON - 7/19/2011

                                                                                 Page 109
      ι             as of the date of this letter, August nth,
      2
                    2003, had acquired a 50 percent interest of
      ^             the Shuster family's putative copyrïght
      4
                    interests in Superman?
      5
                                        MR. BERK:                 You may
      ^
                    answer.
              A    Not to my recollection.
      ^             Let me show you a few documents and see if he
              4
      9
                    shared them with you.
 ιo                                     MR. RYLAND;               Can we catch a
 ιι                break over the ^e^t 15?
 ι^                                     MR. KLINE:                Yeah,
^^                 absólutely.        And what do you guys want to do
14
                   with lunch?
15
                                        MR. RYLAND:               We're happy to
16
                   go through if we can get this thing done.
                                        MR. KLINE:                I don't think
i^                  s0.
19
                                        MR. RYLAND:               What do you
zo                 mean you don't think so?
                                        MR. KLINE:            "   I think we
^^                 should take a lunch break.
^^                                      MR. RYLAND:               How long do


                                                                                                 ι
24
                   you think we`ll go?
25
                                        MR. KLINE:                I don't have


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                                         EXHIBIT 58
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                                           1152
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                             DON HULBON - 7/19/2011

                                                                                Page 1^0
     1
                   an estimate right now, because I'm not sure
     ^             what areas they're going to let ^^e ask
     ^             questions^or not.           I wish I did.
     4
                                       MR, RYLAND:              We still have
     5
                   our obligations this afternoon.
     6
                                       MR. KLINE:               Completely
                   understood.       And then you saw my email
     ^             reserving rights, that, hey, we need our full
     9
                   time.
10
                                       MR. RYLAND:              Does 12:15
11
                   work for a break? I don't know what your
12
                   line of questioning is like.
ι^                                     MR. KLINE:               Why don't you
14
                   take a break right now. We'll get our ducks
15
                   in a row in terms of the documents.
16
                                       MR. RYLAND:              Okay.
17
                                       MR. KLINE:               And then maybe
                   like 20 minutes of testimony, take a really
19
                  quick lunch, and then get back in.
20
                                       MR. RYLAND:              Okay,        Sounds
21
                  good.
22
                                       THE WITNESS:             So we're
^^                 convening when or we're continuing?
24
                                       MR. RYLAND:              Yeah, we're
25
                  going off the record.


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                                        EXHIBIT 58
                                          1153
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                             DON BUEBON ^ 7/19/2011

                                                                                 Page 111
     1                                 VIDEO TECHNICIAN:              We're off
     ^             the record.                                                                    p
     ^               (Recess from 12:01 p.m. to 12:1 p,m,
     4
                                       VIDEO TECHNICIAN:              We're back
     5
                   on the record. The time is 12:1.
     6
             BY MR. KLINE:

             4     Here you go, Mr, Bulson. These were
     a             Exhibits 10 and 13 to the Peary deposition
     9
                   that took place a couple weeks ago. And I
10                 just wanted to confirm that Mr. Toberoff
11                 never shared these joint venture agreements
1^                 between Pacific Pictures Corporation and the
1^                 Shuster/Peary family with you, correct?
14
                                       THE WITNESS:             Okay to
15
                   answer?
16
                                       MR. BERK:                Yeah.
z7           A     That's correct.
ιa           Q    And turning to Paragraph 8 of Exhibit 10 for
19
                   a moment.
^o                                     MR. TOBEROFF:            Are you
zι                marking these in this --
                                       MR. KLINE:               I'm just going
^^                 to use the ones from Peary.
24
             Q    Looking at Paragraph 8 of Exhibit 10, did he
25
                  disclose, for example, that upon the


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                                        EXHIBIT 58
                                                                       feda831f-8í5a-4á4a-8644-38e27c7e6947
                                          1154
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                             DON BUEBON - 7/19/2011

                                                                                Page 3. J. 2
     1
                   termination of this venture for any reason,
     2             the venture would hold 50^percent of the
     ^             Shuster's Superman rights, and the Shusters
     4
                   would hold the other 50 percent?
     5
                                       MR. TOBEROFF:            You're reading
     s             from an agreement dated 2001, and this
                   agreement was terminated, so I don't know why
     a             you're reading from this agreement. It's a
     9
                   long-term -- this was terminated, I believe,
ιo                 in 2003.
11
             Q    Mr. Bulson, did he represent --
32
                                       MR. KLINE:               That's a
                   speaking objection and argument.
14
             Q    Mr. Bulson, did he represent to you that he
15
                  had signed, his company Pacific Pictures, had
16
                   signed -- Mr. Toberoff disclose to you that
17
                  his company Pacific Pictures in
ι^
                  November 2001 had signed an agreement i^
19
                  which --- let's look at Paragráph 5 for
20                example.
^1          A     I prefer you didn't use, for example.
^^           Q    Okay.     Let's look at Paragraph 5. Did he
z^                disclose to you that he had made a deal with
24
                  the Shuster family that Pacific Pictures,
25
                  Mr. Toberoff's company, would be entitled to


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                                        EXHIBIT 58                    feda831f-8f5a-4d4a- 86d4»38e27c7e6447
                                          1155
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                              DON BUEBON - 7/19/2011

                                                                                 Page 113
      1
                    50 percent of the Shuster estate -- in the
      2
                    Shuster Superman copyright interest and the
      ^             Shuntera would have the other half?
      4
                                        MR. TOBEROFF:            Objection.
      5
                    Assumes facts and lacks foundation.
      6
                                        MR. BERK:                I don't have


     ^
                    any problem with it.
                                                                                                  σ
              A     No such disclosure was made to me.
      9
              Q     Did he disclose as set forth in Paragraph 2
10                  of Exhibit l0, looki^g^at the penultimate
11
                    sentence, the consideration from PPC's                                        σ

                    contributions to the venture and mutual
13
                   .covenants contained herein, claimants, and
14
                    they're defined as --
15
              A     Wait a minute. I'm not with. you.
1.6
              Q     Second--to-the-last sentence of Paragraph 2.
17
              A     Okay.     Let's find the first one. In
                    consideration, that's the one you're
19
                    referring to there?
^o            Q     Yep.    And claimants if you'll note is defined
21                  up top here as Mark Peary^f/k/a Mark Warren
                    Peary, and also Jean Peavy, do you see that?
^^            A     I see Jean and Mark, yes.
24
              Q    And it says, the purposes of forming this
25
                    joint venture are retrieving, enforcing,


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                                         EXHIBIT 58
                                           1156
                                                                       feda831 f-8í5a-4d4a-B ^d4θ8e27c7e6947
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                             DON BUEBON - 7/19/2011

                                                                                Page X14
     1
                   exploiting all of Joe Shusters' and his
     2             estate's rights, claims, copyrights,
     ^             property, title, and interest in and to Joe
     4
                   Shuster's creations, do you see that there?
     5
             A     Uh-huh, I see that.
     6                                                                                          σ
             Q     And in Paragraph No. 1, the rights shall
     7
                   include without limitation all current and
     s             future rights, claims, title, copyrights,
     9
                   skipping a^few words, and all rights to
10                .proceeds from Superman?
11
             A     I see that paragraph, yes.
1^           Q     Or Superman stories.            And at the end there it
                   includes Superboy and Smallville, do you see
14
                   that?
15
             A     I see that.
16
             Q    And then going down to Paragraph 2 the
17
                   sentence says, I'm having you focus o^, it
1^                 says, in consideration for PPC's
19
                   contributions to the venture, and the mutual
20
                   covenants contained herein, claimants hereby
21                transfer and assign to the venture their
^^                rights, titles, and interest in the rights,
23
                  do you see that?
24
             A    Uh-huh.
25
                  Did you Mr. Toberoff disclose these terms to


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                                        EXHIBIT 58
                                                                      feda831f-8f5a^d4a,86d4-38e27c7e69b7
                                          1157
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                               DON BUEBON - 7/19/2011

                                                                                 Page 1.15
     1
                   you when you-were having your negotiations in
     2
                   2003, 2004, and 2005?
     3
                                        MR. BERK:                You can
     4
                   answer.
     5
             A     These terms as specified in Paragraphs 1 and
     6
                   2,    no.
             Q     And you'll notice on the last page of this
     ^
                   document, it says 137 on the bottom right,
     9
                   it's signed by Marc Toberoff, President of
10                 Pacific Pictures Corporation, November 28th,
                                                                                                  σ
1ι                 20Q1, do you see that?
ι^           A     I    see that.
1^           Q     Did he disclose to you that he had a separate
14
                   company that he was the president of called
15
                   Pacific Pictures?
1^
             A.   Not to my. recollection.
17
             Q     Did he disclose to you that he had a separate
1^                 company that was purchasing other Superman
19
                   rights other than Mr. Síegel's?
zo                                      MR. TOBEROFF:            Objection.
^1                Vague.       Unless you are speaking about the
za                negotiations with Dón Bulsó^ in or about
23
                  August of 2003 regarding Michael Siegel's
^4                interest.          Is that what you're speaking
^5                about?


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                                         EXHIBIT 58                    feda83Sf- Bf5a^d4a-BØd4-38e27c7eS447
                                           1158
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                      '                                                          Page 116
     i
             Q     I'm talking about in the course of your
     2             negotiations with Mr. --
     ^                                  MR. TOBEROFF:            In 2003?
     4
             Q     In 2003, 2004, 2005, did Mr^. Toberoff ever
     5
                   disclose to you that he had a separate
     6
                   company ^-
                                        MR. TOBEROFF:            In 2001?^
     ^             -^ that had gone out and purchased?
     9
                                        MR.   ^LINE:             At anytime.
10
             4     Had gone out and purchased Superman rights
11
                   from the Shusters?
             A    Not to my recollection.
                                        MR. TOBEROFF:            Misstates the
                   document.         There's no purchase stated in that
                   document.
16
             Q     Same question using the word "assignment,"
17
                   that he had obtained a^ assignment?
1e           A    Not to my recollection.
19
                                        MR. TOBEROFF:            Misstates the
20
                  document.
^i
             4     Same question using the word hereby transfer
2^
                  and assign to the venture their rights, title
z^                and interest in the rights?                                                      σ
^4           A    Not to my recollection.
25
             Q    Did Mr. Toberoff disclose to you Exhibit 13,


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                                         EXHIBIT 58                    feda831 f-8f5a-4d4a-ß8d4 -38e27c7eØ9a7
                                           1159
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                                                                          Page 117

             which is dated October 27th, 2003, at any
             point in your negotiations between 2003 and
             2005?
       A     I don't recall ever seeing this letter.
       Q    And I'll confirm for you, Mr. Bul -- let's
             just take a quick look at this agreement.
             You see that it is signed as Marc Toberoff,
             President on the last page there,
             October 27th, 2003?
       A     I see that.
       Q    Now, taking a quick look at Exhibit 1Q again,
            which is dated November 23rd, 2001, can you
             take a quick look at that?
                                 MR. RYLAND:              This one. 10?
                                 MR. ALINE:               10.
       A    Oh.
       Q    Okay.     Amid then I want you to take a look.
             I'm going to gó through with you Exhibits 34,
             35, ^^, all the way through No.. 42, so
            there's a stack of those.
                                 MR. BER^^:               Is this the 10
            you're referring to, joint venture agreement?
                                 MR. KLINE:               It is,




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                                  EXHIBIT 58                    feda831f-$f5a-4d4a-86d4 -38e27c7e6947
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                                                                                 Page 118
      τ                                 MR. RYLAND:              Which
      2
                    documents are you asking him about?
      ^                                 MR. KLINE:               I'm going to
      4
                    ask him about 34 and 10 right now.
      5
                                        MR. RYLAND:              34 and l0.
      6
                                        MR. ALINE:               And maybe
                    Jason can help clean up some of the exhibits
      8
                    wé're not asking about, just so they're out
      ß
                    of your way and not confusing matters.
 10                                     MR.. BERK:               Is this 34?
 ιλ                                     MR. KLINE:               It sire ïs.
                                        MR. BERK:                Okay.
 13
              Q     So 34 is a June 18th letter from you,
 14
                    Mr. Bullon, June 18th, 2003, to Marc
 15
                    Toberoff, correct?
                                                                                                 σ
              A     Uh-huh, that's what it appears to be.
 λ7
              Q     And it says, I have discussed wïth Michael
 λ8
                    the offer you passed on from a potential
 λ9
                    investor who is interested in purchasing
 ^o                 Michael's interest in the Superman copyright.
                   Arid you say the amount offer is not
 ^2                 acceptable to Michael, do you see that?
 2^           A     Uh--huh .
 24
              Q    And that letter postdates Exhibit 10, which
 25
                    is a November 23, 2001 agreement, correct?

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                                         EXHIBIT 58
                                           1161                        feda831 f-$f5a^d4a-8úd4-38e27c7e5347
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                                                                                Page 119
     ι       A     That would appear to be correct.
     ^       Q    Would you have wanted to know when
     ^            Mr. Toberoff was trying to purchase
     4
                  Mr. Siegel's rights on behalf of this unnamed
     5            potential investor, that Mr. Toberoff had a
     6
                   company named Pacific Pictures that had
                  created a joint venture in which the Shunters
     ^
                  had put half -- had put all of their Superman
     9
                  interests?
ιo
                                       MR . TOBEROFF :          Call s for ---
ιι                                     MR. BERK:                I mean, you
ι2                can answer it. I don't know --
ι^           A    Run that by me again.
ι4
             4    When you began your -- when you're engaged in
ι5                these negotiations, summer of 2003, would you
16
                  have liked to know that Mr. Toberoff was the
                  president of the company called Pacific
ιa
                  Pictures that had signed these two joint
19
                  venture agreements with the Shunters,
^a
                  Exhibits 10 and 3?
^ι          A     As I mentioned earlier, as a general rule I
^^                would like to know everything I can about the
                  particular transaction or the parties
24
                  involved.
             4    Okay.     Let's take a look at Exhibit No. 36,


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            please, which is a August 6th, 2003 letter
            from Mr. Toberoff to you. I want to focus
            your attention on numbered Paragraph 2, risks
            associated with no çontrol over the Siegel.
            termination interests, do you see that?
      A     I see that.
      Q     Let's take a quick look at Exhibit 45, which
            you were looking at earlier, and I want you
            to look at Paragraph 10 I belïeve it ïs --
            no, sorry, $ .




                                MR. KLINE:               It's numbered
            3Z in the original deposition.
                                MR. BERK:                Okay, 31.


            Look at Paragraph 8. Now, Mr. Toberoff
            represents to you i^ his August nth,
            2003 letter that to the extent you and
            Michael are not already aware of this, any
            investor will view the risks as follow:
            Risks associated with no control over the
            Siegel termination ïnterest.                Michael's
            interest unfortunately is a passive
            25 percent interest in what Joanne and Laura


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                                                                          Page 121

             Siegel negotiate and receive, and therefore
             there are major risks associated with this
             lack of control, a good reason why Michael
            may be interested in an investor in the first
            place.      Let's either comparé that statement,
            Mr, Bulso^, with Paragraph 8 of Exhibit 45
             that gave Mr. Toberoff and Mr. Emanuel the
             following right, owner, who we established
            was Laura Siegel and her mother Joanne,
            hereby warrants and represents that owner
            will not transfer, assign, license, or in any
            manner encumber the rights during the term or
            extended term other than through or as a
             result of IPW's exclusïve representation
            hereunder, wïth the exception of by will,
            probate, or pursuant to other court order.
            Would you have liked to know when
            Mr. Toberoff is telling you that the investor
            is concerned about risks if he purchases the
            Michael Siegel interest, that he won't have
            control over the ovérall Siegel interest,
            that in fact the investor, Ari Emanuel and
            his business partner Marc Toberoff, had
            obtained this control set forth in
            Paragraph 8 of Exhibit 45?

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                                                                                 Page 122
     i
                                        MR. TOBEROFF:            Objection.
     z             Misstates the documents, they speak for
     3
                   themselves in the record in this case.
     4
             A     I'm having trouble with that question,
     5
                   because I don't see where they have the                                       A
     6
                   control in Paragraph 8.
             Q     Do you think the Siegels, as you read
     ^             Paragraph 8, can do anything with their
     9
                   rights in terms of assigning, selling them,
io                 or otherwise without the approval of IPW,
ii
                   which at that point I'll represent to you is
i^                 Ari Emanuel and Marc Toberoff?
i3
                                        MR. TOBEROFF:            Are you asking
19
                   for his legal opinion as to the meaning of
ι5                 this document?
16
                                        MR. KLINE:               I'm following
i7
                   up on his last question to me.
ia           A     I'm not in a position to answer that
iß
                   question.         I would have to study the
^o                 agreement.
             Q^   Would you have liked to have access tó an
^^                 agreement like this?
^^           A    As I said before, generally speaking, I like
24
                   to get all of the information I can.
25
             4     Do you think it was a misrepresentation that


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                                           1165
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                                                                                Paq^ 123
     1
                   Mr. Toberoff is talking about risks
     2
                   associated with no control, when in fact he
     ^             has those tie-gyp agreements with the Siegels,
     4
                   Joanne and Laura?
     5
                                       MR. TOBEROFF:            Misstates the
     6
                   objective.        Tie-up agreement misstates the
                   record and mischaracterizes the record.
     ^       A     And I think I'm better off not answering that
     θ
                   without studying the full impact of this
ιo                 agreement and any other agreements that might
ιι                 be relevant to that. I just don't know the
ι2                 answer.
ι^           Q     You're telling me you don't know one way or
14
                   the other -- I think you've said, just so
15
                   we're clear, that you would have wanted to
16
                   know about the existence of this IP Worldwide
                   agreement with Laura and Joanne Siegel,
ι^                 correct?
ι9
                                       MR. TOBEROFF:            Misstates his
2p
                   testïmony.        He said generally I like to know
^1                 as much as I possibly can.
2^           Q     Specifically would you have liked to have
2^                 known. about this i^ June 2003, this document?
24
             A     Since it's part of -- since it's relevant to
25
                   the transactions that were being discussed at

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                                        EXHIBIT 58
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                                                                                Page 124
      1
                    that point i^ time, yeah.
      2
              Q     And you were pushing him to tell you who the
      ^             investor was, correct?
      4
              A     I was requesting the name of the investor,
      5
                    right.
      6
              Q     And he ' s making affirmative representations
                    to you about no control over the Siegel
     ^              termination interest.             You world agree, would
      9
                    you not ,    that Paragraph 8 has something to do
io                  with the control of the disposition of Laura
11
                    Siegel and Joanne Siegel ' s rights ,               correct?
12
              A     Well ,   again, I'm looking at only Paragraph 8,
13
                    and I can ' t necessarily see. It just says,
14
                    as I interpret Claim 8 ,           Paragraph 8, is they
15
                    have to negotiate through ,            as J -^ IPW.
16
              Q     And if you go to Page 1, look at the
λ7
                    definition of who IPW is. What does it say?
λ8
              A     I'm seeing Page 1 ,        but I don ' t -- us. IPW is
7.9
                    us.
^o            Q     Okay .    Let's look at the last page, and look
2ι                  who signs yours sincerely?
              A     So this would be Marc Toberoff and Ari
^^                  Emanuel?
24
              Q    Authorized signatories for IPW?
25
                                       'MR. TOBEROFF:            For IP


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                                         EXHIBIT 58
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                                           1167
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            Worldwide.        Us is IP Worldwide.
      A     For IPW.
      Q     IPW is a defined term in the document. Did
            they sign on that, correct?.
                                MR. TOBEROFF:            Us is IP
           Worldwide.         We sïgned on behalf of IP
           Worldwide.         It's obvious from the document.
      A     The letter's being written on stationery that
            says IP Worldwide, and they're signing on
           behalf of presumably IP Worldwide.
      Q     Okay.     And let's go back to Paragraph 8 for a
            second.     And you would agree that the Siegels
            are agreeing, and by the Siegels I mean Laura
            Siegel and her mother Joanne, that they won't
            transfer, ássign, license, or in any manner
           encumber the rights during the term or
           extended term other than through as a result
           of IPW's exclusive representation agreement,
            correct?
      A    That,'s what it says.
      Q    Would you have liked to know that Marc
           Toberoff and Ari Emanuel, the unnamed
           investor, had this right vis-a-vis the
           Siegels?
      A    As I mentioned before; I would have liked to


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                                                                                  Page 126

                     know all the information I could gather with
       ^             respect to anything involving the
       ^             transaction.
       4
               Q     And-isn't it thé case that it's misleading in
       5
                     Paragraph 2 of the August nth, 203 letter
       6
                     for Mr. Toberoff to sáy the ïnvestor wí11
                     view the risks as follows: Risks associated
       a             with no control over the Siegel termination
       9
                     interest, when in fact the investor, i.e.,
                     Ari Emanuel and his business partner Marc
ιι
                     Toberoff, had obtained this right set forth
a.z                  in Paragraph S?
a. ^                                     MR. TOBEROFF:            Misstates the
14
                     record.
15
               A     I don't see --
?6
                                         MR. BERG:                Tf you're
τ -ι                 reading from a document --
18
               A     I'm sorry. I mean, I see this as an
19
                     exclusive representation agreement, so the
20                   decision makers are still going to be Laura
^i                   and Joanne Siegel. They just have to deal
z2                   exclusively, unless I'm misunderstanding the
^^                   import of this clause.
24
               Q     You don't think they have any control over
25
                     the^disposïtion of the Siegel rights?


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                                          EXHIBIT 58
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                                                                                 Page 127
     1       A    And from that paragraph alone, it says their
     ^             exclusive representation.               That's what I see.
     ^
             4     Could Laura Siegel and Joanne Siegel go out
     4
                   and make their own deal exclusive of IP
     5
                  Worldwide, let's say with DC Comics --
     6
             A    Not without violating Paragraph 8.
                                        MR. TOBEROFF:            By the way,
     ^             you're talking about violation of the IP
     9
                  Worldwide exhibit.
1a                                      MR. KLINE:               Marc, you
11
                   can't make speaking objections or testifying.
                                        MR. TQBEROFF:            Excuse me.
13
                   I'm talking.         It's not a speaking objection.
ι4                                      MR. KLINE:               No, your
15
                  testifying for the record.
16
                                        MR. TOBEROFF:            You're
17
                  misstating the record.
1^                                      MR. KLINE:               You can object
19
                  to questions.          You can ask your own questions
20                of the witness.
21                                      MR. TOBEROFF:            Stop talking
^^                over me. I'm in the mïddle of speaking.
^^                You're talking over me.
24
                               .        MR. KLINE:               No, you're not
25
                  making speaking objections or coaching the


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             witness.      Nope.
                                 MR. TOBEROFF:            You're not
             going to talk over me. It's your tïme. I'm
             going to speak. You're not talking over me.
             You're not going to muzzle me by talking over
             me.    Now that you're finished, I'm going to
             continue what I'm saying. If you talk over
             me, I'm going to wait until you're finished
             then I'm going to again speak on your tïme.
                                 MR. KLINE:               And we're
             going to charge you for the time.
                                 MR. TOBEROFF:            You can't
             charge me for the time. You're talking about


                                 MR. KLINE:               It's an
             improper speaking objectio ^ .              I'll go to the
             court.
                                 MR. TOBEROFF:            You're
             speaking over me again. You're speaking over
            me again. It's an improper ^- you're asking
            him about whether a document datéd
            October 3rd -- strike that.
                      My eyesight's -- I missed the date.
                                 MR. KLINE:               Thank you.
            A^ d we will charge you for that time.


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                                                                                Page 129
     1
             4     Mr. Bullon --
     z                                 MR. TOBEROFF:            You'll also
     ^             charge your client.
     4
             4     -- did he disclose in this letter to. you when
     5
                   he's talking about risks associated with no
     6
                   control, that he, Marc Toberoff, had taken
                   the rights that Pacific Pictures had held and
     s             given them -- and put them in this new
     9
                   company that he formed with Ari Emanuel?                                      ø
10           A    No.
11
                                       MR. TOBEROFF:            Misstates the
1z                 record.
13
             4     Did he disclose to you that he and his
14
                  business partner Ari Emanuel had not only
15
                   obtained the rights set forth in Paragraph 8
ιa
                   of the IP Worldwide exhibït that we've been
17
                  discussing, but also half of the Shuster
18
                   copyrights through these Pacific Pictures
19
                  agreements?
^o           A    No such disclosure was made.
^1                                     MR. TQBEROFF:            Lacks
^^                 foundation and misstates the record.
^^                Do you have a character --- or strike that.
             4
z4
                             Do you have an opinion about
                  Mr. Toberoff's character for candor and full

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                                        EXHIBIT 58                    feda$37 f-8f5a -4d4a-B6d4^8e27c7e694T
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             disclosure?
       A     Do I have an opinion? No, not really.
       Q     Do you have an opinion about his
             truthfulness?
       A     I've not formulated an opinion.
       Q     About his honesty?
       A     I've not formulated an opinion.
             Let's take a look at Exhibit 38.
                                 MR. BERK:                Help me, where
             is Exhibit 38?
                                 MR. KLINE:               It will say


                                 MR. BERK:
             the deposition?
                                 MR. KLINE :              Twice ,       it will




            got it.
       Q    This is an email from Mr. Toberoff to you
            dated November 17th, 2004, correct?
       A    Uh-huh, yes.
       Q    Can you explain to me, he says in the
            beginning of thé third paragraph, in addition
            to your two proposals still amount to
            25 percent of Warner Brothers' offer two


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                                                                         Page 13^

            years ago.        Do you see that sentence there?
      A     Uh^huh.
      Q    And did you understand him to be saying that
            the offer you were making was objectionable
           because it's unclear that Warner Brothers
           would ever offer that much money again? T'm
            trying to understand why, if you're willing
            to settle for 25 percent of Warner Brothers'
           best offer, why that would be unacceptable to
           him?
                                MR. TOBEROFF:            It calls for
            speculation as to what I was thinking.
      Q    Did you ever discuss that with him?
      A    To discuss?
      Q    With Mr. Toberoff.
      A    The 25 percent? I don't recall. Probably we
           talked about that.
      Q    Why did you think it was fair, and if you ^-
           only if you articulated this to Mr. Toberoff,
           because I don't want to get into what you
           discussed with Mr . Siegel .             Why did you think
           it was fair to ask for 25 percent of what
           Warner Brothers had offered two years ago?
     A     I don't know.
      Q    Did you know whether Warner Brothers was

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                                 EXHIBIT 58                    feda831f-8f5a -4d4a-86d4-3$e27c7e6947
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                                                                                  Page 132
       1
                     still willing to pay Michael Siegel or the
       ^             Siegels or the Shusters on the same terms?
       ^       A    At this point in time, I don't recall. I
       4
                     don't -- the timeline ís not clear in my
       S
                    head.
       6
               Q     Did Mr. Toberoff share offers with you that
                     DC Comics made in 2005 just a few months
                                                                                                   σ
       ^             after this email to the Shuster family to
       9
                     settle their claims?
10             A    Read that again. Say that again.
11
               Q    This is a November 17th, 2004 email.
12
               A    Uh-huh.
ι^             Q    Do you recall Mr. Toberoff disclosing to you
14
                    that in early 2005 DC or Warner Brothers made
15
                    a settlement offer to the Shuster family for
16
                    them to settle their claims?
ι -ι           A    I don't recall.
1e                                       MR. TOBEROFF:            Objection.
19
                    Assumes facts not in evidence.
20
              A     I don't know.
z1                                       MR. TOBEROFF:          'And lacks                         a
^^                  foundation.
               4    Well, let's take a look at a letter that was
z4                  sent to the Shusters dated April 28th, 2005?
^5                                       MR. BERK:                Is this in the


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                                          EXHIBIT 58
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                                                                                Page 133

                   depo?
     ^                                 MR. KLINE:               No, this is a
     ^             new exhibït.
     4
                                       MR. BERK:                It's a new
     5
                   exhïbit.      Okay.
     6
                                       MR. RYLAND:              We'ue got to
                   catch a break here too.
     ^                                 MR. KLINE:               That's fine.
     9
                   We'll ask a little bit about this document.
10                                     MR. RYLAND:              Sure.




                                                                                                  ι
                      (Plaintiff's Exhibit 47 was marked.)
τ^
14
             Q     Putting in front of you Exhibit 47, an
15
                   April 28th, 2005 letter from Paul Levitz to
16
                   Jean Adele Peavy as sole heir to Joseph
                   Shuster and Mark Warren Peary as personal
ιs                 representative of the estate of Joe Shuster,
19
                   do you see that on the first page,
20                Mr. Bulson?
21
             A    What was^that I was skimming?
22
             Q     I was reading the from Paul Levitz at DC
                   Comics to Jean Adele Peavy and Mark Warren
24
                   Peary.
25
             A    Okay.      I see that.


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                                        EXHIBIT 58
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      Q     A^ d you know them to be the heirs and
            personal representatives?
      A    Actually, I do not know that, but I assume
            that to be the case here.
      Q     Okay.     Did Mr. Toberoff ever share this
            letter with you, to your knowledge?
      A     I don't recall seeing this letter.
      Q     Directing your attention to pages 3, 4, 5,
            second, if you have to -- I think you and
            your counsel need to run for a phone call.
            If you want to take a quick look at this over
            the. break, can we do it that way?
                                MR. RYLAND:              Are we going
           to catch a lunch break here?
                                MR. KLINE:               Absolutely
            catch a lunch break.
            If you just want to scan it. After I'm just
           going to ask you if Mr. Toberoff communicated
           to you that DC Comics had made this offer to
           the Shuster family during this time period?
      A     I don't recall.
           A^ d I'm going to ask you when we come back or
           now to compare this to the offers that DC
           Comics was making to your client Michael
           Siegel a couple years earlier. C^ ^7ould it be


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                                 EXHIBIT 58                    feda831 f-8f5a^d4a- 86d4-^Bs27c7e69A7
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                                                                                Page 135
     ^             easier if I gave you the documents now or ---
     2                                 MR, TOBEROFF:            I'd like to
     ^             object.      And first of all, you have seven
     4
                   hours to take his deposition, and you keep
     5
                   talking about running the clock and charging
     6
                  .time.     So if you want him to look at
     7
                   something, it's during the deposition time.
     ^             You can't preload exhibits and have him
     9
                   review them on hïs own time and then ask him
ιo                 questions.
ι^                                     MR. KLINE:               That's the
ι^                 witness' choice, so I'll defer to Mr. Ryland.
Σ^                                     MR. TOBEROFF:            I object to
Σ4
                   that, and I suggest you don't follow that,
15
                   because he's going to use it as a basis to
1^
                   take ^.0 hours of your deposition.
                                       THE WITNESS:             Well, put it
ιa                 here on the table, and we'll see how the time
                   goes.
^o           Q     Giving you the last back and forth with DC,
^ι                 and then we'll just follow up from there.
^^                           But just so we close- the loop on this,
23
                   as I understand it, Mr. Toberoff never shared
24
                   this letter with you?
25
             A    All I'm going to be able to tell you from a


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                                        EXHIBIT 58
                                          1178
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             comparison is what the documents speak for
             themselves.        So whatever that offer was, it
             was; whatever this offer was, it is. I don't
             know -- I can't -^- I don't see my having
             anything to add.
       Q     But let's turn back to Exhibit 38, and this
             is what I'm trying to get at. Is
             Mr. Toberoff's telling you on Wednesday,
             November l7th, 2004, that he's objecting to
             your proposal because they still amount to
             25 percent of Warner Brothers' offer two
             years ago, you see that, right?
       A     Uh-huh.
       Q    And he doesn't disclose to you that DC makes
             this offer in April 2005 to the Shusters,
             correct?
       A     That's correct.
       Q    And around this time you've shared with
            Mr. Toberoff that Michael Siegel is old, he's
            around 59 years old, correct?
       A     I forget what his age -- Yie was in his 50s.
       Q    That he was not ï^ good health?
       A    Well --
                                 MR. TOBEROFF:            Are you asking
            a question whether he told me that?


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                                  EXHIBIT 58
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                                                                                   Page 1.37
       1       Q     Yes, you told him he was not of good health,
       ^             correct?
       ^       A     I probably did.
       4
               Q     And you told him that he very much wanted to
       5
                     settle this claim and settle his claims to
       6
                     rights, and would even do so at a discount
                     given the position that he^was in?
   ^           A     I can't characterize it that way.
       9
               Q     Okay.     Well, we'll go back to the letters
i0                   after lunch, but I do want to explore that
                     area of testimony.
                                         MR. KLINE:               So we'll go
ι^                   off the record.
Z4
                                         MR. RYLAND:              Sounds good.
Σ5
                                         VIDEO TECHNICIAN:              We're off
16
                     the record:        The time is 12:4.
                   (Lunch recess from 12:46 p.m. to 2:OQ p.m. )
i^                                       VIDEO TECHNICIAN:              The time is
19
                     2:00 o'clock.         We're going back on the
20
                     record.
z a.                                     MR. KLINE :              So we entered
^^                   an agreement to all be back at 1:30. I
z^                   understand that Mr. Ryland had some other
                     commitments,       and Mr .   Toberoff, lunch took a
^5                   little bit longer. But it' s now 2:00


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                                            1180
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                             Doκ ^^τsoκ - 7 /i9/20ii

                                                                                Page X.38
     a             o'clock, and I understand you have a hard
     ^             stop at 5:00, so we'll do as much -- get as
     ^            much testimony as we can. Probably be back
     4
                   here^a second day. I understand that
     5
                  Mr. Toberoff objects to that.
     6
                                       MR. RYLAND:              We will too.
     7
                   I'll be perfectly clear. We ,will object --
     ^             if we`re going to go a full day today.
     9
                                       MR. KLINE:               We're not
10                 going to get anywhere close to the seven
11                hours we're entitled to under the rules,
12
                   SO ^^
13
                                       MR. RYLAND:              Mostly because
14
                   the attorneys have been talking back aid
15
                   forth.     Mr. Bulson and I have not, so.                         .
16
                                       MR. TOBEROFF:            And you've
17
                  been taking numerous breaks off the record.
18
                                       MR. RYLAND:              My point is
19
                  that if we go a full day, we will object to a
^o                 second day of depositïons. It's okay. I
^1                mean, you do what you have to do. I'm just
zz                telling you --
23
                                       MR. KLINE:               Okay.        But we
24
                  still don't have the documents we need. I'd
25
                  rather reach an agreement and avoid --


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                                        EXHIBIT 58
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                             DON BUEBON - 7/19/2011

                                                                                 Page 139
     1
                                        MR. RYLAND:              We're not
     ^                                                                                            σ
                   going to.         Just to be a hundred percent
     ^             clear, we can't do anything about the
     4
                   documents, which you know. That has to be
     5
                   settled by the estate. of Michael Siegel. -So
     6
                   that is what it is. And as far as taking
     7
                   another day of deposition, we're a third
     a             party in this. There's ^o dog in the fight.
     9
                   If you want to do another one, you ca ^ move
10                 for it.     We're going to object.
11
                                        MR. TOBEROFF:            Plus you've
1^                 already taken the deposition in the closely
1^                 related Siegel action for hours and hours.
14
                   You're going over similar territory.
15
                                        MR. KLINE:               So why don't
16
                   we jump i^ and see what we can do. We all
17
                   understand we disagree about this, and we'll
1^                                                                                               a
                  move forward..
19

20
             {Plaintiff's Exhibits 48 through 50 were marked.)
^1
^^           BY MR. KLINE:
^^                 I'm going to place i^ front of you
             4
^4                Exhibits 48, 49, and 50, Mr. Bulson, and I'll
25
                   represent to you that Exhibit 48 ïs an

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                                           1182
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                                                                                     Page 140
       ι
                     October 19th, 2001 letter from Sevin Marks to
       2
                     John Schulman.         And you've seen this letter
       ^             before, correct?
       4
               A     I think so.
       5
               Q     And Exhibit 49 is a letter from John Schulman
       5
                     to ^evin Marks, October 2^, 2001, correct?
               A     Yeah, it's to Marks from John Schulman, yes.
       a       Q    A^ d you've seen this letter as well, correct?
       9
               A     I may have, but -- there's a good chance I
10                   did.
11
               Q    And Exhibit 50 is a cover letter from Patrick
12
                     Perkins to Sevin Marks dated February 1st,
1^
                     2002, attaching á draft agreement between the
14
                     Siegels and DC Comics concerning the Superman
15
                    property, correct?
16
               A    Yés.                                                         '
               4    And if you look at the very end here,
^. ^                 Page 52, it's a couple pages from the back,
î9
                    there's a signature, a proposed signature
20
                     line for Michael Siegel, correct?
21             A    Yes.
22             Q    Your client?
2^             A    Uh-huh, yes.
24
               Q    Now, when Mr. -- when you and Mr.^Toberoff
25
                    were exchanging your communications in 2003,


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                                          EXHIBIT 58                    feda831f-Bf5a^d4a -88d4.38e27c7e694T
                                            1183
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                               DON SULSON - 7/19/2011

                                                                                   Page 14^
       1
                     2004, and he refers to the WB offer, do you
       ^             understand him to be referring to Exhibit 49
       ^             or 50 or the same thing?
       4
               A     That's probably the case.
       5
               Q     And if you look at Exhibit 48, which I hope
       6
                     is still in front of you?                                                       σ
                                                                                                     v
               A     Yes.
       ^       Q     And it says, in addition your proposals still
       9
                     amount to 25 percent of Warner Brothers'
10
                     offer two years ago. You understand him to
11
                     be referring to Exhibits 49 and 50?
12             A     Probably.         I mean.            I haven't looked at
13
                     these in a long, long time, but that's
14
                     probably what's being referenced. It was
15
                     the -- what`s reflected ín that
16
                     October 'Q1 letter..
ι -ι           Q     Can you take a quick look at Exhibit 40,
ι^                   which is an email from you to Marc Toberoff
19
                     dated November 24th, 2004?
20
               A     Yes.    As soon as I find it.
21             Q     Do you mind reading the first paragraph into
22
                     the record, please?
^^             A     Of Exhibit 40?
29
               Q     Yes, please.
25
               A     I apprecïate your efforts to put together a

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                                           EXHIBIT 58                    fedaB3lf-8f5a-4d4a-8ßd4- 38e27c7efi947
                                             1184
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                                                                                Page 142
     1
                   deal acceptable to your investor. Michael
     2             has considered your comments and he considers
     ^             his last offer a fair offer given the
     4
                   potential for substantial income to be
     5
                   generated by the Superman property. The
     6
                   Warner Brothers' offer was basically a
                   ^ percent deal, as i recall. The base for
     s             the royalty included all worldwide revenue
     9
                   paid to or derived by DC Comics from the
10                 Superman property.           My calculations of the
11
                   value with Warner Brothers' last offer were
i^                 based on numbers provided by Warner Brothers


14
                   for a five-year period that did not include
                   any revenue booster like a movie. Since then
                                                                                                 ι
15
                   the Lois and Clark television series has gone
ιs                 into syndication and the Smallville
17
                   television series has now entered
1s                 syndication.        According to comments you have
1ß
                  previously made, a television property starts
^o                 generating significant profits when it goes
^ι                 into syndication.
             4     So when you refer to the Warner Brothers'
                   last offer, are you referring to exhibit.--
24
                  and i^ referring to the sentence in this
25
                  paragraph it begins my calculations? When


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                                        EXHIBIT 58                    feda831f-8f5a-4d4a-86d4- 38e27c7e6947
                                          1185
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                                                                               Page 143
     ι             you refer to Warner Brothers' last offer, are
     2
                   you referring to Exhibits 49 and 50?
     ^       A     I think so .
     4
             Q     Okay.     Let's take a look at Exhibit 41. It
     5
                   should be the next in your stack there.
     ^
             A     Yeah, they're all jumbled now. There we go.
             Q     And this is an email dated five days later,
     a             Nóvember 29th, 2004 from Mr. Toberoff to you,
     9
                   correct?
ιo           A     Yes.
ιι           Q     If you look at the second paragraph from the
12
                  bottom of the page, the last full paragraph,
ι^                 can you read that into the record, please?
14
             A     I have fully informed the investor, and he is
15
                  well aware of all of the developments you
16
                  mentioned regarding Superman, Smallville, et
                   cetera; however, the investor is also
ι^
                   consérvative, experienced, and cynical with
19
                   regard to the entertainment industry and
20
                   studio accounting and knows the following.
                   Do you want me to go on?
^^           Q     I áctually wanted you to read, if you go down
^^                to the bottom of the page, in hard business
24
                  terms?
25
             A    Oh.


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                                        EXHIBIT 58                    feda83Sf-8f5a-4d4a-$6d4^8e27c7e6947
                                          1186
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       Q     If you can read that paragraph.
       A     In hard business terms, although this is
             Superman and there's only one Superman, this
             is not the rosy, sexy picture one might
             think.     Yes, they will likely produce a
             Superman movie or movies; yes, they have
             syndicated Smallville, but DC doesn't
            participate in a bíg way in this. WB/DC have
             refuted the termination interest, and
             stonewalled any accounting or páyments for
             over five-^and-a-half years .
       Q    Okay.     And then let's take a look at
            Exhibit 42.         It's a January 17th, 2005 email.
            And I believe the top email, would you agree
             says, to make anything happen, I need a
             little more leeway, please see -^--
       A    That's not what my Exhibit 42 says.
       Q    Don, I' m referring to the -^-- Don, I haven' t
            heard from you since my last email
            November 2004, which I recopied below. As
            expected I can't sell your proposals. I wish
            I could, since they are too close to the
            exact MPV of the old WB deal and don't take
            into account the passivity of the investment
            and the significant risks involved. To make


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                                  EXHIBIT 58
                                    1187
                                                                feda831f-8f5a-4á4a-Bfid4-38e27c7e6947
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                                                                                Page 145
     1
                   anything happen, I need a little more leeway.
     2             Please see our last proposal, which is not so
     ^             far off from what your client wants. Do you
     4
                   see that?
     5
             A     Uh-huh.
     6
             Q     And obviously when Mr. Toberoff says in the
                   second sentence here, I can't sell your
     s             proposals, I wish I could, he didn't disclose
     9
                   to you at this time period that the investor
τo                .was Ari Emanuel, correct?
^            A     That's correct.
1z           Q     A^ d he didn't disclose to you that he had a
                   joint venture agreement with Mr. Emanuel,
14
                   correct?
ι5
                                       MR. TOBEROFF:            Asked and
                   answered.
τ,           A     That's correct.
τ^           Q    And in this offer that he republishes below,
                   that top email there, the email that says,
20
                   Don, thank you for your counteroffer. He
21                 says in addition your two proposals still
2^                 amount to 25 percent of the Warner Brother
23
                   offer two years ago, correct?
24
             A     That's what it says.
25
             4     If you take a look at Exhibit 47, Mr. Bullon,


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                                        EXHIBIT 58                    feda831 f-8f5a^d4a- Bßd4.38e2Tc7e6θ47
                                          1188
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                                                                                Page 14b
     1
                   it says DC on.the top therè?
     2       A    Yeah .
     3
             Q     Just to reconfirm, Mr. Toberoff never shared
     4
                   this offer with you, correct?
     5
             A    Not to my recollection.
     6
             Q    That DC made wïth the Shusters?
     7
                                       MR. TOBEROFF:            Asked and
     ^            answered.
     9

ιo                    (Plaintiff's Exhibit 52 was marked.)
11

12
             Q     I'm going .to hand you Exhibit No. 52. Did
                  Mr. Toberoff share this communication wïth
ι9
                  you at any point in time?
ι5                                                                                                a
            A     Not that I recall.
             Q    Did Mr. Toberoff tell you that he rejected
17
                  DC's offer to the Shusters on behalf of them?
18
            A     Not that I recall.
1s           Q    This document's dated May 12th, 2005,
^o                correct?
^ι          A     Yes.
22
             Q    Cagy you read the second and third paragraph,
                  please, into the record?
24
            A     While our clients certainly do appreciate
25
                  DC's efforts, they are passing o^ DC's offer.


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                                        EXHIBIT 58
                                                                      feda831 f-Øf5a-4d4a-eßd4• ^8e27c7e6947
                                          1189
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                                                                                Page 147
     1
                   It is believed that the offer is extremely
     ^             low and bears no relation to the net present
     ^             value of the estate's 50 percent interest in
     4
                   Superman profits for the duration of
     5
                   copyright commencing 2013.               Nor does DC's
     6
                   offer reflect a considerable strategic value
     7             of the estates's 50 percent copyright
     a .           interest in tandem with the Siegel's
     θ
                   50 percent copyright interest in Superman.
10                 One need only to look at DC/Warner Brothers'
11
                   full-blown plans to reinvigorate Superman as
1^                 a billion dollar film, television, and
                   merchandising franchise and to Marvel's 2.5
14
                   billion market capitalization to understand
15
                   how DC's $2 million proposal bears little or
16
                   no relation to the marketplace and the
17
                   economic realities of this world famous
1a                 property.
19
                                       MR. TOBEROFF:            I object to
20                 your use i^ this deposition this exhibit.
21
                   It's marked confidential.              We had a
^^                protective order at the time with DC which
                  would apply to this document as well. You
24
                   shouldn't be giving it to Mr. Bullon and
25
                  making it part of a public transcript.


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                                                                                 Page 14$
      1
                              Also, I object to the fact that you're
      2
                    dealing on top of that with settlement
      ^
                    negotiations which should not be used or
      4
                    disclosed in litigation.
      5
                                        MR. KLINE:               Disagree with
      6
                    both of your points. We'll move forward.
                                        MR. TOBEROFF:            Well, you're
      a
                    in breach of the protective order and we'll
      9
                    hold you aid your client accountable for
 10                 that.     That's it.
 11
                                        MR. KLINE:               Where ís it
 12
                   marked confidential when ít was produced on
                    the bottom?
14
                                        MR. TOBEROFF:            Can you read?
15
                                        MR. KLINE:               On the Bates
16
                    stamp at the bottom of the page -^-
17
                                        MR. TOBEROFF:            It says
                   confidential communication?
1.9
                                        MR. KLINE:               It's your
20
                   position that --
^1
                                        MR. TOBEROFF:            Yes, it is.
^^                 just stated my position.
^^
                                        MR. KLINE:               That's fine.
24
                   Understood.
25
             Q     Turning your attention to that letter,

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                                           1191                        feda831 f-8f5a^d4a^6d4-36e27c7aØ947
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                                                                                Page 149
     τ             Mr. Bulson.        On November 29th, 2004, if you
     2
                   look at Exhibit 41, Mr. Toberoff is telling
     3
                   you that in hard business terms, although
     4
                   ít's Superman and there's only one Superman,
     s             this is not the rosy, sexy picture one might
     6
                   think, correct?
             A     Where is that, where do ^ look in the
     ^             document?
     9
             Q     Bottom of the first page in Defense Exhibit B
10
                   41?
11
             A     In hard business terms, yes. I see that.
τ^
             4     It's not the sexy picture. At the same time
τ^
                   he's telling -- not at the same time. A few
14
                  months later he tells DC Comics that one need
15
                   only to look at DC/Warner Brothers'
16
                   full-blown plans to reinvigorate Superman as
                   a billion dollar film, correct?
τs
                  Uh-huh, yes.
19
             Q    And he never shared this point of view with
20                 you, correct, during his negotiations with
21
                   You?
22           A     To my recollection, he did not.
23
             Q     In fact, he told you the opposite, correct?
24
             A    He told me what's stated in that email.
25
             Q    He also told you that DC -^ he told DC Comics


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                                        EXHIBIT 58
                                          1192
                                                                      feda831f-Bf5a-4d4a-86d4-^ Bs27c7e6947
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                                                                                 Page 150
      1
                    in the May 12th, 2005 letter that the offer
      ^             is extremely low and bears no relation to the
      3
                    net present value of the estate's 50 percent
      4
                    interest ín Superman profits, correct?
      5
                                        MR. TOBEROFF:            Document
      6
                    speaks for itself.
              A     That's what it says, yes.
      ^       4     And yet he told yoù in Exhibit 42, his
      9
                    January 17th, 2005 email that he couldn't
10
                    sell your proposal because they're too close
11
                    to the exact net present value of the old
1^                 Warner Brothers' deal, correct?
              A     That's what it says.
14
              Q     In taking a look at Exhibit 39, and looking
15
                    at the first email in the chain.
16
              A     I see the ---- oh, the first email i^ the
17
                    chain.
              Q     So if you look at the second and third page
1.9
                    of the document?
^o            A    Uh-huh.
^1            Q    Marked D^ 30 -- DV 038 at the bottom?
22            A    Yes.      Okay.     Got it.
              Q    Marc -- it's a November 12th, 2004 email from
24
                   you.      Marc, I've now -^- I've now had the
25
                   opportunity to meet with Mike Siegel and


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                                         EXHIBIT 58
                                                                       feda831 f-8f5a^d4a-86d4•^Be27c7e69a7
                                           1193
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                                                                          Page 151

             discuss your investor's latest proposal.
             Summarizing our past discussion, Mike
             originally proposed an initial payment of
             $300,000, annual payments of $123,000 for 20
             years.     As understood the investor countered
             with initial payment of $200,000, annual
             payments of $100,000 for that 20 ÿears.
             Investor's recoupment of one-half of any
            monies paid.         If aversion occurs, a follow-up
             to some of above, the investor indicated he
             would consider some participation. In
             return, Mike Siegel would be amenable to
             inïtial payments of $250,000, annual payments
             of $112,000 for 25 years, investor's
             recoupment of one-half monies pad ïf aversion
             occurs, subject to appropriate payback
             schedule for proceeds received by Mike
             Siegel, participation at 10 percent. Do you
             see that offer you conveyed to Mr. Toberoff?
            Uh-huh, yes.
            Aid in his email above that i ^ the chain
            November 17th, 2004, Mr. Toberoff rejects
            that, correct?
       A    Yes.
       Q    Mr. Toberoff says in his email rejecting the


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                                  EXHIBIT 58
                                    1194
                                                                feda831f-8f5a-4d4a-86d4^8e27c7e6947
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                                                                          Page 152

             offer, I'm really trying, but I need some
            help from your end if your client wants to do
             that, do you see that?
       A    Yep, yes.
       Q    A^ d on May 12th, 2005, Exhibit 52,
            Mr. Toberoff rejects DC's 2 million-dollar
            proposal saying it bears little or no
             relation to the marketplace and the economic
             realities of this world-famous property. Do
            you see that? End of the third paragraph I
            had you read, Exhibit 52.
       A    Okay.     Yes, I see that.
                                 MR. TOBEROFF:            2 million
            dollar proposal to the Shusters.
       Q     Is it your testimony, sir, that Mr. Toberoff
            was dealing with you fully and fairly and
            providing you the necessary information as
            part of these negotiations that you conducted
            on behalf of Mr. Siegel or Michael Siegel?
       A    I^do^'t believe I testified to that.
       Q    Do you have a view on that question?


            answered.
      A     No.     There was a lot -- there was information
            that I was ^ ot privy to during those


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                                  EXHIBIT 58
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                                DON BUEBON - 7/19/2011

                                                                                  Page L5^
       1
                     negotiations, yes.
       ^       Q     In your experiences, and I understand that
       ^             you were the president of the IP Lawyers                                     σ
       4
                     Association in Cleveland for a number of
       5
                     years, correct?
       6
               A     That 's -- for a year.                                                       a
               Q     Okay.      Have you ever had àn experience like
                                                                                                  σ
       ^             this where a lawyer on the other side turns
       9
                     out claiming to be representing an investor,
τo                   is actually --- wants to make the investment
ττ                   themselves or has these joint venture
τ^                   agreements where they have separate ownership
τ^                   interests through separate companies, have
14
                     you ever seen something like that?
ι5                                       MR. TOBEROFF:            Misstates the
16
                     record .     There ' s no investment in the record
                     by me.
               A     From -- based on my -- this ís relatively
1ß•
                     unique.
^o             Q     Have you ever had somebody consistently refer
z a.                 to somebody in a series of correspondence
^2                   with you to a third-party that they refused
                     to tell you who they are, when in fact it
24
                     turns out that they have a business
25
                     relationship with that unnamed investor?


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      A     I don't recall other instances, no.
      Q     You represented Michael Siegel who, I think
            you testified earlier, at this point in his
            life was close to ^0 years old, not healthy,
            looking to resolve these issues so he could
            get some money in his pocket, correct?
                                MR. BERK:                I would object
            to that and instruct him not to answer.
                                THE WITNESS:             Just making
            sure.
      Q     Did you communicate to Mr. Toberoff as part
            of these negotiations that Michael Siegel was
            in his late 50s?
      A     I believe so.
      Q     Did you communicate to him that he was not
           healthy?
      A     I believe so.
      Q     Did you communicate to him that he very much
           wanted to settle this so he could settle
           this -- or sell his rights so that he could
      .    enjoy during his lifetime some of the fruits
           of that?
      A     I don't think I said that.
      Q    Why were you willing to offer 25 percent, a
           deal in which Michael Siegel would sell his


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                       DON BUEBON -^ 7/l9/2011



             interests to this unnamed investor for
             25 percent of Warner Brothers' last offer?
       A     I believe the answer to that would go into
             privileged information.
                                 MR. BERK:                Yeah, right.
                                 THE WITNESS:             But I defer to
             you.
                                 MR. BERK:                Okay.         I was
             about to say it was a -- it's privileged and
             I instruct you not to answer.
       Q     But in fact that's the case, you made an
             offer that was 25 percent of what Warner
             Brothers was willing to pay for these rights,
             correct?
       A     I don't remember the math right now. I
             thought we today saw it was an equal deal at
             the present market value, but I don't
             remember the numbers, whether it was 25. I
             mean, I saw it today in correspondence,
             25 percent, and then I saw there was other
             references to it being the same as the DC
             Comics' deal, proposal.
       Q     Do you remember one way or the other?
       A     No.
             Take a look at Exhibit 37 again quickly. I'm

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                      DON BUEBON - 7/19/2011

                                                                         Page l56

            sorry, 38, Mr. Bulson. My apologies. Do you
            see Mr. Toberoff in that third paragraph of
            his email, November 17th, 2004, in addition,
            your two proposals still amount to 25 percent
            of Warner Brothers' offer two years ago?
      A    Right.      But didn't we see somewhere else
           where the offer was essentially equal to the
           Warner Brothers' offer, and that 25 percent
           might have been -- I -- I mean, we saw it
            earlier here i^ one of these other documents,
           a reference was made to it being equal what
           was being offered, but I forget where we saw
            it.
           Take a look at Exhibit 41, November 29th
           email from Marc Toberoff to you, top of the
            second -- I think you're referring to the
           paragraph that --- the last paragraph in the
            first page.        It goes on to the secó^d page.
      A    Yeah, yeah, that's what ^ was referring to.
                                MR. TOBEROFF:            Where are you,


                                MR. KLINE:               Exhibit 41.
      A    Here ït says, it's characterizing the
           proposal and the offer as the same as the.
           Warner Brothers ' 2002 offer.               Aid this letter

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                             DON HULBON - 7/19/2011

                                                                                Page 157
     1             from -- this email from Marc Toberoff was
     2             referring to 25 percent of the Warner                                         σ
     ^             Brothers' proposal.
     4
             Q     But you don't remember which one it was?
     5
             A     Did I write either one?
     ^
             Q     No.     Mr. Toberoff wrote those.
                                       MR. RYLAND:              Objection.
     ^            Assumes facts.
     9
             A     I don't know of -- I don't recall the -- what
10
                   the present market values of the two offers
ιι                 were.
ι2                 Let's take a -- holding on to Exhibit 38 for
             4
1^                 a second, this is a November 17th follow-up
14
                   email, 2004, 3:0^ p.m, from Marc Toberoff to
15
                   you.     I^ the second paragraph he says, in
16
                   addition there is a legal cost to make Warner
17
                  Brothers pay up, for instance, with a
ιa
                   contingency lawyer at least 33.33 percent to
19
                   40 percent woúld be taken off the top, plus
zo                 costs and disbursements, do you see that?
21           A    Uh-huh, I see that.
^^           Q     Did he tell you who that contingency lawyer
z^                wóuld be?
24
             A     I don't recall.
25




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             Thís is Exhibit 51.
                                 MR. TOBEROFF:            I object to
             use of this exhibit. It's marked
             confidential pursuant to, I believe, a
            protective order or a representation that the
            parties intend to enter into a protective
             order.     You can't be showing this document to
             third parties.
                                 MR. KLINE:               So --
                                 MR. TOBEROFF:            You just heard
            me.     That's my objection.            You should take it
            back and you shouldn't show this retaïner
            agreement to third parties that's marked
            confidential, pursuant ---- I believe we
            represented -- this was produced ín this
            case?
                                 MR. KLINE:               Correct.
            Pursuant to a court order.
                                 MR. TOBEROFF:            We representéd
            that the parties intend to enter into a
            protective order at some point in this
            litigation, or we may have a protective order
            in this case, otherwise we wouldn't have


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                                    1201
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                                MR. KLINE:               My
            understanding, Mr. Toberoff, is this is part
            of the same ruling in which you were also
            ordered to produce the Dennis Larson
            documents, and the Judge Larson -- I'm sorry
            Judge Zarefsky said those would be kept
            confidential, filed under seal.                    But when he
            compelled you to prodùce this document, he
           made no such statement.
                                MR. TOBEROFF:            I believe we
            represented to the court at one point in this
            litigation that although we didn't yet have a
           protectïve order, we intended to have a
           protective order.
                                MR. ALINE:               Who is we by
            the way in that?
                                MR. TOBEROFF:            Both sides.
                                MR. ALINE:               Okay.         So let
           me j ust ---- just so we're clear, you're not
           going to let me ask questions about this
           document?
                                MR. TOBEROFF:            No.       It's
           marked confidential.             It should be subject to
           our protective order, aid you shouldn't be


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                       DON BUEBON - 7/19/2011

                                                                          Page 1^0

             passing around a rétamer agreement of other
             parties.
                                 MR. KLINE :              We disagree
             that it's subject to any protective order.
             We understand your position, This is going
             to be another reason why we may have to take
             the deposition another day.
       Q     Did Mr. Toberoff disclose to you that he
             signed a attorney-client contingency fee?
       A     Oh, you're -- start again.
       Q     Back to you, Mr, Bulson. I want to --
             around, looking at Exhibit 38, it's
            November 2004, Mr. Toberoff is referrïng to
             for instance with a contingency lawyer at
             least 33 percent to 40 percent, see that
             there?
       A    Uh-huh.
       Q     Did Mr. Toberoff disclose to you that a
            month-and-a-half earlier he had signed an
            agreement with Joanne Siegel and Laura Siegel
             iri.which he himself became that contingency
             lawyer and was entitled to a 33 to 40 percent
            contingency?
                                 MR. TOBEROFF:            I object to
            your -- I object to you -- you're just


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                         DON.BULSON - 7/19/2011

                                                                            Page 161
 1
              violating the protective order and the
 ^             confidentiality by disclosing rather than
 ^             giving him the document to read, disclosing
 4
               information in that document.
 5
                                    MR. KLINE:               I'm^asking if                    σ
 6
               you disclosed that.
 7
                                    MR. TOBEROFF:            You're
 a            violating the confidentiality of doing that.
 9
                                    MR. KLINE:               I completely
10
               disagree.         I'm asking if you disclosed that
11             to him.
12
                                    MR. TOBEROFF:            I'm going to
               ask you again, please don't violate the
14
               confidentiality agreement in this case, in
15
               the Siegel case. Warner Brothers and DC have
16
              marked thousands of documents confidential
17
               with all sorts of financial information. And
               if DC is not abiding by when we mark things
19
               confidential and abiding by the protective
20             order, we're not going to abide by that order                                  σ
21
               either.
22
                                    MR. KLINE:               There is no
               order in this case.
24
                                    MR. TOBEROFF:            There is no
25             confidentiality agreement if you keep


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                              DON BUEBON - 7/19/2011

                                                                                 Page 162
  1
                    breaching it.
  z                                     MR. KLINE:               Mr.
  ^                 Toberoff --
  4
                                        MR. TOBEROFF:            Do you
  5
                    understand that? So you breach it at the
      6
                    risk -- I'm talking. You breaching that
                    protective orderand confidentiality
  ^                 agreement.        And you're smirking, for the
  9
                    record, you're smirking while I'm talkíng.
ιo                  You're breaching a very important protective
ιι                  order and confidentiality agreement between
ι2                  the parties.        We will then not hold all the
ι3                  informatïon that DC has given to us
1.4                 confidential, since you're breaching the
15
                    essence of that agreement.
16
                                        MR. KLINE:               We
                    completely dis --
ι^                                      MR. TOBER4FF:            So I advise
19
                    you not to keep disclosing the ter^^s of that
20
                    agreement.
2ι                                      MR. KLINE :              My term to^
                    talk, Mr. Toberoff.
^^                                      MR. TOBERÓFF:            Go ahead.
24
                                        MR. KLINE:               We completely
25
                    dispute your position .             There is no


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                             DON SULSON - 7/19/2011

                                                                                 Page 163
     1
                   protective order in this case. You were
   ^               ordered by court order to produce this
     3
                   document.         Before producing it, you did not
   4
                   ask us to sign a stipulation or protective
   5
                   order.thát would given this document.                         My
     6
                   question asked about whether a fact was
                   disclosed to Mr. Sulson. I did not
   8
                   represent --
     9
                                        MR. TOBEROFF:            You are
10                 reading -- you were holding the agreement up
11
                  visibly to Mr. Sulson. You were reading from
                   the agreement, and you were disclosing our
1^                 fee structure on the agreement exactly as
14
                   it's set forth in the agreement, exactly what
                   you did.      That was the implication of your
a. ε               actïons.
1,
             Q     Going back to my question, and we obviously
1s                 disagree on this.
                             Going back to my question, in his --
20
                   in or around November 17th, 2444, did
^1                Mr. Toberoff disclose to you that he had
^2                 entered into a contingency fee arrangement
23
                  with Joanne and Laura Siegel?
24
                                        MR. TOBEROFF:            Asked and
                   answered.

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                              DON BUEBON - 7/19/2011

                                                                                  Page 164


      2
              A
              Q
                    Not that I recall.
                    Did he disclose to you that he was, quote,
                                                                                                  1
      ^             the -- a contingency lawyer referred to i^
      4
                    the email?
      5
              A     Not that I recall..
      6
              Q     Did he tell you at any point. in time that he
                    had a.contingency fee arrangement with the
      ^             Siegels of at least 33 percent to 40 percent?
      9
                                         MR. TOBEROFF:            Same
10                  objection.
11
              A     At any point in time?
1z                                       MR. KLINE:               Correct.
              A     I don't know.          I can't recall.
1.4
                                         MR. TOBEROFF:            Same objection
15
                    to your disclosure.
16
              Q     Mr. Bulson, looking back over these emails
17
                    and letters that you've exchanged with
                    Mr. Toberoff in the 2003 to 2005 time period,
19
                    do you feel that Mr. Toberoff omitted
20
                    material facts from his communications with
21                  you?
22
                                         MR. TOBEROFF:            Asked and
^^                  answered.         Yoú've asked that question five
24
                    times.
25
                                         MR. RYLAND:              Objection.


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                                          EXHIBIT 58
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                             DON HULBON - 7/19/2011

                                                                                Page 165
     1
             A     I don't know how to answer that.
 ^                                     MR. RYLAND:              Ií11 object to
     ^             the extent that it calls for a legal
     4
                   conclusion.
     5
             Q     During --
     b
             A     I haven't formulated an opinion on that. I
                   mean, this is the fïrst time I'm seeing many
 a                 of these documents.           As I stated earlier, I
     9
                   would have liked to have known about it.
10
                   Whether they're -- we probably have
11
                  mischaracterizations here.
12
             Q     By Mr. Toberoff?
13
             A     Well, let's just say the complete picture
14
                   wasn't communicated.
15
             Q    And you asked for the complete picture, you
16
                   said, please tell me who the investor is,
1,
                   correct?
             A     I did ask who the --- who was the investor?
             Q    And he not only refused to tell you, but he
^o                made misleading statements in these
^1                 documents, correct?
^2                                     MR. TOBEROFF:            Misstates the
23
                   documents.
24                                     MR. RYLAND:              Object to the
25
                   extent that it calls for a legal conclusion.


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                             DON HULBON - 7/19/2011

                                                                                Page 1b6
     Σ
             A     I'm not in a position at this point i^ time
     2             to answer that question.
             Q     Mr. Bulson, have you ever shared with.
     4
                   anybody --
     5
                                       MR. TOBEROFF:            Could you
     6
                   speak up? I can't hear you.
             Q     Mr. Bulson, have you ever shared with
     ^             anybody, and I'm not referring to Mr. Ryland
     ^             as your attorney, have you ever shared with
ιo                 anybody your opinions about Mr. Toberoff's
τι                 character for truthfulness?
ι2           A     I haven't formulated opinions regarding
1^                 Mr. Toberoff's character or truthfulness.
14
             Q     So you never told anybody other than
15                 Mr. Siegel or Mr. Ryland, I don't think he's
16
                   a^ honest guy, or something along those
                   li^és?
ιs                                     MR. BERK:           ^    I'm going to
19
                   object to anything he might have told to
20
                  Mr. Siegel as being privileged. I instruct
^ι                 him not to answer. But^if he wants to speak
                                                                                                  ø
22                 to telling anybody else other than Mr. --^
                  Michael Siegel, he may answer.
24
                                       MR. KLINE:               And^my
25
                   question said other than Mr. Siegel, other


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                              DQN BUEBON - 7/19/2011

                                                                                 Page 167
      1
                    than Mr. Ryland.
      ^                                 MR. BERK:                I'm sorry.               I
      ^             did not hear that.
      4
                                        MR. KLINE:               That's fine.
      5
              Q     Other than Mr. Siegel, other than Mr. Ryland,
      6
                   have you said in words or in substance to
                    anyone, I don't think Mr. Toberoff is a ^
      8
                   honest person?
      ß
              A    Any words of that import would have, positive
ιo
                   or negative, would have most likely just been
11
                   made internally to my colleagues.
12            Q    So you don't remember any other instances?
13
              A    No, I don't recall.
14
              Q     I noticed on your privilege log, and I've
15
                   asked Jason to pull this out, and hand around
16
                   as an exhibit, it's going to be No. 53. Oh
^.,                it's Exhibit 3 to your prior deposition. My
a.a                apologies.
19

20
                       (Plaintiff's Exhibit 53 was marked.)
2ι
22
              Q    Cam you turn to privilege log entries 366 and
23
                   367?
24
                                        MR^.   TOBEROFF:         You just --- I
25                                                                                              9
                   just have to take a bathroom break. It will


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                              DON BUEBON - 7/19/2011

                                                                                  Page 168
      1
                    take me two seconds. Ca ^ we just go off the
      ^             record?
      3
                                        MR. KLINE:               That's fine.
      4
                    Absolutely.
      5
                                        VIDEO TECHNICIAN:              We're off
      b
                    the record.        The time is 2:38.
                        Recess from 2:38 p.m. to 3:05 p.m. )
     a                                  VIDEO TECHNICIAN:              We're back
     9
                    on record at 3:05.
 10                                     MR. KLINE:               That's fine.
11
                    But if you clarify them now and require me to
                    go ask three hours of questions on them, it's
1^
                    sandbagging me at the end of the day. So you
14
                    can say whatever you want to say. Back on
λ5
                    the record.
16
                                        MR. TOBEROFF:            Thanks for
17
                    your permission.
                                        MR. KLINE:               As I've asked
19
                    the videographer to kind of tell us where
^o                  things stand, we only are at two hours and 59
^1                 minutes of on--tape testimony for the day,
^^
                   well short of what we're permitted under the
^^                  federal rules.         I also understand that,
z4                 Mr. Ryland, you have a hard stop at 5:00 p.m.
25
                   today.


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                                                                          Page 169

                                 MR. RYLAND:              And Mr. Bulson
             has interviews for the U.S. PTO, and would
             need to prepare for this evening, because
             they begin tomorrow morning.
                                 MR. KLINE:               So that's an
             hour and 50 minutes. We're not going to
             finïsh the amount of time that we're
            permitted under the federal rules today.
            We've been discussing the following protocol
             to kind of deal with where things stand.
            Number one, we would come back here, a day
            hopefully in the early fall, to complete the
            deposition.         And at that deposition we'd get
            two-and-a-half hours of on-tape time, not to
            exceed four hours overall of Mr. Bulson's
            testimony.         We DC if there was some
            obstreperous conduct, some other unforeseen
            circumstances, a series of fire alarms or the
            like, we'd want to be able to work with you
            in good faith and within reason to slightly
            modify those schedules.
                       In interim we would want to file a
            motion on the privilege claims that have been
            asserted in this deposition. We'd want to
            sort out with Mr. Toberoff his claims that


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                                                                                   Page 170
        1
                      protective orders cover certain documents or
        2
                      mot.    We ^ould also want to meet and confer
        ^             with you and your colleagues and really the
        4
                      Michael Siegel camp as well about getting
        5
                      certain documents, owe of them is a court
                      order, another of them is a certain expert
                      submission that it sounds like was made i^
     ^               .your law firm's case against the Siegel
        9
                      estate, and some other document issues. Our
1   0                 hope would be to get rulings on the privilege
11
                      issues from the California, or some other
12                    court, maybe it's an Ohio court if it's a
1^                    more expeditious basis to do it. Sort out of
14
                      document issues hopefully by .mutual agreement
15
                      rather than motion and practice, .and then
16
                      come back here and complete the deposition.
                                And at the deposition I would do two
                      things.     One, I would cover the ground that I
19
                      wasn't able to cover this morning because of
20
                      the objections, and number two, I would
21
                      finish my examination. I'm probably, I don't
22                    know, two-thirds of the way through the
2^                    examination.        I have a third left. But I
24
                     would be confined to that time period that we
25
                      agreed to.        We would very much like


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                              DON SULSON - 7/19/2011

                                                                                 Page 17^
      ι
                    Mr. Toberoff to agree to this protocol,
      2
                    because we think i^ any instance we have the
      ^
                    right to get our full seven-and-a-half hours,
      4
                    and we're not going to get that done today.
      5
                    Our understanding is from yon, Mr. Ryland,
      6
                    that your firm would not object to a
                    deposition on these terms.
      8
                                        MR. RYLAND:              It's just me.
      θ
                    It's not my firm.
 ιo
                                        MR. KLINE:               You and
 11
                   Mr. Sulson, the witness.
 ιz
                                        MR. RYLAND:              Mr. Bullon
1^
                   will agree to, you know, not file a motion to
14
                   quash, and will agree to sit for a second
15
                   portion of the deposítion as long as it's
16
                   two-and-a--half hours of tape time, not to
17
                   exceed four hours total of deposition. Two,
1a
                   that the privilege issues and confidentiality
i^
                   issues with respect to documents that you
20
                   plan to use in the deposition are resolved
21
                   ahead of time.
^^                                      MR. KLINE:.              Okay.
^^
                                        MR. RYLAND:              Whether that
24
                   is by çourt order or by party agreement, we                                   i
25
                   don't mind.        We just don't want to have to


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             endure what we endured today, which is
             clearly unresolved document issues.                     And
             three, if possible, and how we do this is
             something I'm willing to negotiate on, but we
             either have a magistrate in California, a
             magistrate in Cleveland, or an Article 3
             judge prepared to weigh in if we reach
             impasse, so we can resolve the issue before
             we would have to require anybody else to
             travel again or Mr. Bulson to change his.
             schedule to sit for any additional deposition
             time.
                                 MR. KLINE:               How about a
            private discovery referee from like a JAMS
            panel or any other?
                                 MR. RYLAND:              I'm happy to
            do that as long as Mr. Bulson doesnYt bear
            the cost of the private discovery mediator,
            guess.
                                 MR. KLINE:               Okay.         Okay.
                                 MR. TOBEROFF:            I don't
            understand, when you say two-and-a-half hours
            of tape time, four hours of deposition time,
            what is that extra one.-and-a^half hour mean?
                                 MR. RYLAND:              If we started


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                                                                                 Page 173
     1
                   the deposition at 8:00 a.m., my understanding
     ^
                   of that, Counselor, is we started at 8 :00
     ^
                   a.m., the deposition would be over by noon
     4
                   regardless^of how much --
     5
                                       MR. TOBER4FF:            So you're
     6
                   leaving a^ hour and a half for breaks.
     7
                                       MR. RYLAND:              I'm building
     ^
                   in some fudge factor understanding there are
     9
                  probably still going to be some lingering
                   objections and both of you guys have a lot of
11
                  words.      That's okay.
1^
                                       MR. TOBEROFF:            So I think you
1^
                  wanted to state something about as your
i4
                  earlier objections?.
15
                                       MR. BERK:                I would just
16
                  like to state that I'm not a hundred percent
17
                  sure all my earlier objections, bút as many
                  of these documents have come in as to
19
                  negotiations between Mr. Toberoff and
20
                  Mr. Bulso ^ , though they may be part of his
z1
                  work product, I will not have a^ objection to
                  them as far as communications between
^^               ^Mr. Toberoff and Mr. Bulso ^ .
24
                                       MR. KLINE:               Terrific.              A^ d
25
                  so one of the ways we can sort these issues


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                                                                                  Page J.74
      ι
                    out before the next deposition is we can give
      2
                    you a copy of the transcript, and you can
      ^
                    tell us which ones you're withdrawing, and
                    that way we wouldn"t have to file a motion on
      5
                    1t.
      6
                                        MR. BERK:                Okay.         We can
                    do that.
      ^
                                        MR. KLINE:               Great.
      9
                                        MR. BERK:                And I will
 ιa
                    still have objections to any conversations
 ιι
                   between Mr. Bullon and Mr. Siegel, Michael
 ι2                 Siegel.
 ι^
                                        MR. KLINE:               Including if
 ι4
                   Mr. -- Michael Siegel gives a letter to
 15
                   Mr. Bullon that was sent to him by Laura
 16
                   Siegel, you still would object to him
                   answering questions about that?
                                        MR. BERK:                If you asked
19
                   him questions of a letter that you got
20
                   ïndependently of him getting it from Michael
2ι
                   Siegel, and you have it somewhere else, I
zz
                   don't have a problem with that. I have
2^
                   a problem --
24
                                       MR. RYLAND:               This is
25
                   exactly what we méan by ---


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                                                                                 Page 17 S
      ι
                                        THE WITNESS:             Why don't you
      ^
                    do this as part of your resolvïng.
      3
                                        MR. KLINE:               Understood.
      4
                    So Mr. Toberoff, are you amenáble to those
      5
                    conditions?
      6
                                        MR. TOBEROFF:            We're
                    reserving our rights to object to having to
      ^
                    travel to Cleveland now for yet a third
      9
                    deposition of Don Bullon, a third party, on
 ιo
                    things that are absolutely marginal, of
 ιι
                   marginal relevance.            You've taken now his
 ι^
                   depositions twice.            You're seeking to take it
1^
                   a third time. You're all over the documents.
14
                   You're showing him is the name Ari Emanuel,
15
                   who is in Los Angeles, and ^iou haven't once
16
                   in this case noticed his depositio ^ , even
                   attempted to take his deposition. Yet
18
                   Mr. Bullon is being subjected to a third
ι^                 deposition testimony by your firm.                     And also
2α
                   the nature of the questions that you've asked
^ι
                   him and their marginal relevance to any
^^                 cognizable claim or a basis for us to, so
                                                                                                  σ
^^                 we're reserving our objections, and we're not
24
                   at this time agreeing to any sort of deál to
25
                   have to fly across country again for the


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                                                                                  Page 176
       λ
                     third time for Mr. Bulson's deposition:
       ^
                                         MR. KLINE: ^             Okay.         As I
       ^
                     understand it, we'll notice the deposition,
       4
                     Mr. Bullon will appear for the deposition.
       5
                                         MR. RYLAND:              Subject to
       6
                     those condïtions.
                                         MR. KLINE:               And
       ^
                    Mr. Toberoff can eïther appear omnot appear.
       9
                                         MR. TOBEROFF:            Or move --
 ï4
                                         MR. RYLAND:              And not to
 11
                     change the terms of the underlying deal, but
1^
                     I'm hoping that we can at least get a
                    gentlemen's agreement here that there's going
14
                    to be some sort of protective order in place.
15
                                                                                                   σ
                                         MR. KLINE:               Absolutely.
16
                                         MR. RYLAND:              That was
17
                    another -- we marked the whole thing
18
                    attorneys eyes only. I trust all of the
19
                    attorneys in this room not to cause a problem
^o
                    with that, but we're hoping at some point we
^Ρ i
                    can rely on a protective order as a third
22
                    party to --
^^
                                         MR. KLINE:               We will reach
z4
                    an agreement with you immediately to                                           σ
^5                  designate --


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                                                                                  Page 177
      1
                                        MR. RYLAND:               That's fine.
      ^
                                        MR. KLINE:                -- any portion
      ^
                    of this that you want protected, protected.
      4
                                        MR. RYLAND:               I think that's
      s             fine.     No problem.        I just wanted to make
      6
                    sure we're clear on that, because I know
                    we`re going to get into, or at least you've
      a
                    touched on elements of-Don's practice.
      ß
                                        MR. KLINE:               Understood.
 10
                                        MR. RYLAND:              And objections
 11
                    are going to be resolved and --
                                        MR. KLINE:               So my
                    understanding of this is we're going to
 14
                    litigate whatever we litigate, work out
 1s
                    whatever we can work out with them, and at
 16
                    some point we're going to notice a deposition
                   here, and you guys will appear for that.
18
                   Mr. Toberoff may say, hey, I'm not flying
19
                   out, or he may try to go file a protective
za
                   order motion, but it's not going to be
21
                   incumbent upon us to compel Mr. Bulson's
z^                 testimony.
^^
                                        MR. RYLAND:              As long as we
                   agree that it's subject to those conditions
25
                   that I set forth, then we're fine.


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                                                                                 Fage X78
      ι                                 MR. KLINE:               That's fine
      2             with us.      Now, as I did mention, I wanted to
      ^
                    ask about five or six more questions if we
      4
                  -can do that. It will be quick.
      5
                                        MR. TOBEROFF:            I don't think
      6
                    you should.        You're now going on your 5:00
                    o'clock.
     a                                  MR. KLINE:               It's literally
      9
                    five or six questions?
 ι0                                     MR. RYLAND:              Is it
11
                    literally 15 minutes?
ι^
                                        THE WITNESS:             Five minutes,
ι^
                    right?
14
                                        MR. KLINE:               Five minutes?
15
                                        THE WITNESS:             Okay.
16
                   Mr. Tokoro was good enough to give you this
                   exhibit, what exhibit number, it's No. 3 from
ι^                 your first deposition. It's 53 in this
19
                   deposition.
20
              A    Yes.
              Q    Okay.      If you look at privilege logs entries
22
                   356, 357, 366, and 367, do you see those,
^^                 sir?
24
             A     I see 356 and other ones following it.
25
              Q    And the second, the column that has Attorney


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             tevin Marks i^ it, and then next to it
             Attorney Don Bulson, and then it says email
             attorney, do you see those different lines
             there?
       A     Uh--huh, yes, yes .
       4     Tn June of 2004, and then in August of
             2004 when these communications are takï^g
             place, it's your understanding that Kevin
             Marks had been terminated as the Siegel's
             attorney by then, correct?
       A     I don't recall.
       Q     You didn't receive a letter in October of
             2001 ---
       A     I know he was terminated. I don't remember
             the timing.
       Q     In October of 2001 you received a letter from
             the -- Mrs. -- from Joanne and Laura Siegel
             saying we have terminated Mr. Marks and
             terminated our discussions with Warner
            Brothers, correct?
       A     I dori' t remember .
       Q    Do you remember why it is that you were
            talking to Mr. Marks in June and August of
            2004?
      A     No.


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                                                                                 Page 180
      λ       Q     After he was terminated as their attorney,
      2
                    what other occasion, if you remember any, did
      ^
                    you have to speak to Mr. Marks?
      4
              A     I don't remember.
      5
              Q     Did you retain him at any point to help you
      6
                    in your representation of Michael Siegel?
              A     I don't believe so.
      a^
      9
                       (Plaintiff' s Exhibit 54 was marked.)
 λo

              4     Just marking very quickly Plaintiff's Exhibit
 ι2
                    54, and I misspoke as to the date. This is a
 i^
                    September 2l, 2002 letter from Joanne Siegel
 λ4
                    aid Laura Siegel Larson, copying you and
 15
                   Michael Siegel to Kevin Marks terminating
 16
                   h1m.
 λ7
              A     I see the letter.
 ia           Q     So the privilege log entry is 35^, 357, 3^^,
 1ß
                   and 3^7 post date that termination by about
 ^o                two years, correct?
 ^λ           A    Yes.
^^
              4    Can you remember any attorney-client joint
^^
                   interest agreement that you and Mr. Marks had
24
                   made that would cover communications in June
25
                   or August of 2004?


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       A     I don' t remember.
       Q     Were you doing any other work with Mr. Marks
             on any other client matters?
       A     No.
       Q     Do you remember reaching any agreements with
             Mr. Marks about attorney-client joint
             interest?
       A     Yes.
       Q     And when were those agreements made?
       A     Back during our initial discussions.
       Q     2000, 2001?
       A     Might be ballpark.
       Q     But in 2004 he had been fired as the Siegels'
             attorney, correct?
       A     I believe so.
                                 MR. KLINE :       ^      Okay.         I think
             reserving our rights to come back here and
             take a second deposition under the conditions
            we've talked about, and reserving our rights
            to move to compel answers on the
             conditions -- or on the bases that we'll have
            to brief for the court, and it sounds like
            you're going to withdraw some of those
            objections soon, which would help narrow the
            issues, thank you for your time, Mr. Bulson,


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                                                                                Page 182
     τ
                   and thank you for your time, Mr. Ryland, and
     ^
                   counsel for the Michael Siegel Estate, we
     ^
                   thank you for your time as well.
     4
                             We don't have a stipulation in terms
     5
                   of what the court reporter -- relieving her
     6
                   of her duties. I would ask if okay with you
                   that you be given a^ original copy of the
     8
                   deposition, along with the exhibits, you
     9
                  being Mr. Sulson. That Mr. Bullon within 30
ιo
                   to 60 days, whatever is reasonable for you
11
                   and Mr. Ryland, you give us any corrections
12
                   to the deposition.
ι^                                     MR. RYLAND:              Yeah, agree to
                   read aid sign.
15
                                       MR. KLINE:               And you've
16
                  gone through this .           We can examine you on any
                  of those corrections and the like.
ιs                                     MR. TOBEROFF:            And we reserve
19
                  our objections if you intend to take a third
20
                  deposition of Mr. Sulson.
^ι
                                       MR. KLINE:               Understood.
^^                And I understood that the procedure that
^^                you'll pursue those objections is via a
                  protective order motion?
25
                                       MR. TOBEROFF:            We haven't

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                                                                                 Page 183 σ
      1
                    decided yet what procedure we'll employ.
     2                                  MR. BERK:                Would you do
     ^              me the courtesy of calling me on the date?
     4
                                        MR. ALINE:               We'll notice
     5
                    you^of the deposition.
      6
                                        MR. BERK:                I mean before
                    you notice.
      ^                                 MR. KLINE:               Oh,
     9
                    absolutely.
ιa                                      MR. BERK:                Because I do
11                  spend a lot of time in Florïda where my wife
12
                    is.
13
                                        MR.   ^LINE:             Happy to do
14
                    that.
7.5
                                        MR. BERK:                I'd just like
16
                    to work that out.
17
                                        MR. KLINE:               Happy to do
1^                  that.
19
                                        VIDEO TECHNICIAN:              We're off
zo                  the record.        The tïme is 3:20.
^1                        {Deposition adjourned at 3:20 p.m.}
^z
^^
24

25




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                                                                                  Page X84
      1
              THE STATE OF OHIO, )                 SS:
              COUNTY OF CUYAHOGA. )
      2

      3
                     I,   Michelle M. Lewis, a Notary Public within
      4
              and for the State of Ohío, duly commissioned and
      5
              qualified, do hereby certify that DON BULSON, was
      6
              first duly sworn to testify the truth, the whole
              truth and nothing but the truth in the cause
      ^
              aforesaid; that the testimony then givén by him
      9
              was by me reduced to stenotypy in the presençe of
 10
              said witness, afterwards transcribed on a
 11           computer/printer, á ^ d that the foregoing is a
 12
              true and correct transcript of the testimony so
 13
              given by him, as aforesaid.
 14
                     I do further certify that this deposition
15
              was taken at the time and place in the foregoing
ιε            caption specifïed.           I do further certify that I
              am not a relative, counsel or attorney of either
18
              party, or otherwise interested in the event of
19
              this action.
zo
                     IN WITNESS WHEREOF, I have hereunto set my
2ι
              hand and affixed my seal of office at Cleveland,
^z
              Ohio, on this 27th day of July, 2011.
23


24
                             Michelle M. Lewis, Notary Public
                             within and for the State of Ohio
^5
                             My Commission expires January 9, 2014.

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                Before me, a Notary Public in and for saïd
      state and county, personally appeared the
      above named DON BULSON, who acknowledges that he
      did sign the foregoing transcript and that the
      same is a true and correct transcript of the
      testimony so given.
                IN TESTIMONY WHEREOF, I have hereunto
      affixed my name and official seal at
                                         this                  day of




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            September 6, 2011

            Via E-Mail

            Jason Tokoro
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Jason:

            I write in response to your August 30, 2011 letter, regarding the August 2, 2011 letter between
            Pacific Pictures Corporation, Mark Warren Peary and Jean Adele Peavy. DC’s hyperbole on this
            issue – that defendants have “withheld” or “secreted” the August 2 letter – is absurd. DC
            received the letter on August 29, 2011, three weeks after it was executed, and it was formally
            produced to DC on September 1, 2011. F.R.C.P. 26(e)(1) requires that parties supplement their
            production “in a timely manner” – not the instant a document is created. DC’s demand that
            documents be produced immediately is especially absurd in light of DC’s own practices in
            Siegel, where DC only supplemented documents on a delayed, drawn out schedule.

            DC’s further exaggerated comment that “Defendants are not allowed to selectively disclose
            documents and waive privileges” is a non sequitur. As DC acknowledges, Defendants do not
            claim privilege as to the August 2, 2011 letter.

            As to DC’s objection that defendants have not produced or logged the cover e-mail to Mr. Peary
            attaching the August 2 letter, defendants anticipate that they will update their privilege logs this
            month and will log the “cover” e-mail at that time, rather than on a piecemeal basis as DC
            suggests.

            Very truly yours,


            Keith Adams




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            September 8, 2011

            Via E-Mail

            Jason Tokoro
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Dear Jason:

            I write in response to your September 2, 2011 letter that concerned various outstanding discovery
            issues.

            1.      DC erroneously claims that our September 1, 2011 letter “notably fail[ed] to close the
            loop on one issue: the corporate documents of defendants Pacific Pictures Corporation, IP
            Worldwide, LLC and IPW, LLC,” citing various DC requests for production. The September 1
            letter addressed the issue as follows:

                       e. Corporate documents: DC’s requests on these topics were overbroad and were
                       specifically rejected by Magistrate Zarefsky, as DC is not entitled to “everything there is
                       about companies with which Mr. Toberoff has been associated.” Docket No. 262 at 5.
                       DC’s current demand for all financial and corporate documents continues to seek
                       documents that have no relevance or bearing on this litigation, and is not materially
                       different than DC’s denied requests.

            This response, like defendants’ responses to DC’s requests, are perfectly clear.

            Since June 13, 2011, defendants have repeatedly stated that Toberoff Request Nos. 56-58, PPC
            Request Nos. 31, 33; IPWW Request Nos. 32-34; and IPW Request Nos. 27, 29 are mere
            variations on requests that were specifically denied in DC’s prior motion to compel.

            The other requests cited in DC’s letter are PPC Request Nos. 29-30, IPWW Requests Nos. 29-
            30, and IPW Request Nos. 24-25.




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In response to PPC Request No. 30, IPWW Request No. 30, and IPW Request No. 25, which
sought documents “identifying” the current corporate status of the respective entities, defendants
produced the responsive documents in their possession, custody, or control.

PPC Request No. 29, IPWW Request No. 29, and IPW Request No. 24 sought all documents in
any way “involved” in the formation of the entities, “including, articles of organization,
operating agreements, minutes, filings, business plans.” Such requests are obviously and facially
overbroad and, like DC’s prior, denied requests, effectively call for “everything” about the
companies in question. As stated in defendants’ respective responses, defendants are “willing to
meet and confer with Plaintiff regarding the tailoring of this request,” but DC’s “modification of
this request and explanation of what it seeks by this request in its July 7, 2011 letter do not
sufficiently narrow the documents sought by this overbroad request.” DC has in no way offered,
despite ample opportunity and numerous letters on this subject since July 7, to narrow these
overbroad requests.

2.      As to the Renner Otto expert report and calendar/billing entries, we requested those
documents from Renner Otto on August 11 for privilege review on behalf of the estate. As we
have not yet received the documents, we sent a second request to Renner Otto today, September
8, requesting such documents.

As to the Renner Otto electronic archive and the form/content of the privilege log to be furnished
on behalf of Michael Siegel’s estate, that is already the subject of discovery disputes and
threatened motion practice by DC, as set forth in DC’s August 3 and August 29, 2011 letters.
Michael Siegel’s estate requests that such disputes be resolved before it incurs the time and
expense of having lengthy privilege logs drafted relating to the Renner Otto archive. In any
event, such privilege logs will be furnished within a reasonable time.

3.     As stated in Mr. Toberoff’s August 10, 2011 letter, “Ms. Larson obtained some materials
when she recently cleaned out her late mother, Joanne Siegel’s apartment; [] Ms. Larson has
searched most of these materials for any responsive documents, and will complete this search
upon return from her summer vacation. So far nothing new was located, except for the non-
substantive Gary Spence materials that were produced.”

Unfortunately, on September 2, 2011, Laura’s son James was mugged in Westwood, suffering
injuries, and, as a result, Ms. Larson has not completed her review of all of the materials from
her mother’s apartment. She will complete such review as soon as possible under the
circumstances. However, we do not suspect that this review will result in much, if any,
additional information, as apparently the materials consist, for the most part, of random personal
documents (e.g., bills, etc.).

4.       The August 2, 2011 letter agreement was addressed in Mr. Toberoff’s September 6, 2011
letter to Mr. Tokoro.




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Nothing in this letter should be construed as a waiver or limitation of any of defendants’ rights or
remedies, all of which are reserved.

Very truly yours,


Keith G. Adams




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            September 8, 2011

            Via E-Mail

            Matthew Kline
            O’Melveny and Myers LLP
            1999 Avenue of the Stars, 7th Floor
            Los Angeles, CA 90067

            Re:        DC Comics v. Pacific Pictures Corp., et al., Case No. 10-CV-03633 ODW (RZx)

            Matt:

            I write on behalf of defendants and the Estate of Michael Siegel (the “Estate”) in response to
            your August 29, 2011 letter regarding Don Bulson’s deposition.

            1.      Withdrawn Objections: The objections stated in my August 11, 2011 letter, set forth in
            section 1 of your August 29, 2011 letter, have been withdrawn.

            2.      Documents Conveyed to Mr. Bulson: DC’s ongoing argument that “non-privileged
            documents do not become privileged because they are sent to an attorney,” and that therefore the
            Estate’s objections as to Mr. Siegel’s communications with Mr. Bulson about the May 13 letter
            were improper, continues to miss the mark.

            The cases cited by DC concern whether underlying documents are privileged; they do not
            concern whether a client’s communications with an attorney about such documents are
            privileged. See U.S. v. Osborn, 561 F.2d 1334, 1339 (9th Cir. 1977) (concerning “business
            documents” in an attorney’s possession); In re Rupert, 309 F.2d 97, 99 (6th Cir. 1962) (stating
            merely that “if the client may be compelled to produce documents in his possession then the
            attorney may be compelled to produce the same documents when they are in his custody”);
            Suezaki v. Super. Ct., 58 Cal. 2d 166, 176 (1962) (films made by private investigator, retained by
            a party’s attorney without the party’s knowledge, and delivered to the attorney by the
            investigator were not covered by the attorney-client privilege); Moskovitz v. Mt. Sinai Med. Ctr.,
            69 Ohio St. 3d 638 (1994) (attorney-client privilege did not cover all of the contents of an
            insurer’s claims file under specific Ohio statute).1 None of these cases stand for the proposition

            1
              DC’s repeated citations to state law on privilege are baffling in light of DC’s insistence that this
            litigation is governed by Federal, not state, law on privilege. See, e.g., Docket No. 160 at 14 (“Federal



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that an attorney can properly be questioned about the context in which non-privileged documents
were transmitted to him during attorney-client communications. Nor do DC’s out-of-context
quotations of Mr. Berk’s objections change this analysis. Mr. Berk clearly asserted privilege as
to Mr. Siegel’s communications with Mr. Bulson about the May 13, 2003 letter, not the May 13
letter itself.

3.      Expert Report/Calendar & Billing Entries: As to the Renner Otto expert report and
calendar/billing entries, we requested those documents from Renner Otto on August 11 for
privilege review on behalf of the estate. As we have not yet received the documents, we sent a
second request to Renner Otto today, September 8, requesting such documents.

DC’s claim that the expert report and calendar entries are relevant towards “establishing when
Mr. Toberoff first contacted Mr. Bulson to inquire about purchasing Ms. Siegel’s purported
Superman interest” does not make sense, as Mr. Bulson did not represent Ms. Siegel’s interest.
Even if DC meant to refer to the Michael Siegel interest, DC is well-aware that Laura and Joanne
Siegel authorized Mr. Emanuel to attempt to purchase Michael Siegel’s Superman interest in
January 2003; DC is also aware that such offers on behalf of Mr. Emanuel, including the
communications between Mr. Toberoff and Mr. Bulson, have no bearing on any of DC’s claims
for relief in this case and that Mr. Siegel was not even mentioned in DC’s complaint.

4.      Michael Siegel File: DC’s assumption that Renner Otto “represented Mr. Siegel solely
with respect to his purported Superman interest,” and that therefore any documents in Renner
Otto’s files would be responsive to DC’s subpoena, is inaccurate. DC’s demand for a detailed
“log of all documents in [Renner Otto’s] possession” – whether or not they are responsive or
non-responsive, privileged or non-privileged, produced or not-produced – is improper and not
required by any discovery rule or practice, nor does DC cite any authority that a subpoenaed
party is required to produce such a log.

Notably, DC claims that “[t]he Court’s prior orders regarding the adequacy of the information
contained in defendants’ privilege log are no bar to DC’s proposal” is nonsense. DC claims that
it is “entitled to discover the information it seeks in the proposed log” – when that is exactly the
proposition that Magistrate Zarefsky rejected when he twice upheld defendants’ privilege logs,
and Judge Wright rejected when he denied DC’s motion for review of Magistrate Zarefsky’s
rulings. DC’s offer to “reimburse” Renner Otto to produce such a log is a transparent and
improper attempt to buy its way out of adverse discovery rulings.

5.      Confidentiality Designations: DC’s argument that the Siegel protective order does not
apply because the documents were produced by designation does not comport with that
protective order, which clearly states that it applies to “any writing produced in any Document



law governs the disposition of this issue: in ‘federal question cases where pendent state law claims are
raised, the [federal rules] govern all claims of privilege.’”)



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Production by any party or non-party witness marked as ‘CONFIDENTIAL’” (¶ 4) and binds the
parties going forward.

Furthermore, DC’s arguments about when and how documents were marked “Confidential” in
Siegel are disingenuous. Contrary to DC’s assertions, the Siegel protective order does not
require a party to mark a document as “Confidential” in any particular way, nor does it require a
party to re-label a document as “Confidential” if the document was already marked as
“Confidential.” Nor does DC dispute that the documents in question were produced and marked
“Confidential” after the entry of the Siegel protective order. Such documents are properly
subject to such protective order.

Nonetheless, if DC will agree that the protective order in Siegel applies to documents marked
“Confidential” that have been produced in this case by designation, defendants and the Estate
will withdraw their objections and permit DC to question witnesses based on such documents
subject to the terms of such protective order.

6.      Protective Order re: Deposition: DC’s position that the parties “should discuss a
protective order concerning Renner Otto’s business practices” is mystifying, considering that DC
publicly filed the entire deposition transcript on August 8, 2011, as an exhibit to the declaration
of Daniel Petrocelli.

Nothing in this letter should be construed as a waiver or limitation of any of defendants’ rights or
remedies, all of which are reserved.

Very truly yours,

Marc Toberoff

cc:    Josh Ryland




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